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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN


  FEDERAL TRADE COMMISSION,

        Plaintiff,                                     Case No. 22-cv-11120
                                                       Hon. Matthew F. Leitman
  v.

  FINANCIAL EDUCATION
  SERVICES, INC., et al.,

                     Defendants.


        ORDER FOR PERMANENT INJUNCTION AND MONETARY
         JUDGMENT AS TO DEFENDANT GERALD THOMPSON
       Plaintiff, the Federal Trade Commission (“FTC”), filed its Complaint for

 Permanent Injunction, Monetary Relief, and Other Relief on May 23, 2022 (ECF

 No. 1), subsequently amended as First Amended Complaint for Permanent

 Injunction, Monetary Relief, Civil Penalties, and Other Relief on March, 27, 2023

 (ECF No. 121) (“Complaint”) for a permanent injunction, monetary relief, civil

 penalties, and other relief in this matter, pursuant to Sections 5(a), 5(m)(1)(A),

 13(b), 16(a), and 19 of the FTC Act, 15 U.S.C. §§ 45(a), 45(m)(1)(A), 53(b), 56(a),

 and 57b, Section 410(b) of the Credit Repair Organizations Act (“CROA”), 15

 U.S.C. § 1679h(b), Section 6(b) of the Telemarketing and Consumer Fraud and

 Abuse Prevention Act, 15 U.S.C. § 6105(b), Section 621(a) of the Fair Credit




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 Reporting Act (“FCRA”), 15 U.S.C. § 1681s(a), and Section 522(a) of the Gramm-

 Leach-Bliley Act (“GLB Act”), 15 U.S.C. § 6822(a).

       Now, the FTC and Defendant Gerald Thompson (“Settling Defendant”), by

 and through their undersigned counsel, hereby stipulate, agree, and move the Court

 for entry of a Stipulated Order for Permanent Injunction and Monetary Judgment

 (“Order”) to resolve all matters in dispute in this action between them.

                                     FINDINGS

       By stipulation of the parties, the Court finds that:

 A. This Court has jurisdiction over this matter.

 B. The Complaint charges that Settling Defendant participated in deceptive and

    unlawful acts or practices in violation of Section 5 of the FTC Act, multiple

    provisions of CROA and the TSR, Section 604(f)(2) of the FCRA, and Section

    521(a) of the GLB Act in connection with Defendants’ marketing and sale of

    Credit Repair Services and Business Ventures.

 C. Settling Defendant neither admits nor denies any of the allegations in the

    Complaint, except as specifically stated in this Order. Only for purposes of this

    action, Settling Defendant admits the facts necessary to establish jurisdiction.

 D. Settling Defendant waives any claim that he may have under the Equal Access

    to Justice Act, 28 U.S.C. § 2412, concerning the prosecution of this action




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    through the date of this Order, and agrees to bear his own costs and attorney

    fees.

 E. Settling Defendant and the FTC waive all rights to appeal or otherwise

    challenge or contest the validity of this Order.

 F. Entry of this Order is in the public interest.

                                    DEFINITIONS

       For the purpose of this Order, the following definitions shall apply:

 A. “Benefit” means any consideration, including: (a) any reward, payment,

    discount, commission, compensation, bonus, product, or product credit; (b)

    eligibility to receive any reward, payment, discount, commission,

    compensation, bonus, product, service, or service or product credit; or (c)

    eligibility to receive rank or change in rank.

 B. “Business Venture” means any written or oral business arrangement, however

    denominated, whether or not covered by 16 C.F.R. Part 437, that consists of

    providing payment or other consideration for the right or means to offer, sell, or

    distribute a product or service.

 C. “Clear(ly) and conspicuous(ly)” means that a required disclosure is difficult to

    miss (i.e., easily noticeable) and easily understandable by ordinary consumers,

    including in all of the following ways:




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    1. In any communication that is solely visual or solely audible, the disclosure

       must be made through the same means through which the communication is

       presented. In any communication made through both visual and audible

       means, such as a television advertisement, the disclosure must be presented

       simultaneously in both the visual and audible portions of the communication

       even if the representation requiring the disclosure is made in only one

       means.

    2. A visual disclosure, by its size, contrast, location, the length of time it

       appears, and other characteristics, must stand out from any accompanying

       text or other visual elements so that it is easily noticed, read, and understood.

    3. An audible disclosure, including by telephone or streaming video, must be

       delivered in a volume, speed, and cadence sufficient for ordinary consumers

       to easily hear and understand it.

    4. In any communication using an interactive electronic medium, such as the

       Internet or software, the disclosure must be unavoidable.

    5. The disclosure must use diction and syntax understandable to ordinary

       consumers and must appear in each language in which the representation

       that requires the disclosure appears.




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    6. The disclosure must comply with these requirements in each medium

       through which it is received, including all electronic devices and face-to-face

       communications.

    7. The disclosure must not be contradicted or mitigated by, or inconsistent

       with, anything else in the communication.

    8. When the representation or sales practice targets a specific audience, such as

       children, the elderly, or the terminally ill, “ordinary consumers” includes

       reasonable members of that group.

 D. “Consumer” means any Person.

 E. “Credit Repair Service” means any service, in return for payment of money or

    other valuable consideration, for the express or implied purpose of: (1)

    improving any Consumer’s credit report, credit record, credit history, credit

    profile, credit score, or credit rating; or (2) providing advice or assistance to any

    Consumer with regard to any activity or service the purpose of which is to

    improve a Consumer’s credit report, credit record, credit history, credit profile,

    credit score, or credit rating.

 F. “Defendants” means Financial Education Services, Inc., United Wealth

    Services, Inc., VR-Tech, LLC, VR-Tech MGT, LLC, CM Rent Inc., Youth

    Financial Literacy Foundation, LK Commercial Lending LLC, Statewide




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    Commercial Lending LLC, Parimal Naik, Michael Toloff, Christopher Toloff,

    and Gerald Thompson, individually, collectively, or in any combination.

 G. “Financing Product or Service” means any product or service represented,

    expressly or by implication, to provide or assist in providing, directly or

    indirectly, (1) a loan or other extension of credit; or (2) funds in exchange for

    future receivables, revenues, proceeds, or other payments or amounts.

 H. “Multi-Level Marketing Program” means any marketing program in which

    participants have the right to: (a) recruit additional participants, or have

    additional participants placed into the participant’s downline, tree, cooperative,

    income center, or other similar program grouping; (b) sell goods or services;

    and (c) receive any Benefit for the activity of those in the participant’s

    downline, tree, cooperative, income center, or similar program grouping.

 I. “Person” means a natural person, an organization or other legal entity,

    including a corporation, partnership, sole proprietorship, limited liability

    company, association, cooperative, or any other group or combination acting as

    an entity.

 J. “Relief Defendant” means Gayle L. Toloff individually and in her capacity as

    trustee, grantor, and beneficiary of the Gayle L. Toloff Revocable Living Trust.

 K. “Settling Defendant” means Gerald Thompson.




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                                          ORDER

                                BAN ON CREDIT REPAIR

  I.   IT IS THEREFORE ORDERED that Settling Defendant, whether acting

       directly or indirectly, is permanently restrained and enjoined from:

       A. Advertising, marketing, promoting, offering for sale, or selling any Credit

          Repair Service; and

       B. Assisting others in the advertising, marketing, promoting, offering for sale,

          or selling any Credit Repair Service.

               BAN ON MULTI-LEVEL MARKETING PROGRAMS

 II.   IT IS FURTHER ORDERED that Settling Defendant, whether acting directly

       or indirectly, is permanently restrained and enjoined from advertising,

       marketing, promoting, engaging in, participating in, operating, or assisting

       others in the advertising, marketing, promoting, engaging in, participating in, or

       operating of any Multi-Level Marketing Program, including any product- or

       service-based pyramid scheme.

                        PROHIBITED BUSINESS ACTIVITIES

III.   IT IS FURTHER ORDERED that Settling Defendant, Settling Defendant’s

       officers, agents, employees, and all other persons in active concert or

       participation with any of them, who receive actual notice of this Order, whether

       acting directly or indirectly, in connection with advertising, marketing,


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    promoting, distributing, servicing, offering, or selling any product or service,

    are permanently restrained and enjoined from:

    A. Misrepresenting, or assisting others in misrepresenting, expressly or by

       implication:

       1. That participants of any Business Venture will or are likely to achieve

          substantial sales, income, or profit;

       2. The amount of sales, income, or profit that participants of any Business

          Venture have actually earned;

       3. The amount of time or effort required to earn an amount of compensation

          or to advance in any Business Venture;

       4. The reason participants of any Business Venture do not earn substantial

          compensation, including representations that participants fail because

          they do not devote substantial or sufficient effort or are not active;

       5. The terms or rates that are available for any Financing Product or

          Service, including, but not limited to: (a) the type of Financing Product or

          Service (such as a credit card, line of credit, loan, or merchant cash

          advance); (b) closing costs or other fees and how such costs or fees will

          be assessed; (c) the payment schedule, monthly, weekly, or daily

          payment amount(s), any balloon payment, or other payment terms; (d)

          the interest rate(s), annual percentage rate(s), or finance charge(s), and


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          whether they are fixed or adjustable; (e) the loan amount, credit amount,

          draw amount, funding amount, or outstanding balance; the loan term,

          draw period, or maturity; or any other term of credit; (f) the amount of

          cash or funds to be disbursed to the Consumer out of the proceeds, or the

          amount of cash or funds to be disbursed on behalf of the Consumer to

          any third parties; (g) whether any specified minimum payment amount

          covers both interest and principal, and whether the credit has or can result

          in negative amortization; (h) that the credit does not have a prepayment

          penalty or whether subsequent refinancing may trigger a prepayment

          penalty and/or other fees; or (i) whether the Consumer is required to

          provide any Person with a personal guarantee, security interest, collateral,

          confession of judgment, or any other rights or remedies;

       6. Any benefit of such product or service;

       7. Any requirements for obtaining such product or service;

       8. The existence, amount, or timing of any fees or charges, or the total cost

          to purchase, receive, or use such product or service;

       9. That any Person is non-profit, charitable, or otherwise not in business to

          generate profits for its employees, independent contractors, managers,

          directors, officers, or owners; or




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        10. Any other fact material to Consumers, including any material restrictions,

           limitations, or conditions to purchase, receive or use such product or

           service; or any material aspect of performance, efficacy, nature, or central

           characteristics of such product or service.

     B. Requesting or receiving payment of a fee or other consideration in advance

        of obtaining a loan or other extension of credit for a Consumer.

     C. Creating or causing to be created, directly or indirectly, a remotely created

        payment order as payment for such product or service.

     D. Failing to disclose Clearly and Conspicuously, in connection with any

        representation regarding the availability of any Financing Product or

        Service: (1) the type of Financing Product or Service (such as a credit card,

        line of credit, loan, or merchant cash advance); (2) all costs and fees

        associated with such Financing Product or Service, how such costs shall be

        assessed, and the specific amount of funds Consumers will receive after

        payment of such costs and fees; (3) the interest rate(s), annual percentage

        rate(s), or finance charge(s), and whether they are fixed or adjustable; (4) the

        loan amount, funding amount, credit amount or limit, draw amount,

        outstanding balance; and (5) if the Consumer is required to provide any

        Person with a personal guarantee, security interest, collateral, confession of

        judgment, or any other rights or remedies, that fact; or


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      E. Failing to disclose Clearly and Conspicuously the fact, if true, that a

         Consumer must activate, request, initiate, or otherwise take some affirmative

         action in order to receive or use such product or service.

                INJUNCTION RELATING TO TELEMARKETING

IV.   IT IS FURTHER ORDERED that Settling Defendant, Settling Defendant’s

      officers, agents, employees, and all other persons in active concert or

      participation with any of them, who receive actual notice of this Order, whether

      acting directly or indirectly, in connection with the telemarketing of any

      product or service, are hereby permanently restrained and enjoined from

      violating the FTC’s Telemarketing Sales Rule, 16 C.F.R. Part 310, a copy of

      which is attached.

        INJUNCTION RELATING TO CONSUMER CREDIT REPORTS

V.    IT IS FURTHER ORDERED that Settling Defendant, Settling Defendant’s

      officers, agents, employees, and all other persons in active concert or

      participation with any of them, who receive actual notice of this Order, whether

      acting directly or indirectly, are hereby permanently restrained and enjoined

      from:

      A. Obtaining any Person’s consumer credit report without having a permissible

         purpose;




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        B. Misrepresenting to any Person the purpose for which any Person’s consumer

           credit report is being obtained or used; or

        C. Violating the Fair Credit Reporting Act, 15 U.S.C. §§ 1681-1681x, a copy of

           which is attached.

       INJUNCTION RELATING TO CONSUMER FINANCIAL INFORMATION

VI.     IT IS FURTHER ORDERED that Settling Defendant, Settling Defendant’s

        officers, agents, employees, and all other persons in active concert or

        participation with any of them, who receive actual notice of this Order, whether

        acting directly or indirectly, are hereby permanently restrained and enjoined

        from:

        A. Making any false, fictitious, or fraudulent statement or representation to any

           Person to obtain or attempt to obtain information of a Consumer, including,

           but not limited to, credit or debit card numbers, bank account numbers and

           routing numbers, and consumer credit reports; or

        B. Violating the Gramm-Leach-Bliley Act, 15 U.S.C. §§ 6801-6809, §§ 6821-

           6827, a copy of which is attached.

                                MONETARY JUDGMENT

VII.    IT IS FURTHER ORDERED that:

        A. Judgment in the amount of TWO HUNDRED AND FIFTEEN THOUSAND

           Dollars ($215,000) is entered in favor of the FTC against Settling Defendant,


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        jointly and severally with any other Defendant against whom judgment may

        be entered, as monetary relief pursuant to Section 19 of the FTC Act, 15

        U.S.C. § 57b, for Settling Defendant’s violations of CROA, the TSR, and

        Section 521(a) of the GLB Act.

     B. In full satisfaction of the judgment set forth in Section VII.A of this Order,

        Settling Defendant is ordered to pay to the FTC or its designated agent TWO

        HUNDRED AND FIFTEEN THOUSAND Dollars ($215,000), which, as

        Settling Defendant stipulates, his counsel holds in escrow for no purpose

        other than payment to the FTC. Such payment must be made within 7 days

        of entry of this Order by electronic fund transfer in accordance with

        instructions to be provided by FTC Counsel.

     C. Settling Defendant relinquishes dominion and all legal and equitable right,

        title, and interest in all assets transferred pursuant to this Order and may not

        seek the return of any assets.

     D. The facts alleged in the Complaint will be taken as true, without further

        proof, in any subsequent civil litigation by or on behalf of the FTC,

        including in a proceeding to enforce its rights to any payment or monetary

        judgment pursuant to Section VII.A of this Order, such as a

        nondischargeability complaint in any bankruptcy case.




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     E. The facts alleged in the Complaint establish all elements necessary to sustain

        an action by the FTC pursuant to Section 523(a)(2)(A) of the Bankruptcy

        Code, 11 U.S.C. § 523(a)(2)(A), and this Order will have collateral estoppel

        effect for such purposes.

     F. Settling Defendant acknowledges that his Taxpayer Identification Number

        (Social Security Numbers or Employer Identification Numbers), which

        Settling Defendant previously submitted to the FTC, may be used for

        collecting and reporting on any delinquent amount arising out of this Order,

        in accordance with 31 U.S.C. §7701.

     G. All money received by the FTC pursuant to this Order may be deposited into

        a fund administered by the FTC or its designee to be used for consumer

        relief, such as redress and any attendant expenses for the administration of

        any redress fund. If a representative of the FTC decides that direct redress to

        consumers is wholly or partially impracticable or money remains after such

        redress is completed, the FTC may apply any remaining money for such

        related relief (including consumer information remedies) as it determines to

        be reasonably related to Defendants’ practices alleged in the Complaint.

        Any money not used for such relief is to be deposited to the U.S. Treasury.

        Defendants have no right to challenge any actions the FTC or its

        representatives may take pursuant to this Subsection.



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                              CUSTOMER INFORMATION

VIII.   IT IS FURTHER ORDERED that Settling Defendant, Settling Defendant’s

        officers, agents, employees, and all other persons in active concert or

        participation with any of them, who receive actual notice of this Order are

        permanently restrained and enjoined from directly or indirectly:

        A. Failing to provide sufficient customer information to enable the FTC to

           efficiently administer consumer redress. If a representative of the FTC

           requests in writing any information related to redress, Settling Defendant

           must provide it, in the form prescribed by the FTC, within 14 days;

        B. Disclosing, using, or benefitting from customer information, including the

           name, address, telephone number, email address, social security number,

           other identifying information, or any data that enables access to a customer’s

           account (including a credit card, bank account, or other financial account),

           that any Defendant obtained prior to entry of this Order in connection with

           the marketing and sale of Credit Repair Services and Business Ventures; and

        C. Failing to destroy such customer information in all forms in their possession,

           custody, or control within 30 days after receipt of written direction to do so

           from a representative of the FTC.




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      D. Provided, however, that customer information need not be disposed of, and

         may be disclosed, to the extent requested by a government agency or

         required by law, regulation, or court order.

                          ORDER ACKNOWLEDGMENTS

IX.   IT IS FURTHER ORDERED that Settling Defendant obtain

      acknowledgments of receipt of this Order:

      A. Settling Defendant, within 7 days of entry of this Order, must submit to the

         FTC an acknowledgment of receipt of this Order sworn under penalty of

         perjury.

      B. For 5 years after entry of this Order, Settling Defendant for any business that

         he, individually or collectively with any other Defendants, is the majority

         owner or controls directly or indirectly, must deliver a copy of this Order to:

         (1) all principals, officers, directors, and LLC managers and members; (2)

         all employees having managerial responsibilities for conduct specified in

         Sections I, II, III, IV, V, and VI and all agents and representatives who

         participate in conduct specified in Sections I, II, III, IV, V, and VI; (3) any

         business entity resulting from any change in structure as set forth in the

         Section titled Compliance Reporting. Delivery must occur within 7 days of

         entry of this Order for current personnel. For all others, delivery must occur

         before they assume their responsibilities.


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     C. From each individual or entity to which Settling Defendant delivered a copy

        of this Order, Settling Defendant must obtain, within 30 days, a signed and

        dated acknowledgment of receipt of this Order.

                           COMPLIANCE REPORTING

X.   IT IS FURTHER ORDERED that Settling Defendant make timely

     submissions to the FTC:

     A. One year after entry of this Order, Settling Defendant must submit a

        compliance report, sworn under penalty of perjury:

        1. Settling Defendant must: (a) identify the primary physical, postal, and

           email address and telephone number, as designated points of contact,

           which representatives of the FTC may use to communicate with Settling

           Defendant; (b) identify all of Settling Defendant’s businesses by all of

           their names, telephone numbers, and physical, postal, email, and Internet

           addresses; (c) describe the activities of each business, including the

           goods and services offered, the means of advertising, marketing, and

           sales, and the involvement of any other Defendant (which Settling

           Defendant must describe if he knows or should know due to his own

           involvement); (d) describe in detail whether and how Settling Defendant

           is in compliance with each Section of this Order; and (e) provide a copy




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           of each Order Acknowledgment obtained pursuant to this Order, unless

           previously submitted to the FTC.

        2. Additionally, Settling Defendant must: (a) identify all telephone

           numbers and all physical, postal, email and Internet addresses, including

           all residences; (b) identify all business activities, including any business

           for which Settling Defendant performs services whether as an employee

           or otherwise and any entity in which Settling Defendant has any

           ownership interest; and (c) describe in detail Settling Defendant’s

           involvement in each such business, including title, role, responsibilities,

           participation, authority, control, and any ownership.

     B. For 10 years after entry of this Order, Settling Defendant must submit a

        compliance notice, sworn under penalty of perjury, within 14 days of any

        change in the following:

        1. Settling Defendant must report any change in: (a) any designated point

           of contact; or (b) the structure of any entity that Settling Defendant has

           any ownership interest in or controls directly or indirectly that may affect

           compliance obligations arising under this Order, including: creation,

           merger, sale, or dissolution of the entity or any subsidiary, parent, or

           affiliate that engages in any acts or practices subject to this Order.




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        2. Additionally, Settling Defendant must report any change in: (a) name,

           including aliases or fictitious name, or residence address; or (b) title or

           role in any business activity, including any business for which Settling

           Defendant performs services whether as an employee or otherwise and

           any entity in which Settling Defendant has any ownership interest, and

           identify the name, physical address, and any Internet address of the

           business or entity.

     C. Settling Defendant must submit to the FTC notice of the filing of any

        bankruptcy petition, insolvency proceeding, or similar proceeding by or

        against Settling Defendant within 14 days of its filing.

     D. Any submission to the FTC required by this Order to be sworn under penalty

        of perjury must be true and accurate and comply with 28 U.S.C. § 1746,

        such as by concluding: “I declare under penalty of perjury under the laws of

        the United States of America that the foregoing is true and correct.

        Executed on: _____” and supplying the date, signatory’s full name, title (if

        applicable), and signature.

     E. Unless otherwise directed by a FTC representative in writing, all

        submissions to the FTC pursuant to this Order must be emailed to

        DEbrief@ftc.gov or sent by overnight courier (not the U.S. Postal Service)

        to: Associate Director for Enforcement, Bureau of Consumer Protection,


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         Federal Trade Commission, 600 Pennsylvania Avenue NW, Washington,

         DC 20580. The subject line must begin: FTC v. Financial Education

         Services, Inc., Matter No. X220024.

                                   RECORDKEEPING

XI.   IT IS FURTHER ORDERED that Settling Defendant must create certain

      records for 10 years after entry of the Order, and retain each such record for 5

      years. Specifically, Settling Defendant, for any business that Settling

      Defendant, individually or collectively with any other Defendants, is a majority

      owner or controls directly or indirectly, must create and retain the following

      records:

      A. accounting records showing the revenues from all goods or services sold;

      B. personnel records showing, for each person providing services, whether as

         an employee or otherwise, that person’s: name; addresses; telephone

         numbers; job title or position; dates of service; and (if applicable) the reason

         for termination;

      C. records of all consumer complaints and refund requests, whether received

         directly or indirectly, such as through a third party, and any response;

      D. all records necessary to demonstrate full compliance with each provision of

         this Order, including all submissions to the FTC; and

      E. a copy of each unique advertisement or other marketing material.


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                            COMPLIANCE MONITORING

XII.   IT IS FURTHER ORDERED that, for the purpose of monitoring Settling

       Defendant’s compliance with this Order, including any failure to transfer any

       assets as required by this Order:

       A. Within 14 days of receipt of a written request from a representative of the

          FTC, Settling Defendant must: submit additional compliance reports or

          other requested information, which must be sworn under penalty of perjury;

          appear for depositions; and produce documents for inspection and copying.

          The FTC is also authorized to obtain discovery, without further leave of

          court, using any of the procedures prescribed by Federal Rules of Civil

          Procedure 29, 30 (including telephonic depositions), 31, 33, 34, 36, 45, and

          69.

       B. For matters concerning this Order, the FTC is authorized to communicate

          directly with Settling Defendant. Settling Defendant must permit

          representatives of the FTC to interview any employee or other person

          affiliated with Settling Defendant who has agreed to such an interview. The

          person interviewed may have counsel present.

       C. The FTC may use all other lawful means, including posing, through its

          representatives, as Consumers, suppliers, or other individuals or entities, to

          Settling Defendant or any individual or entity affiliated with Settling


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           Defendant, without the necessity of identification or prior notice. Nothing in

           this Order limits the FTC’s lawful use of compulsory process, pursuant to

           Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-1.

        D. Upon written request from a representative of the FTC, any consumer

           reporting agency must furnish consumer reports concerning Settling

           Defendant, pursuant to Section 604(1) of the Fair Credit Reporting Act, 15

           U.S.C. §1681b(a)(1).

                           RETENTION OF JURISDICTION

XIII.   IT IS FURTHER ORDERED that this Court retains jurisdiction of this matter

        for purposes of construction, modification, and enforcement of this Order.

        IT IS SO ORDERED.


                                           s/Matthew F. Leitman
                                           MATTHEW F. LEITMAN
                                           UNITED STATES DISTRICT JUDGE

    Dated: August 5, 2024

    I hereby certify that a copy of the foregoing document was served upon the parties
    and/or counsel of record on August 5, 2024, by electronic means and/or ordinary
    mail.

                                           s/Holly A. Ryan
                                           Case Manager
                                           (313) 234-5126




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              835ÿ37ÿÿ 58ÿ, ÿ855ÿ3ÿ76ÿ 3ÿ4ÿ358ÿ583ÿ v5ÿ3ÿ58ÿ8555
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                                                       15 71 a Filed 08/05/24 Page 29 of 178
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          1 ÿ803083ÿ80687810ÿ1ÿ1 ÿ 610ÿ3ÿ86ÿ01ÿ6726ÿ1ÿ ÿ678698810ÿ1ÿ30ÿ3 0ÿ1ÿ3718ÿ709
          3336ÿ'ÿ17ÿ5ÿ1ÿ86ÿ6726810"
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          7 ÿ1067 ÿ803083ÿ81810ÿ%ÿ1ÿ#3'3ÿ 9ÿ1ÿ80ÿ6726"ÿ3ÿ86ÿ8ÿZÿ1ÿ872"ÿW"ÿ'''4#3.
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        78ÿ'#ÿ,3046ÿ309ÿ,30480"ÿ1ÿ1 ÿ366883810ÿ1ÿ6728 6ÿ,ÿ309ÿ/ÿ1ÿ ÿ19 ÿ6 ÿ732 6"
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        366889ÿ1ÿ6723 ÿÿY5''ÿÿ6*"ÿ1ÿ3 ÿ5ÿ1ÿ78ÿ'#"
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                                                       7C87 , Filed 08/05/24 Page 31 of 178
          012ÿ4252678ÿ9625ÿ  ÿÿ6226625ÿÿÿ2ÿ7ÿÿ7ÿ 2ÿÿÿ1ÿ!"ÿ#ÿ$7ÿ
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        ?62 Aÿ262ÿA1788ÿ-(82-2 ÿ12ÿ7 5765A
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        2"ÿ2ÿÿ7ÿ7ÿ2ÿ 526ÿ2 ÿ!!7ÿÿ0 82ÿ!ÿE126-2 ÿD6&7 Z7  ÿ7 5ÿ.-(8'22

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        567% ÿ ÿ12ÿ7ÿÿ12ÿ(61 ÿÿ1ÿ17(26ÿ62&765 &ÿ%12126ÿ6-7 ÿÿ67 7 ÿ6ÿ2/(262 2
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                                                   T8S9KLSIQÿOK96:
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7C87 ,                                                                                                      #q!
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                                                    68|6y Filed 08/05/24 Page 32 of 178
             0123ÿ516789 ÿ99 9 ÿ8ÿ2ÿ898ÿ63ÿ2ÿ819ÿ226ÿ8123ÿ8289ÿ962ÿ8289ÿÿÿÿÿ ÿ!"
          ÿ###ÿ$ÿ%868ÿ&$ÿ1251ÿ96589 ÿ8123ÿ516789ÿ6 ÿ69 9 ÿ39582ÿ'3ÿÿ8123ÿ8289ÿ(ÿ57989
         5633225682ÿÿ8289ÿÿ8ÿ819ÿ) 9ÿ399ÿ0693
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         8289ÿ,ÿ/ÿ058ÿÿ#1ÿ'&ÿ%868ÿ 1ÿ1251ÿ23ÿ5633229 ÿ996-ÿ8ÿ3516789ÿ,,,ÿ2/'ÿ98ÿ3934ÿ
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          9682ÿ 9 ÿÿ289798682ÿ23ÿ25323898ÿ281ÿ819ÿ7"2323ÿÿ8123ÿ3516789 ÿ6 ÿ819ÿ-ÿ8ÿ819ÿ9898ÿ
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         )2332ÿ316ÿ5 58ÿ6ÿ38 -ÿÿ2682ÿ3162ÿ76582593ÿ6ÿ26526ÿ23828823ÿ6 ÿ8192ÿ6 226893
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                ."I$ÿ&$Hÿ'-ÿ-$ÿ0#+ÿ&$-)ÿ0#+ÿI$")ÿ$#ÿ"$%#ÿ;ÿ&$-ÿ.ÿ."I$ÿ&$H()
                **"+ÿ+$#"$Iÿ*$"ÿ,$#ÿÿ$++#ÿ&/ÿ."I$ÿ&$H)ÿ$#ÿI$"M"$ÿ"$Iÿ%$#ÿ"$
                >8ÿÿ>85ÿ.ÿ-ÿ0#+ÿL!ÿ5ÿ67>ÿ9:;:2:ÿ<N7ÿÿ?:)ÿ<77ÿÿ?:@)ÿ&/ÿ-ÿO #K
                    '"""(ÿ&$Hÿ"$%#ÿ&/ÿ-ÿ0#+ÿ3 "ÿG$%$ÿ2  "$ÿ'-ÿ-$ÿ**&ÿ.ÿ-ÿ0#+ÿL!
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                    '"!(ÿ!"$Iÿ""$ÿ-ÿ# "ÿ.ÿ,-"-ÿÿ"$%#ÿ&/ÿ-ÿ0#+ÿ3 "ÿG$%$ÿ2  "$)ÿ&/
                -ÿ3"ÿ.ÿ-ÿJ.."ÿ.ÿ1-".ÿ;%!""$Kÿ$#
                'O(ÿ-ÿ0#+ÿ2#"ÿ9$"$ÿ5ÿ67>ÿ9:;:2:ÿ7P87ÿÿ?:@)ÿ&/ÿ-ÿ5#*"$"ÿ.ÿ-ÿQ"$+ÿ2#"ÿ9$"$
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           I$"ÿ.#ÿÿ"$ÿ-ÿI-ÿ*/ÿ")ÿ.ÿ-ÿ% ÿ.ÿ$."$Iÿ*+"$ÿ,"-ÿ-"ÿ%&-)
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         &/ÿ4%&:ÿX:ÿ=8Y7N=)ÿ;:ÿ>N)ÿ7=PP)ÿ=7ÿ;:ÿFP])ÿ,-"-ÿ"ÿ+"."#ÿI$++/ÿÿ%&-ÿZÿ'[7<=>ÿ
         ?:(ÿ.ÿ-ÿ]7ÿ.ÿ-"ÿ"+:ÿ0 ÿ*+ÿ+".""$ÿ.ÿ-"ÿ5ÿÿ-ÿ2 #)ÿÿ;- ÿ1"+ÿ$ ÿ
          %ÿ%$#ÿ"$ÿ7<N7ÿ.ÿ-"ÿ"+ÿ$#ÿ1&+:
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         '[<N7ÿÿ?:(ÿ.ÿ-ÿ<ÿ.ÿ1"+ÿ7>)ÿO$Hÿ$#ÿO$H"$I:ÿ;"$ÿ>85ÿ.ÿ-ÿ0#+ÿL!ÿ5ÿ"
         +"."#ÿÿ%&-ÿGGÿ'[<77ÿÿ?:(ÿ.ÿ-ÿ<ÿ.ÿ1"+ÿ7>:
           1-ÿ0#+ÿ2#"ÿ9$"$ÿ5)ÿ.#ÿÿ"$ÿ%&:ÿ'&('7('O()ÿ"ÿÿm%$ÿ><)ÿ7=\])ÿ-:ÿP8N)ÿ]Fÿ;:
         7>7<)ÿ,-"-ÿ"ÿ+"."#ÿI$++/ÿÿ-ÿ7]ÿ'[7P87ÿÿ?:(ÿ.ÿ1"+ÿ7>)ÿO$Hÿ$#ÿO$H"$I:ÿ0 ÿ *+
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        9 2 ÿ52473ÿ7ÿ 372ÿ!"!#"ÿ25ÿ!"!#"ÿ!9ÿ13ÿ93ÿ 9ÿ3"ÿ2ÿ372ÿ#$%ÿ2ÿ783ÿÿ75723ÿ25ÿ2ÿ 253
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        3 53ÿ19ÿ 1ÿ79798ÿ7 7 72ÿ1943ÿ28773 ÿ523 53 ÿ9ÿ2528ÿ7ÿ893ÿ2ÿ5343ÿ13ÿ9 1257V3
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        AHBÿR==L98ÿE7J<E:ÿHSÿ9M_;=;@:7E;=Dÿ9D7=K;7@
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             A2BÿZL@:<_7Eÿ;=b<E_9:;<=ÿ<bÿ9ÿb;=9=K;98ÿ;=@:;:L:;<=
               F13ÿ35 ÿd 2 35ÿ725 972ÿ2ÿ9ÿ79798ÿ7 7 72dÿ 39ÿ9ÿ725 972ÿ 97973ÿÿ25ÿ25ÿ9ÿ79798
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           012ÿ456789
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                                                        geheaeijefÿ^iÿkel_
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+o+)=                                                                                                                         9[n9[
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                                 COPY OF
            THE FAIR CREDIT REPORTING ACT
                       15 U.S.C. §§ 1681-1681x
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      A
               s a public service, the staff of the Federal Trade Commission (FTC) has
               prepared the following complete text of the Fair Credit Reporting Act
               (FCRA), 15 U.S.C. § 1681 et seq. Although staff generally followed the
      format of the U.S. Code as published by the Government Printing Office, the
      format of this text does differ in minor ways from the Code (and from West’s
      U.S. Code Annotated). For example, this version uses FCRA section numbers
      (§§ 601-629) in the headings. (The relevant U.S. Code citation is included with
      each section heading and each reference to the FCRA in the text.) Although the
      staff has made every effort to transcribe the statutory material accurately, this
      compendium is intended only as a convenience for the public and not a substitute
      for the text in the U.S. Code.
               This version of the FCRA includes the amendments to the FCRA set
      forth in the Consumer Credit Reporting Reform Act of 1996 (Public Law 104-
      208, the Omnibus Consolidated Appropriations Act for Fiscal Year 1997, Title
      II, Subtitle D, Chapter 1), Section 311 of the Intelligence Authorization for
      Fiscal Year 1998 (Public Law 105-107), the Consumer Reporting Employment
      Clarification Act of 1998 (Public Law 105-347), Section 506 of the Gramm-
      Leach-Bliley Act (Public Law 106-102), Sections 358(g) and 505(c) of the
      Uniting and Strengthening America by Providing Appropriate Tools Required
      to Intercept and Obstruct Terrorism Act of 2001 (USA PATRIOT Act) (Public
      Law 107-56), the Fair and Accurate Credit Transactions Act of 2003 (FACT
      Act) (Public Law 108-159), Section 719 of the Financial Services Regulatory
      Relief Act of 2006 (Public Law 109-351), Section 743 (Div. D, Title VII) of
      the Consolidated Appropriations Act of 2008 (Public Law 110-161), the Credit
      and Debit Card Receipt Clarification Act of 2007 (Public Law 110-241), and
      Sections 205 and 302 of the Credit Card Accountability Responsibility and
      Disclosure (CARD) Act of 2009 (Public Law 111-24), the Consumer Financial
      Protection Act of 2010 (CFPA) (Title X of the Dodd-Frank Wall Street Reform
      and Consumer Protection Act, Public Law 111-203), and the Red Flag Program
      Clarification Act of 2010 (Public Law 111-203), and Sections 301, 302, and
      602 of the Economic Growth, Regulatory Relief, and Consumer Protection Act
      (Public Law 115-174), the William M. (Mac) Thornberry National Defense
      Authorization Act for Fiscal Year 2021 (Public Law 116-283), and the National
      Defense Authorization Act for Fiscal Year 2022 (Public Law 117-81). The
      Commission website posted this document on May 4, 2023.
               The provisions added to the FCRA by the FACT Act became effective
      at different times. In some cases, the provision includes its own effective date.
      In other cases, the FACT Act provides that the effective dates be prescribed by
      the FTC and Federal Reserve Board. See 16 CFR Part 602 (69 Fed. Reg. 6526;
      February 11, 2004) (69 Fed. Reg. 29061; May 20, 2004).
               The provisions added to the FCRA by the CFPA became effective on
      July 21, 2011, the “designated transfer date” on which the Bureau of Consumer
      Financial Protection assumed certain duties specified by the CFPA. See 75 Fed.
      Reg. 57252 (Sept. 20, 2010).
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      § 601. Short title
      This title may be cited as the “Fair Credit Reporting Act.”

      § 602. Congressional findings and statement of purpose
             [15 U.S.C. § 1681]
      (a)   Accuracy and fairness of credit reporting. The Congress makes the
            following findings:
            (1) The banking system is dependent upon fair and accurate credit
                reporting. Inaccurate credit reports directly impair the efficiency of
                the banking system, and unfair credit reporting methods undermine
                the public confidence which is essential to the continued functioning
                of the banking system.
            (2) An elaborate mechanism has been developed for investigating and
                evaluating the credit worthiness, credit standing, credit capacity,
                character, and general reputation of consumers.
            (3) Consumer reporting agencies have assumed a vital role in assembling
                and evaluating consumer credit and other information on consumers.
            (4) There is a need to insure that consumer reporting agencies exercise
                their grave responsibilities with fairness, impartiality, and a respect
                for the consumer’s right to privacy.
      (b)   Reasonable procedures. It is the purpose of this title to require that
            consumer reporting agencies adopt reasonable procedures for meeting the
            needs of commerce for consumer credit, personnel, insurance, and other
            information in a manner which is fair and equitable to the consumer, with
            regard to the confidentiality, accuracy, relevancy, and proper utilization of
            such information in accordance with the requirements of this title.

      § 603. Definitions; rules of construction [15 U.S.C. § 1681a]
      (a)   Definitions and rules of construction set forth in this section are applicable
            for the purposes of this title.
      (b)   The term “person” means any individual, partnership, corporation, trust,
            estate, cooperative, association, government or governmental subdivision
            or agency, or other entity.
      (c)   The term “consumer” means an individual.
      (d)   Consumer Report
            (1) In general. The term “consumer report” means any written, oral,
                or other communication of any information by a consumer reporting
                agency bearing on a consumer’s credit worthiness, credit standing,
                                                1
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                   credit capacity, character, general reputation, personal characteristics,
                   or mode of living which is used or expected to be used or collected in
                   whole or in part for the purpose of serving as a factor in establishing
                   the consumer’s eligibility for
                   (A) credit or insurance to be used primarily for personal, family, or
                       household purposes;
                   (B)     employment purposes; or
                   (C)     any other purpose authorized under section 604 [§ 1681b].
             (2) Exclusions. Except as provided in paragraph (3), the term “consumer
                 report” does not include
                   (A) subject to section 624, any
                           (i)    report containing information solely as to transactions or
                                  experiences between the consumer and the person making
                                  the report;
                           (ii) communication of that information among persons related
                                by common ownership or affiliated by corporate control; or
                           (iii) communication of other information among persons
                                 related by common ownership or affiliated by corporate
                                 control, if it is clearly and conspicuously disclosed to
                                 the consumer that the information may be communicated
                                 among such persons and the consumer is given the
                                 opportunity, before the time that the information is initially
                                 communicated, to direct that such information not be
                                 communicated among such persons;
                   (B)     any authorization or approval of a specific extension of credit
                           directly or indirectly by the issuer of a credit card or similar device;
                   (C)     any report in which a person who has been requested by a third
                           party to make a specific extension of credit directly or indirectly
                           to a consumer conveys his or her decision with respect to such
                           request, if the third party advises the consumer of the name and
                           address of the person to whom the request was made, and such
                           person makes the disclosures to the consumer required under
                           section 615 [§ 1681m]; or
                   (D) a communication described in subsection (o) or (x).1
             (3) Restriction on sharing of medical information. Except for information
                 or any communication of information disclosed as provided in section

      1 Should be read as “(o) or (y)” because section 603(x) was re-designated as 603(y) in 2010 by the CFPA.
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                604(g)(3), the exclusions in paragraph (2) shall not apply with respect
                to information disclosed to any person related by common ownership
                or affiliated by corporate control, if the information is –
                (A) medical information;
                (B)   an individualized list or description based on the payment
                      transactions of the consumer for medical products or services; or
                (C)   an aggregate list of identified consumers based on payment
                      transactions for medical products or services.
      (e)   The term “investigative consumer report” means a consumer report or
            portion thereof in which information on a consumer’s character, general
            reputation, personal characteristics, or mode of living is obtained through
            personal interviews with neighbors, friends, or associates of the consumer
            reported on or with others with whom he is acquainted or who may have
            knowledge concerning any such items of information. However, such
            information shall not include specific factual information on a consumer’s
            credit record obtained directly from a creditor of the consumer or from a
            consumer reporting agency when such information was obtained directly
            from a creditor of the consumer or from the consumer.
      (f)   The term “consumer reporting agency” means any person which, for
            monetary fees, dues, or on a cooperative nonprofit basis, regularly engages
            in whole or in part in the practice of assembling or evaluating consumer
            credit information or other information on consumers for the purpose of
            furnishing consumer reports to third parties, and which uses any means or
            facility of interstate commerce for the purpose of preparing or furnishing
            consumer reports.
      (g)   The term “file,” when used in connection with information on any
            consumer, means all of the information on that consumer recorded and
            retained by a consumer reporting agency regardless of how the information
            is stored.
      (h)   The term “employment purposes” when used in connection with a
            consumer report means a report used for the purpose of evaluating a
            consumer for employment, promotion, reassignment or retention as
            an employee.
      (i)   The term “medical information” –
            (1) means information or data, whether oral or recorded, in any form
                or medium, created by or derived from a health care provider or the
                consumer, that relates to –
                (A) the past, present, or future physical, mental, or behavioral
                     health or condition of an individual;
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                  (B) the provision of health care to an individual; or
                  (C) the payment for the provision of health care to an individual.
             (2) does not include the age or gender of a consumer, demographic
                  information about the consumer, including a consumer’s residence
                  address or e-mail address, or any other information about a consumer
                  that does not relate to the physical, mental, or behavioral health or
                  condition of a consumer, including the existence or value of any
                  insurance policy.
      (j)    Definitions Relating to Child Support Obligations
             (1) The “overdue support” has the meaning given to such term in section
                  666(e) of title 42 [Social Security Act, 42 U.S.C. § 666(e)].
             (2) The term “State or local child support enforcement agency” means a
                  State or local agency which administers a State or local program for
                  establishing and enforcing child support obligations.
      (k)    Adverse Action
             (1) Actions included. The term “adverse action” –
                  (A) has the same meaning as in section 701(d)(6) of the Equal
                        Credit Opportunity Act; and
                  (B) means
                        (i) a denial or cancellation of, an increase in any charge for,
                              or a reduction or other adverse or unfavorable change in
                              the terms of coverage or amount of, any insurance,
                              existing or applied for, in connection with the underwriting
                              of insurance;
                        (ii) a denial of employment or any other decision for
                              employment purposes that adversely affects any current or
                              prospective employee;
                        (iii) a denial or cancellation of, an increase in any charge for,
                              or any other adverse or unfavorable change in the terms
                              of, any license or benefit described in section 604(a)(3)(D)
                              [§ 1681b]; and
                        (iv) an action taken or determination that is
                              (I) made in connection with an application that was made
                                   by, or a transaction that was initiated by, any
                                   consumer, or in connection with a review of an
                                   account under section 604(a)(3)(F)(ii)[§ 1681b]; and
                              (II) adverse to the interests of the consumer.
             (2) Applicable findings, decisions, commentary, and orders. For purposes
                  of any determination of whether an action is an adverse action under
                  paragraph (1)(A), all appropriate final findings, decisions, commentary,
                  and orders issued under section 701(d)(6) of the Equal Credit
                  Opportunity Act by the Bureau or any court shall apply.
      (l)    The term “firm offer of credit or insurance” means any offer of credit or
             insurance to a consumer that will be honored if the consumer is
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          determined, based on information in a consumer report on the consumer, to
          meet the specific criteria used to select the consumer for the offer, except
          that the offer may be further conditioned on one or more of the following:
          (1) The consumer being determined, based on information in the
                consumer’s application for the credit or insurance, to meet specific
                criteria bearing on credit worthiness or insurability, as applicable,
                that are established
                (A) before selection of the consumer for the offer; and
                (B) for the purpose of determining whether to extend credit or
                       insurance pursuant to the offer.
          (2) Verification
                (A) that the consumer continues to meet the specific criteria used
                       to select the consumer for the offer, by using information in a
                       consumer report on the consumer, information in the consumer’s
                       application for the credit or insurance, or other information
                       bearing on the credit worthiness or insurability of the
                       consumer; or
                (B) of the information in the consumer’s application for the credit
                       or insurance, to determine that the consumer meets the specific
                       criteria bearing on credit worthiness or insurability.
          (3) The consumer furnishing any collateral that is a requirement for the
                extension of the credit or insurance that was
                (A) established before selection of the consumer for the offer of
                       credit or insurance; and
                (B) disclosed to the consumer in the offer of credit or insurance.
      (m) The term “credit or insurance transaction that is not initiated by the con-
          sumer” does not include the use of a consumer report by a person with
          which the consumer has an account or insurance policy, for purposes of
          (1) reviewing the account or insurance policy; or
          (2) collecting the account.
      (n) The term “State” means any State, the Commonwealth of Puerto Rico, the
          District of Columbia, and any territory or possession of the United States.
      (o) Excluded communications. A communication is described in this
          subsection if it is a communication
          (1) that, but for subsection (d)(2)(D), would be an investigative
                consumer report;
          (2) that is made to a prospective employer for the purpose of
                (A) procuring an employee for the employer; or
                (B) procuring an opportunity for a natural person to work for the
                       employer;
          (3) that is made by a person who regularly performs such procurement;
          (4) that is not used by any person for any purpose other than a purpose
                described in subparagraph (A) or (B) of paragraph (2); and
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             (5) with respect to which
                   (A) the consumer who is the subject of the communication
                           (i)    consents orally or in writing to the nature and scope of the
                                  communication, before the collection of any information
                                  for the purpose of making the communication;
                           (ii) consents orally or in writing to the making of the
                                communication to a prospective employer, before the
                                making of the communication; and
                           (iii) in the case of consent under clause (i) or (ii) given orally,
                                 is provided written confirmation of that consent by the
                                 person making the communication, not later than 3 business
                                 days after the receipt of the consent by that person;
                   (B)     the person who makes the communication does not, for the
                           purpose of making the communication, make any inquiry that
                           if made by a prospective employer of the consumer who is the
                           subject of the communication would violate any applicable
                           Federal or State equal employment opportunity law or
                           regulation; and
                   (C)     the person who makes the communication
                           (i)    discloses in writing to the consumer who is the subject of
                                  the communication, not later than 5 business days after
                                  receiving any request from the consumer for such
                                  disclosure, the nature and substance of all information in
                                  the consumer’s file at the time of the request, except that
                                  the sources of any information that is acquired solely for
                                  use in making the communication and is actually used for
                                  no other purpose, need not be disclosed other than under
                                  appropriate discovery procedures in any court of competent
                                  jurisdiction in which an action is brought; and
                           (ii) notifies the consumer who is the subject of the
                                communication, in writing, of the consumer’s right to
                                request the information described in clause (i).
      (p) The term “consumer reporting agency that compiles and maintains
          files on consumers on a nationwide basis” means a consumer reporting
          agency that regularly engages in the practice of assembling or
          evaluating, and maintaining, for the purpose of furnishing consumer
          reports to third parties bearing on a consumer’s credit worthiness, credit
          standing, or credit capacity, each of the following regarding consumers
          residing nationwide:
                                                    6
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           (1) Public record information.
           (2) Credit account information from persons who furnish that
               information regularly and in the ordinary course of business.
      (q) Definitions relating to fraud alerts.
           (1) The term “active duty military consumer” means a consumer in
               military service who –
                (A) is on active duty (as defined in section 101(d)(1) of title 10,
                    United States Code) or is a reservist performing duty under a
                    call or order to active duty under a provision of law referred
                    to in section 101(a)(13) of title 10, United States Code; and
                (B)   is assigned to service away from the usual duty station of the
                      consumer.
           (2) The terms “fraud alert” and “active duty alert” mean a statement in
               the file of a consumer that –
                (A) notifies all prospective users of a consumer report relating to
                    the consumer that the consumer may be a victim of fraud,
                    including identity theft, or is an active duty military consum-
                    er, as applicable; and
                (B)   is presented in a manner that facilitates a clear and conspicu-
                      ous view of the statement described in subparagraph (A) by
                      any person requesting such consumer report.
           (3) The term “identity theft” means a fraud committed using the
               identifying information of another person, subject to such further
               definition as the Bureau may prescribe, by regulation.
                                                        See also 12 CFR Part 1022.3(h)
           (4) The term “identity theft report” has the meaning given that term by
               rule of the Bureau, and means, at a minimum, a report –
                                                         See also 12 CFR Part 1022.3(i)
                (A) that alleges an identity theft;
                (B) that is a copy of an official, valid report filed by a consumer
                    with an appropriate Federal, State, or local law enforcement
                    agency, including the United States Postal Inspection Service,
                    or such other government agency deemed appropriate by the
                    Bureau; and
                (C) the filing of which subjects the person filing the report to
                    criminal penalties relating to the filing of false information if,
                    in fact, the information in the report is false.

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             (5) The term “new credit plan” means a new account under an open end
                  credit plan (as defined in section 103(i) of the Truth in Lending Act)
                  or a new credit transaction not under an open end credit plan.
      (r)    Credit and Debit Related Terms
             (1) The term “card issuer” means –
                  (A) a credit card issuer, in the case of a credit card; and
                  (B) a debit card issuer, in the case of a debit card.
             (2) The term “credit card” has the same meaning as in section 103 of the
                  Truth in Lending Act.
             (3) The term “debit card” means any card issued by a financial institution
                  to a consumer for use in initiating an electronic fund transfer from
                  the account of the consumer at such financial institution, for the
                  purpose of transferring money between accounts or obtaining money,
                  property, labor, or services.
             (4) The terms “account” and “electronic fund transfer” have the same
                  meanings as in section 903 of the Electronic Fund Transfer Act.
             (5) The terms “credit” and “creditor” have the same meanings as in
                  section 702 of the Equal Credit Opportunity Act.
      (s)    The term “Federal banking agency” has the same meaning as in section 3
             of the Federal Deposit Insurance Act.
      (t)    The term “financial institution” means a State or National bank, a State
             or Federal savings and loan association, a mutual savings bank, a State or
             Federal credit union, or any other person that, directly or indirectly, holds
             a transaction account (as defined in section 19(b) of the Federal Reserve
             Act) belonging to a consumer.
      (u)    The term “reseller” means a consumer reporting agency that –
             (1) assembles and merges information contained in the database of
                  another consumer reporting agency or multiple consumer reporting
                  agencies concerning any consumer for purposes of furnishing such
                  information to any third party, to the extent of such activities; and
             (2) does not maintain a database of the assembled or merged information
                  from which new consumer reports are produced.
      (v) The term “Commission” means the Federal Trade Commission.
      (w) The term “Bureau” means the Bureau of Consumer Financial Protection.
      (x) The term “nationwide specialty consumer reporting agency” means a
          consumer reporting agency that compiles and maintains files on consumers
          on a nationwide basis relating to –
          (1) medical records or payments;
          (2) residential or tenant history;
          (3) check writing history;
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            (4) employment history; or
            (5) insurance claims.
      (y)   Exclusion of Certain Communications for Employee Investigations
            (1) A communication is described in this subsection if –
                (A) but for subsection (d)(2)(D), the communication would be a
                      consumer report;
                (B) the communication is made to an employer in connection with
                      an investigation of –
                      (i) suspected misconduct relating to employment; or
                      (ii) compliance with Federal, State, or local laws and
                            regulations, the rules of a self-regulatory organization,
                            or any preexisting written policies of the employer;
                (C) the communication is not made for the purpose of investigating
                      a consumer’s credit worthiness, credit standing, or credit
                      capacity; and
                (D) the communication is not provided to any person except –
                      (i) to the employer or an agent of the employer;
                      (ii) to any Federal or State officer, agency, or department,
                            or any officer, agency, or department of a unit of general
                            local government;
                      (iii) to any self-regulatory organization with regulatory
                            authority over the activities of the employer or employee;
                      (iv) as otherwise required by law; or
                      (v)   pursuant to section 608.
            (2) Subsequent disclosure. After taking any adverse action based in
                whole or in part on a communication described in paragraph (1), the
                employer shall disclose to the consumer a summary containing the
                nature and substance of the communication upon which the adverse
                action is based, except that the sources of information acquired solely
                for use in preparing what would be but for subsection (d)(2)(D) an
                investigative consumer report need not be disclosed.
            (3) For purposes of this subsection, the term “self-regulatory organization”
                includes any self-regulatory organization (as defined in section 3(a)
                (26) of the Securities Exchange Act of 1934), any entity established
                under title I of the Sarbanes-Oxley Act of 2002, any board of trade
                designated by the Commodity Futures Trading Commission, and any
                futures association registered with such Commission.
      (z)   Veteran. The term ‘veteran’ has the meaning given the term in section 101
            of title 38, United States Code.
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      (aa) Veteran’s medical debt. The term ‘veteran’s medical debt’
             (1) means a medical collection debt of a veteran owed to a non-Department
                 of Veterans Affairs health care provider that was submitted to the
                 Department for payment for health care authorized by the
                 Department of Veterans Affairs; and
             (2) includes medical collection debt that the Department of Veterans
                 Affairs has wrongfully charged a veteran.

      § 604. Permissible purposes of consumer reports
             [15 U.S.C. § 1681b]
      (a)    In general. Subject to subsection (c), any consumer reporting agency may
             furnish a consumer report under the following circumstances and no other:
             (1) In response to the order of a court having jurisdiction to issue such
                 an order, a subpoena issued in connection with proceedings before
                 a Federal grand jury, or a subpoena issued in accordance with
                 section 5318 of title 31 or section 3486 of title 18.
             (2) In accordance with the written instructions of the consumer to whom
                 it relates.
             (3) To a person which it has reason to believe
                   (A) intends to use the information in connection with a credit
                       transaction involving the consumer on whom the information
                       is to be furnished and involving the extension of credit to, or
                       review or collection of an account of, the consumer; or
                   (B)     intends to use the information for employment purposes; or
                   (C)     intends to use the information in connection with the
                           underwriting of insurance involving the consumer; or
                   (D) intends to use the information in connection with a determination
                       of the consumer’s eligibility for a license or other benefit
                       granted by a governmental instrumentality required by law to
                       consider an applicant’s financial responsibility or status; or
                   (E)     intends to use the information, as a potential investor or
                           servicer, or current insurer, in connection with a valuation of,
                           or an assessment of the credit or prepayment risks associated
                           with, an existing credit obligation; or
                   (F)     otherwise has a legitimate business need for the information
                           (i)    in connection with a business transaction that is initiated
                                  by the consumer; or

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                            (ii) to review an account to determine whether the consumer
                                 continues to meet the terms of the account.
                    (G) executive departments and agencies in connection with the
                        issuance of government-sponsored individually-billed travel
                        charge cards.2
             (4) In response to a request by the head of a State or local child support
                 enforcement agency (or a State or local government official
                 authorized by the head of such an agency), if the person making the
                 request certifies to the consumer reporting agency that –
                    (A) the consumer report is needed for the purpose of establishing an
                        individual’s capacity to make child support payments, determining
                        the appropriate level of such payments, or enforcing a child
                        support order, award, agreement, or judgment;
                    (B)     the parentage of the consumer for the child to which the
                            obligation relates has been established or acknowledged by the
                            consumer in accordance with State laws under which the
                            obligation arises (if required by those laws); and
                    (C)     the consumer report will be kept confidential, will be used
                            solely for a purpose described in subparagraph (A), and will
                            not be used in connection with any other civil, administrative,
                            or criminal proceeding, or for any other purpose.
             (5) To an agency administering a State plan under section 654 of title 42
                 for use to set an initial or modified child support award.
             (6) To the Federal Deposit Insurance Corporation or the National Credit
                 Union Administration as part of its preparation for its appointment or
                 as part of its exercise of powers, as conservator, receiver, or
                 liquidating agent for an insured depository institution or insured
                 credit union under the Federal Deposit Insurance Act or the Federal
                 Credit Union Act, or other applicable Federal or State law, or in
                 connection with the resolution or liquidation of a failed or failing
                 insured depository institution or insured credit union, as applicable.
      (b)    Conditions for furnishing and using consumer reports for
             employment purposes.
             (1) Certification from user. A consumer reporting agency may furnish a
                 consumer report for employment purposes only if


      2 As written in the 2007 amendment that added section 604(a)(3)(G). Subsection F(ii) should end with
        “; or” instead of a period, and the text of subsection (g) should conform to the style of the rest of section
        605(a)(3).
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                   (A) the person who obtains such report from the agency certifies to
                       the agency that
                           (i)    the person has complied with paragraph (2) with respect
                                  to the consumer report, and the person will comply with
                                  paragraph (3) with respect to the consumer report if
                                  paragraph (3) becomes applicable; and
                           (ii) information from the consumer report will not be used
                                in violation of any applicable Federal or State equal
                                employment opportunity law or regulation; and
                   (B)     the consumer reporting agency provides with the report, or
                           has previously provided, a summary of the consumer’s rights
                           under this title, as prescribed by the Bureau under section
                           609(c)(3) [§ 1681g].
             (2) Disclosure to Consumer.
                   (A) In general. Except as provided in subparagraph (B), a person
                       may not procure a consumer report, or cause a consumer report
                       to be procured, for employment purposes with respect to any
                       consumer, unless –
                           (i)    a clear and conspicuous disclosure has been made in
                                  writing to the consumer at any time before the report is
                                  procured or caused to be procured, in a document that
                                  consists solely of the disclosure, that a consumer report
                                  may be obtained for employment purposes; and
                           (ii) the consumer has authorized in writing (which authorization
                                may be made on the document referred to in clause (i)) the
                                procurement of the report by that person.
                   (B)     Application by mail, telephone, computer, or other similar
                           means. If a consumer described in subparagraph (C) applies
                           for employment by mail, telephone, computer, or other similar
                           means, at any time before a consumer report is procured or
                           caused to be procured in connection with that application –
                           (i)    the person who procures the consumer report on the
                                  consumer for employment purposes shall provide to the
                                  consumer, by oral, written, or electronic means, notice
                                  that a consumer report may be obtained for employment
                                  purposes, and a summary of the consumer’s rights under
                                  section 615(a)(3); and


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                           (ii) the consumer shall have consented, orally, in writing, or
                                electronically to the procurement of the report by that person.
                    (C)    Scope. Subparagraph (B) shall apply to a person procuring a
                           consumer report on a consumer in connection with the
                           consumer’s application for employment only if –
                           (i)     the consumer is applying for a position over which the
                                   Secretary of Transportation has the power to establish
                                   qualifications and maximum hours of service pursuant to
                                   the provisions of section 31502 of title 49, or a
                                   position subject to safety regulation by a State
                                   transportation agency; and
                           (ii) as of the time at which the person procures the report
                                or causes the report to be procured the only interaction
                                between the consumer and the person in connection with
                                that employment application has been by mail, telephone,
                                computer, or other similar means.
             (3) Conditions on use for adverse actions.
                    (A) In general. Except as provided in subparagraph (B), in using
                        a consumer report for employment purposes, before taking
                        any adverse action based in whole or in part on the report, the
                        person intending to take such adverse action shall provide to the
                        consumer to whom the report relates –
                           (i)     a copy of the report; and
                           (ii) a description in writing of the rights of the consumer
                                under this title, as prescribed by the Bureau under section
                                609(c)(3).3
                    (B)    Application by mail, telephone, computer, or other similar means.
                           (i)     If a consumer described in subparagraph (C) applies for
                                   employment by mail, telephone, computer, or other
                                   similar means, and if a person who has procured a
                                   consumer report on the consumer for employment purposes
                                   takes adverse action on the employment application based
                                   in whole or in part on the report, then the person must
                                   provide to the consumer to whom the report relates, in
                                   lieu of the notices required under subparagraph (A) of
                                   this section and under section 615(a), within 3 business

      3 The references in Sections 604(b)(3)(A) and 604(b)(3)(B) should be to Section 609(c)(1), not (c)(3) that no
        longer exists as the result of Congress’ re-organization of Section 609(c) in 2003 (FACT Act).
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                                  days of taking such action, an oral, written or electronic
                                  notification –
                                  (I) that adverse action has been taken based in whole
                                      or in part on a consumer report received from a
                                      consumer reporting agency;
                                  (II) of the name, address and telephone number of
                                       the consumer reporting agency that furnished the
                                       consumer report (including a toll-free telephone
                                       number established by the agency if the agency
                                       compiles and maintains files on consumers on a
                                       nationwide basis);
                                  (III) that the consumer reporting agency did not make the
                                        decision to take the adverse action and is unable to
                                        provide to the consumer the specific reasons why the
                                        adverse action was taken; and
                                  (IV) that the consumer may, upon providing proper
                                       identification, request a free copy of a report and may
                                       dispute with the consumer reporting agency the
                                       accuracy or completeness of any information in a report.
                           (ii) If, under clause (B)(i)(IV), the consumer requests a copy
                                of a consumer report from the person who procured the
                                report, then, within 3 business days of receiving the
                                consumer’s request, together with proper identification,
                                the person must send or provide to the consumer a copy of
                                a report and a copy of the consumer’s rights as prescribed
                                by the Bureau under section 609(c)(3).3
                   (C)     Scope. Subparagraph (B) shall apply to a person procuring a
                           consumer report on a consumer in connection with the
                           consumer’s application for employment only if –
                           (i)    the consumer is applying for a position over which the
                                  Secretary of Transportation has the power to establish
                                  qualifications and maximum hours of service pursuant to
                                  the provisions of section 31502 of title 49, or a
                                  position subject to safety regulation by a State
                                  transportation agency; and
                           (ii) as of the time at which the person procures the report
                                or causes the report to be procured the only interaction
                                between the consumer and the person in connection with

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                         that employment application has been by mail, telephone,
                         computer, or other similar means.
         (4) Exception for national security investigations.
             (A) In general. In the case of an agency or department of the
                 United States Government which seeks to obtain and use a
                 consumer report for employment purposes, paragraph (3) shall
                 not apply to any adverse action by such agency or department
                 which is based in part on such consumer report, if the head of
                 such agency or department makes a written finding that –
                   (i)   the consumer report is relevant to a national security
                         investigation of such agency or department;
                   (ii) the investigation is within the jurisdiction of such agency
                        or department;
                   (iii) there is reason to believe that compliance with paragraph
                         (3) will –
                         (I) endanger the life or physical safety of any person;
                         (II) result in flight from prosecution;
                         (III) result in the destruction of, or tampering with,
                               evidence relevant to the investigation;
                         (IV) result in the intimidation of a potential witness
                              relevant to the investigation;
                         (V) result in the compromise of classified information; or
                         (VI) otherwise seriously jeopardize or unduly delay the
                              investigation or another official proceeding.
             (B)   Notification of consumer upon conclusion of investigation.
                   Upon the conclusion of a national security investigation
                   described in subparagraph (A), or upon the determination that
                   the exception under subparagraph (A) is no longer required for
                   the reasons set forth in such subparagraph, the official exercising
                   the authority in such subparagraph shall provide to the consumer
                   who is the subject of the consumer report with regard to which
                   such finding was made –
                   (i)   a copy of such consumer report with any classified
                         information redacted as necessary;
                   (ii) notice of any adverse action which is based, in part, on
                        the consumer report; and

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                           (iii) the identification with reasonable specificity of the nature
                                 of the investigation for which the consumer report was
                                 sought.
                   (C)     Delegation by head of agency or department. For purposes of
                           subparagraphs (A)and (B), the head of any agency or department
                           of the United States Government may delegate his or her
                           authorities under this paragraph to an official of such agency or
                           department who has personnel security responsibilities and is a
                           member of the Senior Executive Service or equivalent civilian
                           or military rank.
                   (D) Definitions. For purposes of this paragraph, the following
                       definitions shall apply:
                           (i)    Classified information. The term “classified information”
                                  means information that is protected from unauthorized
                                  disclosure under Executive Order No. 12958 or successor
                                  orders.
                           (ii) National security investigation. The term “national security
                                investigation” means any official inquiry by an agency or
                                department of the United States Government to determine
                                the eligibility of a consumer to receive access or continued
                                access to classified information or to determine whether
                                classified information has been lost or compromised.
      (c)    Furnishing reports in connection with credit or insurance transactions that
             are not initiated by the consumer.
             (1) In general. A consumer reporting agency may furnish a consumer
                 report relating to any consumer pursuant to subparagraph (A) or (C)
                 of subsection (a)(3) in connection with any credit or insurance
                 transaction that is not initiated by the consumer only if
                   (A) the consumer authorizes the agency to provide such report to
                       such person; or
                   (B)     (i)    the transaction consists of a firm offer of credit or insurance;
                           (ii) the consumer reporting agency has complied with
                                subsection (e);
                           (iii) there is not in effect an election by the consumer, made
                                 in accordance with subsection (e), to have the consumer’s
                                 name and address excluded from lists of names provided
                                 by the agency pursuant to this paragraph; and


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                        (iv) the consumer report does not contain a date of birth that
                             shows that the consumer has not attained the age of 21,
                             or, if the date of birth on the consumer report shows that
                             the consumer has not attained the age of 21, such
                             consumer consents to the consumer reporting agency to
                             such furnishing.
            (2) Limits on information received under paragraph (1)(B). A person
                may receive pursuant to paragraph (1)(B) only
                (A) the name and address of a consumer;
                (B)     an identifier that is not unique to the consumer and that is used
                        by the person solely for the purpose of verifying the identity of
                        the consumer; and
                (C)     other information pertaining to a consumer that does not identify
                        the relationship or experience of the consumer with respect to a
                        particular creditor or other entity.
            (3) Information regarding inquiries. Except as provided in section 609(a)
                (5) [§ 1681g], a consumer reporting agency shall not furnish to any
                person a record of inquiries in connection with a credit or
                insurance transaction that is not initiated by a consumer.
      (d)   Reserved.
      (e)   Election of consumer to be excluded from lists.
            (1) In general. A consumer may elect to have the consumer’s name and
                address excluded from any list provided by a consumer reporting
                agency under subsection (c)(1)(B) in connection with a credit or
                insurance transaction that is not initiated by the consumer, by
                notifying the agency in accordance with paragraph (2) that the
                consumer does not consent to any use of a consumer report relating
                to the consumer in connection with any credit or insurance
                transaction that is not initiated by the consumer.
            (2) Manner of notification. A consumer shall notify a consumer
                reporting agency under paragraph (1)
                (A) through the notification system maintained by the agency under
                    paragraph (5); or
                (B)     by submitting to the agency a signed notice of election form
                        issued by the agency for purposes of this subparagraph.
            (3) Response of agency after notification through system. Upon receipt
                of notification of the election of a consumer under paragraph (1)

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                   through the notification system maintained by the agency under
                   paragraph (5), a consumer reporting agency shall
                   (A) inform the consumer that the election is effective only for the
                       5-year period following the election if the consumer does not
                       submit to the agency a signed notice of election form issued by
                       the agency for purposes of paragraph (2)(B); and
                   (B)     provide to the consumer a notice of election form, if requested
                           by the consumer, not later than 5 business days after receipt of
                           the notification of the election through the system established
                           under paragraph (5), in the case of a request made at the time
                           the consumer provides notification through the system.
             (4) Effectiveness of election. An election of a consumer under
                 paragraph (1)
                   (A) shall be effective with respect to a consumer reporting agency
                       beginning 5 business days after the date on which the consumer
                       notifies the agency in accordance with paragraph (2);
                   (B)     shall be effective with respect to a consumer reporting agency
                           (i)    subject to subparagraph (C), during the 5-year period
                                  beginning 5 business days after the date on which the
                                  consumer notifies the agency of the election, in the case of
                                  an election for which a consumer notifies the agency only
                                  in accordance with paragraph (2)(A); or
                           (ii) until the consumer notifies the agency under subparagraph
                                (C), in the case of an election for which a consumer
                                notifies the agency in accordance with paragraph (2)(B);
                   (C)     shall not be effective after the date on which the consumer
                           notifies the agency, through the notification system established
                           by the agency under paragraph (5), that the election is no
                           longer effective; and
                   (D) shall be effective with respect to each affiliate of the agency.
             (5) Notification System
                   (A) In general. Each consumer reporting agency that, under
                       subsection (c)(1)(B), furnishes a consumer report in connection
                       with a credit or insurance transaction that is not initiated by a
                       consumer, shall
                           (i)    establish and maintain a notification system, including a
                                  toll-free telephone number, which permits any consumer

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                            whose consumer report is maintained by the agency to
                            notify the agency, with appropriate identification, of the
                            consumer’s election to have the consumer’s name and
                            address excluded from any such list of names and addresses
                            provided by the agency for such a transaction; and
                      (ii) publish by not later than 365 days after the date of enactment
                           of the Consumer Credit Reporting Reform Act of 1996,
                           and not less than annually thereafter, in a publication of
                           general circulation in the area served by the agency
                            (I) a notification that information in consumer files
                                maintained by the agency may be used in connection
                                with such transactions; and
                            (II) the address and toll-free telephone number for
                                 consumers to use to notify the agency of the
                                 consumer’s election under clause (I).
                (B)   Establishment and maintenance as compliance. Establishment
                      and maintenance of a notification system (including a toll-free
                      telephone number) and publication by a consumer reporting
                      agency on the agency’s own behalf and on behalf of any of its
                      affiliates in accordance with this paragraph is deemed to be
                      compliance with this paragraph by each of those affiliates.
            (6) Notification system by agencies that operate nationwide. Each
                consumer reporting agency that compiles and maintains files on
                consumers on a nationwide basis shall establish and maintain a
                notification system for purposes of paragraph (5) jointly with other
                such consumer reporting agencies.
      (f)   Certain use or obtaining of information prohibited. A person shall not use
            or obtain a consumer report for any purpose unless
            (1) the consumer report is obtained for a purpose for which the consumer
                report is authorized to be furnished under this section; and
            (2) the purpose is certified in accordance with section 607 [§ 1681e]
                by a prospective user of the report through a general or specific
                certification.
      (g)   Protection of Medical Information
            (1) Limitation on consumer reporting agencies. A consumer reporting
                agency shall not furnish for employment purposes, or in connection
                with a credit or insurance transaction, a consumer report that contains
                medical information (other than medical contact information treated

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                   in the manner required under section 605(a)(6)) about a consumer,
                   unless –
                   (A) if furnished in connection with an insurance transaction, the
                       consumer affirmatively consents to the furnishing of the report;
                   (B)     if furnished for employment purposes or in connection with a
                           credit transaction –
                           (i)    the information to be furnished is relevant to process or
                                  effect the employment or credit transaction; and
                           (ii) the consumer provides specific written consent for the
                                furnishing of the report that describes in clear and
                                conspicuous language the use for which the information
                                will be furnished; or
                   (C)     the information to be furnished pertains solely to transactions,
                           accounts, or balances relating to debts arising from the receipt
                           of medical services, products, or devises, where such
                           information, other than account status or amounts, is restricted
                           or reported using codes that do not identify, or do not provide
                           information sufficient to infer, the specific provider or the
                           nature of such services, products, or devices, as provided in
                           section 605(a)(6).
             (2) Limitation on creditors. Except as permitted pursuant to paragraph
                 (3)(C) or regulations prescribed under paragraph (5)(A), a creditor
                 shall not obtain or use medical information (other than medical contact
                 information treated in the manner required under section 605(a)(6))
                 pertaining to a consumer in connection with any determination of the
                 consumer’s eligibility, or continued eligibility, for credit.
             (3) Actions authorized by federal law, insurance activities and regulatory
                 determinations. Section 603(d)(3) shall not be construed so as to treat
                 information or any communication of information as a consumer
                 report if the information or communication is disclosed –
                   (A) in connection with the business of insurance or annuities,
                       including the activities described in section 18B of the model
                       Privacy of Consumer Financial and Health Information
                       Regulation issued by the National Association of Insurance
                       Commissioners (as in effect on January 1, 2003);
                   (B)     for any purpose permitted without authorization under the
                           Standards for Individually Identifiable Health Information
                           promulgated by the Department of Health and Human Services
                           pursuant to the Health Insurance Portability and Accountability
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                           Act of 1996, or referred to under section 1179 of such Act, or
                           described in section 502(e) of Public Law 106-102; or
                   (C)     as otherwise determined to be necessary and appropriate, by
                           regulation or order, by the Bureau or the applicable State
                           insurance authority (with respect to any person engaged in
                           providing insurance or annuities).
             (4) Limitation on redisclosure of medical information. Any person that
                 receives medical information pursuant to paragraph (1) or (3) shall
                 not disclose such information to any other person, except as necessary
                 to carry out the purpose for which the information was initially
                 disclosed, or as otherwise permitted by statute, regulation, or order.
             (5) Regulations and Effective Date for Paragraph (2)
                   (A)4 Regulations required. The Bureau may, after notice and
                        opportunity for comment, prescribe regulations that permit
                        transactions under paragraph (2) that are determined to be
                        necessary and appropriate to protect legitimate operational,
                        transactional, risk, consumer, and other needs (and which shall
                        include permitting actions necessary for administrative verifica-
                        tion purposes), consistent with the intent of paragraph (2) to
                        restrict the use of medical information for inappropriate purposes.
              See also 12 CFR Parts 41/222/232/334/571/717, 70 Fed. Reg. 70664 (11/22/05)
             (6) Coordination with other laws. No provision of this subsection shall
                 be construed as altering, affecting, or superseding the applicability of
                 any other provision of Federal law relating to medical confidentiality.

      § 605. Requirements relating to information contained in
             consumer reports [15 U.S.C. § 1681c]
      (a)    Information excluded from consumer reports. Except as authorized under
             subsection (b) of this section, no consumer reporting agency may make any
             consumer report containing any of the following items of information:
             (1) Cases under title 11 [United States Code] or under the Bankruptcy
                 Act that, from the date of entry of the order for relief or the date
                 of adjudication, as the case may be, antedate the report by more
                 than 10 years.


      4 As written in section 1088(a)(4)(B) of the CFPA in 2010. The previous version of section 604(b)(5),
        added in 2003 by the FACT Act, contained two subsections (A) and (B). The latter stated that the rules
        required to be prescribed by the Federal financial agencies (not including the Commission) be finalized
        by June 4, 2004.
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             (2) Civil suits, civil judgments, and records of arrest that from date of entry,
                 antedate the report by more than seven years or until the governing
                 statute of limitations has expired, whichever is the longer period.
             (3) Paid tax liens which, from date of payment, antedate the report by more
                 than seven years.
             (4) Accounts placed for collection or charged to profit and loss which
                 antedate the report by more than seven years.5
             (5) Any other adverse item of information, other than records of convic-
                 tions of crimes which antedates the report by more than seven years.5
             (6) The name, address, and telephone number of any medical information
                 furnisher that has notified the agency of its status, unless –
                    (A) such name, address, and telephone number are restricted or
                        reported using codes that do not identify, or provide information
                        sufficient to infer, the specific provider or the nature of such
                        services, products, or devices to a person other than the
                        consumer; or
                    (B)     the report is being provided to an insurance company for a
                            purpose relating to engaging in the business of insurance other
                            than property and casualty insurance.
             (7) With respect to a consumer reporting agency described in section
                 603(p), any information related to a veteran’s medical debt if the
                 date on which the hospital care, medical services, or extended care
                 services was rendered relating to the debt antedates the report by less
                 than 1 year if the consumer reporting agency has actual knowledge
                 that the information is related to a veteran’s medical debt and the
                 consumer reporting agency is in compliance with its obligation under
                 section 302(c)(5) of the Economic Growth, Regulatory Relief, and
                 Consumer Protection Act.
             (8) With respect to a consumer reporting agency described in section
                 603(p), any information related to a fully paid or settled veteran’s
                 medical debt that had been characterized as delinquent, charged off,
                 or in collection if the consumer reporting agency has actual knowledge
                 that the information is related to a veteran’s medical debt and the
                 consumer reporting agency is in compliance with its obligation under

      5 The reporting periods have been lengthened for certain adverse information pertaining to U.S. Government
        insured or guaranteed student loans, or pertaining to national direct student loans. See sections 430A(f) and
        463(c)(3) of the Higher Education Act of 1965, 20 U.S.C. 1080a(f) and 20 U.S.C. 1087cc(c)(3), respectively.



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                   section 302(c)(5) of the Economic Growth, Regulatory Relief, and
                   Consumer Protection Act.
      (b)    Exempted cases. The provisions of paragraphs (1) through (5) of
             subsection (a) of this section are not applicable in the case of any
             consumer credit report to be used in connection with
             (1) a credit transaction involving, or which may reasonably be expected
                 to involve, a principal amount of $150,000 or more;
             (2) the underwriting of life insurance involving, or which may
                 reasonably be expected to involve, a face amount of $150,000 or
                 more; or
             (3) the employment of any individual at an annual salary which equals,
                 or which may reasonably be expected to equal $75,000, or more.
      (c)    Running of Reporting Period
             (1) In general. The 7-year period referred to in paragraphs (4) and (6)6
                 of subsection (a) shall begin, with respect to any delinquent account
                 that is placed for collection (internally or by referral to a third party,
                 whichever is earlier), charged to profit and loss, or subjected to any
                 similar action, upon the expiration of the 180-day period beginning
                 on the date of the commencement of the delinquency which
                 immediately preceded the collection activity, charge to profit and
                 loss, or similar action.
             (2) Effective date. Paragraph (1) shall apply only to items of information
                 added to the file of a consumer on or after the date that is 455 days
                 after the date of enactment of the Consumer Credit Reporting Reform
                 Act of 1996.
      (d)    Information Required to be Disclosed
             (1) Title 11 information. Any consumer reporting agency that furnishes a
                 consumer report that contains information regarding any case
                 involving the consumer that arises under title 11, United States Code,
                 shall include in the report an identification of the chapter of such title
                 11 under which such case arises if provided by the source of the
                 information. If any case arising or filed under title 11, United States
                 Code, is withdrawn by the consumer before a final judgment, the
                 consumer reporting agency shall include in the report that such case

      6 This provision, added in September 1996, should read “paragraphs (4) and (5)....” Prior Section 605(a)
        (6) was amended and re-designated as Section 605(a)(5) in November 1998. The current Section 605(a)(6),
        added in December 2003 and now containing no reference to any 7-year period, is obviously inapplicable.



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                   or filing was withdrawn upon receipt of documentation certifying
                   such withdrawal.
             (2) Key factor in credit score information. Any consumer reporting
                 agency that furnishes a consumer report that contains any credit score
                 or any other risk score or predictor on any consumer shall include
                 in the report a clear and conspicuous statement that a key factor
                 (as defined in section 609(f)(2)(B)) that adversely affected such score
                 or predictor was the number of enquiries, if such a predictor was in
                 fact a key factor that adversely affected such score. This paragraph
                 shall not apply to a check services company, acting as such, which
                 issues authorizations for the purpose of approving or processing
                 negotiable instruments, electronic fund transfers, or similar methods
                 of payments, but only to the extent that such company is engaged in
                 such activities.
      (e)    Indication of closure of account by consumer. If a consumer reporting
             agency is notified pursuant to section 623(a)(4) [§ 1681s-2] that a credit
             account of a consumer was voluntarily closed by the consumer, the agency
             shall indicate that fact in any consumer report that includes information
             related to the account.
      (f)    Indication of dispute by consumer. If a consumer reporting agency is
             notified pursuant to section 623(a)(3) [§ 1681s-2] that information
             regarding a consumer who was furnished to the agency is disputed by the
             consumer, the agency shall indicate that fact in each consumer report that
             includes the disputed information.
      (g)    Truncation of Credit Card and Debit Card Numbers
             (1) In general. Except as otherwise provided in this subsection, no
                 person that accepts credit cards or debit cards for the transaction of
                 business shall print more than the last 5 digits of the card number or
                 the expiration date upon any receipt provided to the cardholder at the
                 point of the sale or transaction.
             (2) Limitation. This subsection shall apply only to receipts that are
                 electronically printed, and shall not apply to transactions in which the
                 sole means of recording a credit card or debit card account number is
                 by handwriting or by an imprint or copy of the card.
             (3) Effective date. This subsection shall become effective –
                   (A) 3 years after the date of enactment of this subsection, with
                       respect to any cash register or other machine or device that

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                      electronically prints receipts for credit card or debit card
                      transactions that is in use before January 1, 2005; and
                (B)   1 year after the date of enactment of this subsection, with respect
                      to any cash register or other machine or device that electronically
                      prints receipts for credit card or debit card transactions that is
                      first put into use on or after January 1, 2005.
      (h)   Notice of Discrepancy in Address
            (1) In general. If a person has requested a consumer report relating to
                a consumer from a consumer reporting agency described in section
                603(p), the request includes an address for the consumer that
                substantially differs from the addresses in the file of the consumer,
                and the agency provides a consumer report in response to the request,
                the consumer reporting agency shall notify the requester of the
                existence of the discrepancy.
                                         See also 12 CFR Part 1022.82, 16 CFR Part 641,
                                                       72 Fed. Reg. 63771-72 (11/09/07),
                                                       74 Fed. Reg. 22640-41 (05/14/09),
                                                        86 Fed. Reg. 51817-19 (09/17/21)
            (2) Regulations
                (A) Regulations required. The Bureau shall, in consultation with the
                    Federal banking agencies, the National Credit Union Adminis-
                    tration, and the Federal Trade Commission, prescribe regula-
                    tions providing guidance regarding reasonable policies and pro-
                    cedures that a user of a consumer report should employ when
                    such user has received a notice of discrepancy under paragraph
                    (1).
                (B)   Policies and procedures to be included. The regulations pre-
                      scribed under subparagraph (A) shall describe reasonable poli-
                      cies and procedures for use by a user of a consumer report –
                      (i)   to form a reasonable belief that the user knows the identity
                            of the person to whom the consumer report pertains; and
                      (ii) if the user establishes a continuing relationship with the
                           consumer, and the user regularly and in the ordinary course
                           of business furnishes information to the consumer reporting
                           agency from which the notice of discrepancy pertaining to
                           the consumer was obtained, to reconcile the address of the
                           consumer with the consumer reporting agency by furnishing
                           such address to such consumer reporting agency as part of
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                                     information regularly furnished by the user for the period in
                                     which the relationship is established.

      § 605A. Identity theft prevention; fraud alerts and active duty
              alerts [15 U.S.C. § 1681c-1]
      (a)    One-call Fraud Alerts
             (1) Initial alerts. Upon the direct request of a consumer, or an individual
                 acting on behalf of or as a personal representative of a consumer,
                 who asserts in good faith a suspicion that the consumer has been or is
                 about to become a victim of fraud or related crime, including identity
                 theft, a consumer reporting agency described in section 603(p) that
                 maintains a file on the consumer and has received appropriate proof
                 of the identity of the requester shall –
                   (A) include a fraud alert in the file of that consumer, and also
                       provide that alert along with any credit score generated in using
                       that file, for a period of not less than 1 year, beginning on the
                       date of such request, unless the consumer or such representative
                       requests that such fraud alert be removed before the end of such
                       period, and the agency has received appropriate proof of the
                       identity of the requester for such purpose; and
                   (B)     refer the information regarding the fraud alert under this
                           paragraph to each of the other consumer reporting agencies
                           described in section 603(p), in accordance with procedures
                           developed under section 621(f).
             (2) Access to free reports. In any case in which a consumer reporting
                 agency includes a fraud alert in the file of a consumer pursuant to this
                 subsection, the consumer reporting agency shall –
                   (A) disclose to the consumer that the consumer may request a free
                       copy of the file of the consumer pursuant to section 612(d); and
                   (B)     provide to the consumer all disclosures required to be made
                           under section 609, without charge to the consumer, not later
                           than 3 business days after any request described in
                           subparagraph (A).
      (b)    Extended Alerts
             (1) In general. Upon the direct request of a consumer, or an individual
                 acting on behalf of or as a personal representative of a consumer,
                 who submits an identity theft report to a consumer reporting agency
                 described in section 603(p) that maintains a file on the consumer,

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                 if the agency has received appropriate proof of the identity of the
                 requester, the agency shall –
                 (A) include a fraud alert in the file of that consumer, and also
                     provide that alert along with any credit score generated in using
                     that file, during the 7-year period beginning on the date of such
                     request, unless the consumer or such representative requests
                     that such fraud alert be removed before the end of such period
                     and the agency has received appropriate proof of the identity of
                     the requester for such purpose;
                 (B)   during the 5-year period beginning on the date of such request,
                       exclude the consumer from any list of consumers prepared by
                       the consumer reporting agency and provided to any third party
                       to offer credit or insurance to the consumer as part of a
                       transaction that was not initiated by the consumer, unless the
                       consumer or such representative requests that such exclusion be
                       rescinded before the end of such period; and
                 (C)   refer the information regarding the extended fraud alert under
                       this paragraph to each of the other consumer reporting agen-
                       cies described in section 603(p), in accordance with procedures
                       developed under section 621(f).
            (2) Access to free reports. In any case in which a consumer reporting
                agency includes a fraud alert in the file of a consumer pursuant to this
                subsection, the consumer reporting agency shall –
                 (A) disclose to the consumer that the consumer may request 2 free
                     copies of the file of the consumer pursuant to section 612(d)
                     during the 12-month period beginning on the date on which the
                     fraud alert was included in the file; and
                 (B)   provide to the consumer all disclosures required to be made
                       under section 609, without charge to the consumer, not later
                       than 3 business days after any request described in
                       subparagraph (A).
      (c)   Active duty alerts. Upon the direct request of an active duty military
            consumer, or an individual acting on behalf of or as a personal
            representative of an active duty military consumer, a consumer reporting
            agency described in section 603(p) that maintains a file on the active duty
            military consumer and has received appropriate proof of the identity of the
            requester shall –
            (1) include an active duty alert in the file of that active duty military
                consumer, and also provide that alert along with any credit score
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                   generated in using that file, during a period of not less than 12
                   months, or such longer period as the Bureau shall determine, by
                   regulation, beginning on the date of the request, unless the active
                   duty military consumer or such representative requests that such
                   fraud alert be removed before the end of such period, and the agency
                   has received appropriate proof of the identity of the requester for
                   such purpose;
             (2) during the 2-year period beginning on the date of such request,
                 exclude the active duty military consumer from any list of consumers
                 prepared by the consumer reporting agency and provided to any third
                 party to offer credit or insurance to the consumer as part of a
                 transaction that was not initiated by the consumer, unless the
                 consumer requests that such exclusion be rescinded before the end of
                 such period; and
             (3) refer the information regarding the active duty alert to each of the
                 other consumer reporting agencies described in section 603(p), in
                 accordance with procedures developed under section 621(f).
                                                            See also 12 CFR Part 1022.121
      (d)    Procedures. Each consumer reporting agency described in section 603(p)
             shall establish policies and procedures to comply with this section, including
             procedures that inform consumers of the availability of initial, extended,
             and active duty alerts and procedures that allow consumers and active duty
             military consumers to request initial, extended, or active duty alerts (as
             applicable) in a simple and easy manner, including by telephone.
      (e)    Referrals of alerts. Each consumer reporting agency described in section
             603(p) that receives a referral of a fraud alert or active duty alert from
             another consumer reporting agency pursuant to this section shall, as
             though the agency received the request from the consumer directly, follow
             the procedures required under –
             (1) paragraphs (1)(A) and (2) of subsection (a), in the case of a referral
                 under subsection (a)(1)(B);
             (2) paragraphs (1)(A), (1)(B), and (2) of subsection (b), in the case of a
                 referral under subsection (b)(1)(C); and
             (3) paragraphs (1) and (2) of subsection (c), in the case of a referral
                 under subsection (c)(3).
      (f)    Duty of reseller to reconvey alert. A reseller shall include in its report any
             fraud alert or active duty alert placed in the file of a consumer
             pursuant to this section by another consumer reporting agency.

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      (g)   Duty of other consumer reporting agencies to provide contact information.
            If a consumer contacts any consumer reporting agency that is not
            described in section 603(p) to communicate a suspicion that the consumer
            has been or is about to become a victim of fraud or related crime,
            including identity theft, the agency shall provide information to the
            consumer on how to contact the Bureau and the consumer reporting
            agencies described in section 603(p) to obtain more detailed information
            and request alerts under this section.
      (h)   Limitations on Use of Information for Credit Extensions
            (1) Requirements for initial and active duty alerts
                (A) Notification. Each initial fraud alert and active duty alert under
                    this section shall include information that notifies all prospective
                    users of a consumer report on the consumer to which the alert
                    relates that the consumer does not authorize the establishment
                    of any new credit plan or extension of credit, other than under
                    an open-end credit plan (as defined in section 103(i)), in the
                    name of the consumer, or issuance of an additional card on an
                    existing credit account requested by a consumer, or any
                    increase in credit limit on an existing credit account requested
                    by a consumer, except in accordance with subparagraph (B).
                (B)   Limitation on Users
                      (i)   In general. No prospective user of a consumer report that
                            includes an initial fraud alert or an active duty alert in
                            accordance with this section may establish a new credit
                            plan or extension of credit, other than under an open-end
                            credit plan (as defined in section 103(i)), in the name of
                            the consumer, or issue an additional card on an existing
                            credit account requested by a consumer, or grant any
                            increase in credit limit on an existing credit account
                            requested by a consumer, unless the user utilizes reasonable
                            policies and procedures to form a reasonable belief that
                            the user knows the identity of the person making the request.
                      (ii) Verification. If a consumer requesting the alert has
                           specified a telephone number to be used for identity
                           verification purposes, before authorizing any new credit
                           plan or extension described in clause (i) in the name of
                           such consumer, a user of such consumer report shall
                           contact the consumer using that telephone number or take
                           reasonable steps to verify the consumer’s identity and

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                                     confirm that the application for a new credit plan is not
                                     the result of identity theft.
             (2) Requirements for Extended Alerts
                   (A) Notification. Each extended alert under this section shall
                       include information that provides all prospective users of a
                       consumer report relating to a consumer with –
                           (i)       notification that the consumer does not authorize the
                                     establishment of any new credit plan or extension of credit
                                     described in clause (i), other than under an open-end
                                     credit plan (as defined in section 103(i)), in the name of
                                     the consumer, or issuance of an additional card on an
                                     existing credit account requested by a consumer, or any
                                     increase in credit limit on an existing credit account
                                     requested by a consumer, except in accordance with
                                     subparagraph (B); and
                           (ii) a telephone number or other reasonable contact method
                                designated by the consumer.
                   (B)     Limitation on users. No prospective user of a consumer report
                           or of a credit score generated using the information in the file
                           of a consumer that includes an extended fraud alert in
                           accordance with this section may establish a new credit plan or
                           extension of credit, other than under an open-end credit plan
                           (as defined in section 103(i)), in the name of the consumer, or
                           issue an additional card on an existing credit account requested
                           by a consumer, or any increase in credit limit on an existing
                           credit account requested by a consumer, unless the user
                           contacts the consumer in person or using the contact method
                           described in subparagraph (A)(ii) to confirm that the application
                           for a new credit plan or increase in credit limit, or request for
                           an additional card is not the result of identity theft.
      (i)    National security freeze.
             (1) Definitions. For purposes of this subsection:
                   (A) The term ‘consumer reporting agency’ means a consumer
                       reporting agency described in section 603(p).
                   (B)     The term ‘proper identification’ has the meaning of such term
                           as used under section 610.
                   (C)     The term ‘security freeze’ means a restriction that prohibits a
                           consumer reporting agency from disclosing the contents of a

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                   consumer report that is subject to such security freeze to any
                   person requesting the consumer report.
         (2) Placement of security freeze.
             (A) In general. Upon receiving a direct request from a consumer
                 that a consumer reporting agency place a security freeze, and
                 upon receiving proper identification from the consumer, the
                 consumer reporting agency shall, free of charge, place the
                 security freeze not later than –
                   (i)   in the case of a request that is by toll-free telephone or
                         secure electronic means, 1 business day after receiving the
                         request directly from the consumer; or
                   (ii) in the case of a request that is by mail, 3 business days
                        after receiving the request directly from the consumer.
             (B)   Confirmation and additional information.
                   Not later than 5 business days after placing a security freeze
                   under subparagraph (A), a consumer reporting agency shall –
                   (i)   send confirmation of the placement to the consumer; and
                   (ii) inform the consumer of –
                         (I) the process by which the consumer may remove the
                             security freeze, including a mechanism to authenticate
                             the consumer; and
                         (II) the consumer’s right described in section 615(d)(1)(D).
             (C)   Notice to third parties. A consumer reporting agency may
                   advise a third party that a security freeze has been placed with
                   respect to a consumer under subparagraph (A).
         (3) Removal of security freeze.
             (A) In general. A consumer reporting agency shall remove a
                 security freeze placed on the consumer report of a consumer
                 only in the following cases:
                   (i)   Upon the direct request of the consumer.
                   (ii) The security freeze was placed due to a material
                        misrepresentation of fact by the consumer.
             (B)   Notice if removal not by request. If a consumer reporting
                   agency removes a security freeze under subparagraph (A)(ii),
                   the consumer reporting agency shall notify the consumer in
                   writing prior to removing the security freeze.
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                   (C)     Removal of security freeze by consumer request. Except as
                           provided in subparagraph (A)(ii), a security freeze shall remain
                           in place until the consumer directly requests that the security
                           freeze be removed. Upon receiving a direct request from a
                           consumer that a consumer reporting agency remove a security
                           freeze, and upon receiving proper identification from the
                           consumer, the consumer reporting agency shall, free of charge,
                           remove the security freeze not later than –
                           (i)       in the case of a request that is by toll-free telephone or
                                     secure electronic means, 1 hour after receiving the request
                                     for removal; or
                           (ii) in the case of a request that is by mail, 3 business days
                                after receiving the request for removal.
                   (D) Third-party requests. If a third party requests access to a con-
                       sumer report of a consumer with respect to which a security
                       freeze is in effect, where such request is in connection with an
                       application for credit, and the consumer does not allow such
                       consumer report to be accessed, the third party may treat the
                       application as incomplete.
                   (E)     Temporary removal of security freeze. Upon receiving a direct
                           request from a consumer under subparagraph (A)(i), if the
                           consumer requests a temporary removal of a security freeze,
                           the consumer reporting agency shall, in accordance with
                           subparagraph (C), remove the security freeze for the period of
                           time specified by the consumer.
             (4) Exceptions. A security freeze shall not apply to the making of a
                 consumer report for use of the following:
                   (A) A person or entity, or a subsidiary, affiliate, or agent of that
                       person or entity, or an assignee of a financial obligation owed
                       by the consumer to that person or entity, or a prospective
                       assignee of a financial obligation owed by the consumer to that
                       person or entity in conjunction with the proposed purchase of
                       the financial obligation, with which the consumer has or had
                       prior to assignment an account or contract including a demand
                       deposit account, or to whom the consumer issued a negotiable
                       instrument, for the purposes of reviewing the account or
                       collecting the financial obligation owed for the account,
                       contract, or negotiable instrument. For purposes of this
                       subparagraph, ‘reviewing the account’ includes activities related

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                   to account maintenance, monitoring, credit line increases, and
                   account upgrades and enhancements.
             (B)   Any Federal, State, or local agency, law enforcement agency,
                   trial court, or private collection agency acting pursuant to a
                   court order, warrant, or subpoena.
             (C)   A child support agency acting pursuant to part D of title IV of
                   the Social Security Act (42 U.S.C. 651 et seq.).
             (D) A Federal agency or a State or its agents or assigns acting to
                 investigate fraud or acting to investigate or collect delinquent
                 taxes or unpaid court orders or to fulfill any of its other
                 statutory responsibilities, provided such responsibilities are
                 consistent with a permissible purpose under section 604.
             (E)   By a person using credit information for the purposes described
                   under section 604(c).
             (F)   Any person or entity administering a credit file monitoring
                   subscription or similar service to which the consumer has
                   subscribed.
             (G) Any person or entity for the purpose of providing a consumer
                 with a copy of the consumer’s consumer report or credit score,
                 upon the request of the consumer.
             (H) Any person using the information in connection with the
                 underwriting of insurance.
             (I)   Any person using the information for employment, tenant, or
                   background screening purposes.
             (J)   Any person using the information for assessing, verifying, or
                   authenticating a consumer’s identity for purposes other than the
                   granting of credit, or for investigating or preventing actual or
                   potential fraud.
         (5) Notice of rights. At any time a consumer is required to receive a
             summary of rights required under section 609, the following notice
             shall be included:
             “Consumers Have The Right To Obtain A Security Freeze
             “You have a right to place a ‘security freeze’ on your credit report,
             which will prohibit a consumer reporting agency from releasing
             information in your credit report without your express authorization.
             The security freeze is designed to prevent credit, loans, and services
             from being approved in your name without your consent. However,
             you should be aware that using a security freeze to take control over
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                  who gets access to the personal and financial information in your
                  credit report may delay, interfere with, or prohibit the timely
                  approval of any subsequent request or application you make
                  regarding a new loan, credit, mortgage, or any other account
                  involving the extension of credit.
                  “As an alternative to a security freeze, you have the right to place an
                  initial or extended fraud alert on your credit file at no cost. An initial
                  fraud alert is a 1-year alert that is placed on a consumer’s credit file.
                  Upon seeing a fraud alert display on a consumer’s credit file, a
                  business is required to take steps to verify the consumer’s identity before
                  extending new credit. If you are a victim of identity theft, you are
                  entitled to an extended fraud alert, which is a fraud alert lasting 7 years.
                  “A security freeze does not apply to a person or entity, or its
                  affiliates, or collection agencies acting on behalf of the person or
                  entity, with which you have an existing account that requests
                  information in your credit report for the purposes of reviewing or
                  collecting the account. Reviewing the account includes activities
                  related to account maintenance, monitoring, credit line increases,
                  and account upgrades and enhancements.”
             (6) Webpage.
                  (A) Consumer reporting agencies. A consumer reporting agency
                          shall establish a webpage that –
                          (i) allows a consumer to request a security freeze;
                          (ii) allows a consumer to request an initial fraud alert;
                          (iii) allows a consumer to request an extended fraud alert;
                          (iv) allows a consumer to request an active duty fraud alert;
                          (v) allows a consumer to opt-out of the use of information in
                                a consumer report to send the consumer a solicitation of
                                credit or insurance, in accordance with section 615(d); and
                          (vi) shall not be the only mechanism by which a consumer
                                may request a security freeze.
                  (B) FTC. The Federal Trade Commission shall establish a single
                          webpage that includes a link to each webpage established under
                          subparagraph (A) within the Federal Trade Commission’s
                          website www.IdentityTheft.gov, or a successor website.
      (j)    National protection for files and credit records of protected consumers.
             (1) Definitions. As used in this subsection:
                  (A) The term ‘consumer reporting agency’ means a consumer
                          reporting agency described in section 603(p).
                   (B)     The term ‘protected consumer’ means an individual who is –
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                   (i)   under the age of 16 years at the time a request for the
                         placement of a security freeze is made; or
                   (ii) an incapacitated person or a protected person for whom a
                        guardian or conservator has been appointed.
             (C)   The term ‘protected consumer’s representative’ means a person
                   who provides to a consumer reporting agency sufficient proof
                   of authority to act on behalf of a protected consumer.
             (D) The term ‘record’ means a compilation of information that –
                   (i)   identifies a protected consumer;
                   (ii) is created by a consumer reporting agency solely for the
                        purpose of complying with this subsection; and
                   (iii) may not be created or used to consider the protected
                         consumer’s credit worthiness, credit standing, credit
                         capacity, character, general reputation, personal
                         characteristics, or mode of living.
             (E)   The term ‘security freeze’ means a restriction that prohibits a
                   consumer reporting agency from disclosing the contents of a
                   consumer report that is the subject of such security freeze or,
                   in the case of a protected consumer for whom the consumer
                   reporting agency does not have a file, a record that is subject
                   to such security freeze to any person requesting the consumer
                   report for the purpose of opening a new account involving the
                   extension of credit.
             (F)   The term ‘sufficient proof of authority’ means documentation
                   that shows a protected consumer’s representative has authority
                   to act on behalf of a protected consumer and includes –
                   (i)   an order issued by a court of law;
                   (ii) a lawfully executed and valid power of attorney;
                   (iii) a document issued by a Federal, State, or local government
                         agency in the United States showing proof of parentage,
                         including a birth certificate; or
                   (iv) with respect to a protected consumer who has been placed
                        in a foster care setting, a written communication from a
                        county welfare department or its agent or designee, or
                        a county probation department or its agent or designee,
                        certifying that the protected consumer is in a foster care
                        setting under its jurisdiction.


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                   (G) The term ‘sufficient proof of identification’ means information
                       or documentation that identifies a protected consumer and a
                       protected consumer’s representative and includes –
                           (i)       a social security number or a copy of a social security
                                     card issued by the Social Security Administration;
                                     S. 2155—36
                           (ii) a certified or official copy of a birth certificate issued by
                                the entity authorized to issue the birth certificate; or
                           (iii) a copy of a driver’s license, an identification card issued
                                 by the motor vehicle administration, or any other
                                 government issued identification.
             (2) Placement of security freeze for a protected consumer.
                   (A) In general. Upon receiving a direct request from a protected
                       consumer’s representative that a consumer reporting agency
                       place a security freeze, and upon receiving sufficient proof of
                       identification and sufficient proof of authority, the consumer
                       reporting agency shall, free of charge, place the security freeze
                       not later than –
                           (i)       in the case of a request that is by toll-free telephone or
                                     secure electronic means, 1 business day after receiving
                                     the request directly from the protected consumer’s
                                     representative; or
                           (ii) in the case of a request that is by mail, 3 business days
                                after receiving the request directly from the protected
                                consumer’s representative.
                   (B)     Confirmation and additional information.
                           Not later than 5 business days after placing a security freeze
                           under subparagraph (A), a consumer reporting agency shall –
                           (i)       send confirmation of the placement to the protected
                                     consumer’s representative; and
                           (ii) inform the protected consumer’s representative of the
                                process by which the protected consumer may remove the
                                security freeze, including a mechanism to authenticate the
                                protected consumer’s representative.
                   (C)     Creation of file. If a consumer reporting agency does not have
                           a file pertaining to a protected consumer when the consumer
                           reporting agency receives a direct request under subparagraph
                           (A), the consumer reporting agency shall create a record for the
                           protected consumer.

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         (3) Prohibition on release of record or file of protected consumer. After
             a security freeze has been placed under paragraph (2)(A), and unless
             the security freeze is removed in accordance with this subsection, a
             consumer reporting agency may not release the protected consumer’s
             consumer report, any information derived from the protected consumer’s
             consumer report, or any record created for the protected consumer.
         (4) Removal of a protected consumer security freeze.
             (A) In general. A consumer reporting agency shall remove a
                 security freeze placed on the consumer report of a protected
                 consumer only in the following cases:
                   (i)   Upon the direct request of the protected consumer’s
                         representative.
                   (ii) Upon the direct request of the protected consumer, if the
                        protected consumer is not under the age of 16 years at the
                        time of the request.
                   (iii) The security freeze was placed due to a material
                         misrepresentation of fact by the protected consumer’s
                         representative.
             (B)   Notice if removal not by request. If a consumer reporting
                   agency removes a security freeze under subparagraph (A)(iii),
                   the consumer reporting agency shall notify the protected
                   consumer’s representative in writing prior to removing the
                   security freeze.
             (C)   Removal of freeze by request. Except as provided in
                   subparagraph (A)(iii), a security freeze shall remain in place
                   until a protected consumer’s representative or protected
                   consumer described in subparagraph (A)(ii) directly requests
                   that the security freeze be removed. Upon receiving a direct
                   request from the protected consumer’s representative or
                   protected consumer described in subparagraph (A)(ii) that a
                   consumer reporting agency remove a security freeze, and upon
                   receiving sufficient proof of identification and sufficient proof
                   of authority, the consumer reporting agency shall, free of
                   charge, remove the security freeze not later than –
                   (i)   in the case of a request that is by toll-free telephone or
                         secure electronic means, 1 hour after receiving the request
                         for removal; or


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                           (ii) in the case of a request that is by mail, 3 business days
                                after receiving the request for removal.
                   (D) Temporary removal of security freeze. Upon receiving a direct
                       request from a protected consumer or a protected consumer’s
                       representative under subparagraph (A)(i), if the protected
                       consumer or protected consumer’s representative requests a
                       temporary removal of a security freeze, the consumer reporting
                       agency shall, in accordance with subparagraph (C), remove the
                       security freeze for the period of time specified by the protected
                       consumer or protected consumer’s representative.
      (k)    Credit monitoring.
             (1) Definitions. In this subsection:
                   (A) The term ‘active duty military consumer’ includes a member of
                       the National Guard.
                   (B)     The term ‘National Guard’ has the meaning given the term in
                           section 101(c) of title 10, United States Code.
             (2) Credit monitoring. A consumer reporting agency described in section
                 603(p) shall provide a free electronic credit monitoring service that,
                 at a minimum, notifies a consumer of material additions or modifica-
                 tions to the file of the consumer at the consumer reporting agency to
                 any consumer who provides to the consumer reporting agency –
                   (A) appropriate proof that the consumer is an active duty military
                       consumer; and
                   (B)     contact information of the consumer.
             (3) Rulemaking. Not later than 1 year after the date of enactment of this
                 subsection, the Federal Trade Commission shall promulgate
                 regulations regarding the requirements of this subsection, which
                 shall at a minimum include –
                   (A) a definition of an electronic credit monitoring service and
                       material additions or modifications to the file of a consumer; and
                   (B)     what constitutes appropriate proof.
             (4) Applicability.
                   (A) Sections 616 and 617 shall not apply to any violation of this
                       subsection.
                   (B)     This subsection shall be enforced exclusively under section
                           621 by the Federal agencies and Federal and State officials
                           identified in that section.
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                                                                  § 605B - 15 U.S.C. § 1681c-2


      § 605B. Block of information resulting from identity theft
              [15 U.S.C. § 1681c-2]
      (a)   Block. Except as otherwise provided in this section, a consumer reporting
            agency shall block the reporting of any information in the file of a
            consumer that the consumer identifies as information that resulted from
            an alleged identity theft, not later than 4 business days after the date of
            receipt by such agency of –
            (1) appropriate proof of the identity of the consumer;
            (2) a copy of an identity theft report;
            (3) the identification of such information by the consumer; and
            (4) a statement by the consumer that the information is not information
                relating to any transaction by the consumer.
      (b)   Notification. A consumer reporting agency shall promptly notify the
            furnisher of information identified by the consumer under subsection (a) –
            (1) that the information may be a result of identity theft;
            (2) that an identity theft report has been filed;
            (3) that a block has been requested under this section; and
            (4) of the effective dates of the block.
      (c)   Authority to Decline or Rescind
            (1) In general. A consumer reporting agency may decline to block, or may
                rescind any block, of information relating to a consumer under this
                section, if the consumer reporting agency reasonably determines that –
                 (A) the information was blocked in error or a block was requested
                     by the consumer in error;
                 (B)   the information was blocked, or a block was requested by the
                       consumer, on the basis of a material misrepresentation of fact
                       by the consumer relevant to the request to block; or
                 (C)   the consumer obtained possession of goods, services, or money
                       as a result of the blocked transaction or transactions.
            (2) Notification to consumer. If a block of information is declined or
                rescinded under this subsection, the affected consumer shall be
                notified promptly, in the same manner as consumers are notified of
                the reinsertion of information under section 611(a)(5)(B).
            (3) Significance of block. For purposes of this subsection, if a consumer
                reporting agency rescinds a block, the presence of information in the

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                   file of a consumer prior to the blocking of such information is not
                   evidence of whether the consumer knew or should have known that
                   the consumer obtained possession of any goods, services, or money
                   as a result of the block.
      (d)   Exception for Resellers
            (1) No reseller file. This section shall not apply to a consumer reporting
                agency, if the consumer reporting agency –
                   (A) is a reseller;
                   (B)    is not, at the time of the request of the consumer under sub-
                          section (a), otherwise furnishing or reselling a consumer report
                          concerning the information identified by the consumer; and
                   (C)    informs the consumer, by any means, that the consumer may
                          report the identity theft to the Bureau to obtain consumer
                          information regarding identity theft.
            (2) Reseller with file. The sole obligation of the consumer reporting
                agency under this section, with regard to any request of a consumer
                under this section, shall be to block the consumer report maintained
                by the consumer reporting agency from any subsequent use, if –
                   (A) the consumer, in accordance with the provisions of subsection
                       (a), identifies, to a consumer reporting agency, information in
                       the file of the consumer that resulted from identity theft; and
                   (B)    the consumer reporting agency is a reseller of the identified
                          information.
            (3) Notice. In carrying out its obligation under paragraph (2), the
                reseller shall promptly provide a notice to the consumer of the
                decision to block the file. Such notice shall contain the name,
                address, and telephone number of each consumer reporting agency
                from which the consumer information was obtained for resale.
      (e)   Exception for verification companies. The provisions of this section do not
            apply to a check services company, acting as such, which issues
            authorizations for the purpose of approving or processing negotiable
            instruments, electronic fund transfers, or similar methods of payments,
            except that, beginning 4 business days after receipt of information
            described in paragraphs (1) through (3) of subsection (a), a check services
            company shall not report to a national consumer reporting agency
            described in section 603(p), any information identified in the subject
            identity theft report as resulting from identity theft.


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                                                                   § 605C - 15 U.S.C. § 1681c-3

      (f)   Access to blocked information by law enforcement agencies. No provision
            of this section shall be construed as requiring a consumer reporting agency
            to prevent a Federal, State, or local law enforcement agency from
            accessing blocked information in a consumer file to which the agency
            could otherwise obtain access under this title.

      § 605C. Adverse information in cases of trafficking
              [15 U.S.C. § 1681c-3]
      (a)   Definitions. In this section:
            (1) Trafficking documentation. The term “trafficking documentation”
                means-
                  (A) documentation of-
                       (i) a determination that a consumer is a victim of trafficking
                             made by a Federal, State, or Tribal governmental entity;
                             or
                       (ii) by a court of competent jurisdiction; and
                  (B) documentation that identifies items of adverse information
                      that should not be furnished by a consumer reporting agency
                      because the items resulted from a severe form of trafficking in
                      persons or sex trafficking of which the consumer is a victim.
            (2)   Trafficking Victims Protection Act of 2000 definitions. The terms
                  “severe forms of trafficking in persons” and “sex trafficking” have
                  the meanings given, respectively, in section 103 of the Trafficking
                  Victims Protection Act of 2000 (22 U.S.C. 7102).
            (3)   Victim of trafficking. The term “victim of trafficking” means a person
                  who is a victim of a severe form of trafficking in persons or sex
                  trafficking.
      (b)   Adverse information. A consumer reporting agency may not furnish a
            consumer report containing any adverse item of information about a
            consumer that resulted from a severe form of trafficking in persons or sex
            trafficking if the consumer has provided trafficking documentation to the
            consumer reporting agency.
      (c)   Rulemaking.
            (1)   In general. Not later than 180 days after December 27, 2021, the
                  Director shall issue rules to implement subsection (a).
            (2)   Contents. The rules issued pursuant to paragraph (1) shall establish a
                  method by which consumers shall submit trafficking documentation
                  to consumer reporting agencies.
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      § 606 - 15 U.S.C. § 1681d


      § 606. Disclosure of investigative consumer reports
             [15 U.S.C. § 1681d]
      (a)    Disclosure of fact of preparation. A person may not procure or cause to
             be prepared an investigative consumer report on any consumer unless
             (1) it is clearly and accurately disclosed to the consumer that an
                 investigative consumer report including information as to his
                 character, general reputation, personal characteristics and mode of
                 living, whichever are applicable, may be made, and such disclosure
                   (A)     is made in a writing mailed, or otherwise delivered, to the
                           consumer, not later than three days after the date on which the
                           report was first requested, and
                   (B)     includes a statement informing the consumer of his right to request
                           the additional disclosures provided for under subsection (b) of this
                           section and the written summary of the rights of the consumer
                           prepared pursuant to section 609(c) [§ 1681g]; and
             (2) the person certifies or has certified to the consumer reporting agency that
                   (A)     the person has made the disclosures to the consumer required by
                           paragraph (1); and
                   (B)     the person will comply with subsection (b).
      (b)    Disclosure on request of nature and scope of investigation. Any person
             who procures or causes to be prepared an investigative consumer report on
             any consumer shall, upon written request made by the consumer within a
             reasonable period of time after the receipt by him of the disclosure required
             by subsection (a)(1) of this section, make a complete and accurate disclosure
             of the nature and scope of the investigation requested. This disclosure shall be
             made in a writing mailed, or otherwise delivered, to the consumer not later
             than five days after the date on which the request for such disclosure was
             received from the consumer or such report was first requested, whichever is
             the later.
      (c)    Limitation on liability upon showing of reasonable procedures for compliance
             with provisions. No person may be held liable for any violation of subsection
             (a) or (b) of this section if he shows by a preponderance of the evidence that
             at the time of the violation he maintained reasonable procedures to assure
             compliance with subsection (a) or (b) of this section.
      (d)    Prohibitions
             (1) Certification. A consumer reporting agency shall not prepare or
                 furnish investigative consumer report unless the agency has received

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                 a certification under subsection (a)(2) from the person who requested
                 the report.
            (2) Inquiries. A consumer reporting agency shall not make an inquiry for
                the purpose of preparing an investigative consumer report on a consumer
                for employment purposes if the making of the inquiry by an employer
                or prospective employer of the consumer would violate any applicable
                Federal or State equal employment opportunity law or regulation.
            (3) Certain public record information. Except as otherwise provided in
                section 613 [§ 1681k], a consumer reporting agency shall not furnish
                an investigative consumer report that includes information that is a
                matter of public record and that relates to an arrest, indictment,
                conviction, civil judicial action, tax lien, or outstanding judgment,
                unless the agency has verified the accuracy of the information during
                the 30-day period ending on the date on which the report is furnished.
            (4) Certain adverse information. A consumer reporting agency shall not
                prepare or furnish an investigative consumer report on a consumer
                that contains information that is adverse to the interest of the
                consumer and that is obtained through a personal interview with a
                neighbor, friend, or associate of the consumer or with another person
                with whom the consumer is acquainted or who has knowledge of such
                item of information, unless
                 (A) the agency has followed reasonable procedures to obtain
                     confirmation of the information, from an additional source that
                     has independent and direct knowledge of the information; or
                 (B)   the person interviewed is the best possible source of the
                       information.

      § 607. Compliance procedures [15 U.S.C. § 1681e]
      (a)   Identity and purposes of credit users. Every consumer reporting agency
            shall maintain reasonable procedures designed to avoid violations of
            section 605 [§ 1681c] and to limit the furnishing of consumer reports to
            the purposes listed under section 604 [§ 1681b] of this title. These
            procedures shall require that prospective users of the information identify
            themselves, certify the purposes for which the information is sought,
            and certify that the information will be used for no other purpose. Every
            consumer reporting agency shall make a reasonable effort to verify the
            identity of a new prospective user and the uses certified by such
            prospective user prior to furnishing such user a consumer report. No
            consumer reporting agency may furnish a consumer report to any person

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             if it has reasonable grounds for believing that the consumer report will not
             be used for a purpose listed in section 604 [§ 1681b] of this title.
      (b)    Accuracy of report. Whenever a consumer reporting agency prepares a
             consumer report it shall follow reasonable procedures to assure maximum
             possible accuracy of the information concerning the individual about
             whom the report relates.
      (c)    Disclosure of consumer reports by users allowed. A consumer reporting
             agency may not prohibit a user of a consumer report furnished by the
             agency on a consumer from disclosing the contents of the report to the
             consumer, if adverse action against the consumer has been taken by the
             user based in whole or in part on the report.
      (d)    Notice to Users and Furnishers of Information
             (1) Notice requirement. A consumer reporting agency shall provide to
                 any person
                   (A) who regularly and in the ordinary course of business furnishes
                       information to the agency with respect to any consumer; or
                   (B)     to whom a consumer report is provided by the agency; a notice
                           of such person’s responsibilities under this title.
                                                        See also 12 CFR Part 1022, App M-N
             (2) Content of notice. The Bureau shall prescribe the content of notices
                 under paragraph (1), and a consumer reporting agency shall be
                 in compliance with this subsection if it provides a notice under
                 paragraph (1) that is substantially similar to the Bureau prescription
                 under this paragraph.
      (e)    Procurement of Consumer Report for Resale
             (1) Disclosure. A person may not procure a consumer report for
                 purposes of reselling the report (or any information in the report)
                 unless the person discloses to the consumer reporting agency that
                 originally furnishes the report
                   (A) the identity of the end-user of the report (or information); and
                   (B)     each permissible purpose under section 604 [§ 1681b] for
                           which the report is furnished to the end-user of the report
                           (or information).
             (2) Responsibilities of procurers for resale. A person who procures a
                 consumer report for purposes of reselling the report (or any
                 information in the report) shall


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                (A) establish and comply with reasonable procedures designed to
                    ensure that the report (or information) is resold by the person
                    only for a purpose for which the report may be furnished under
                    section 604 [§ 1681b], including by requiring that each person
                    to which the report (or information) is resold and that resells or
                    provides the report (or information) to any other person
                      (i)   identifies each end user of the resold report
                            (or information);
                      (ii) certifies each purpose for which the report
                           (or information) will be used; and
                      (iii) certifies that the report (or information) will be used for
                            no other purpose; and
                (B)   before reselling the report, make reasonable efforts to verify the
                      identifications and certifications made under subparagraph (A).
           (3) Resale of consumer report to a federal agency or department.
               Notwithstanding paragraph (1) or (2), a person who procures
               a consumer report for purposes of reselling the report (or any
               information in the report) shall not disclose the identity of the
               end-user of the report under paragraph (1) or (2) if –
                (A) the end user is an agency or department of the United States
                    Government which procures the report from the person for
                    purposes of determining the eligibility of the consumer
                    concerned to receive access or continued access to classified
                    information (as defined in section 604(b)(4)(E)(i)); and
                (B)   the agency or department certifies in writing to the person
                      reselling the report that nondisclosure is necessary to protect
                      classified information or the safety of persons employed by or
                      contracting with, or undergoing investigation for work or
                      contracting with the agency or department.

      § 608. Disclosures to governmental agencies [15 U.S.C. § 1681f]
      Notwithstanding the provisions of section 604 [§ 1681b] of this title, a
      consumer reporting agency may furnish identifying information respecting
      any consumer, limited to his name, address, former addresses, places of
      employment, or former places of employment, to a governmental agency.




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      § 609 - 15 U.S.C. § 1681g


      § 609. Disclosures to consumers [15 U.S.C. § 1681g]
      (a)    Information on file; sources; report recipients. Every consumer reporting
             agency shall, upon request, and subject to 610(a)(1) [§ 1681h], clearly and
             accurately disclose to the consumer:
             (1) All information in the consumer’s file at the time of the request
                 except that –
                   (A) if the consumer to whom the file relates requests that the first
                       5 digits of the social security number (or similar identification
                       number) of the consumer not be included in the disclosure and
                       the consumer reporting agency has received appropriate proof
                       of the identity of the requester, the consumer reporting agency
                       shall so truncate such number in such disclosure; and
                   (B)     nothing in this paragraph shall be construed to require a
                           consumer reporting agency to disclose to a consumer any
                           information concerning credit scores or any other risk scores or
                           predictors relating to the consumer.
             (2) The sources of the information; except that the sources of information
                 acquired solely for use in preparing an investigative consumer report
                 and actually use for no other purpose need not be disclosed:
                 Provided, That in the event an action is brought under this title, such
                 sources shall be available to the plaintiff under appropriate discovery
                 procedures in the court in which the action is brought.
             (3) (A) Identification of each person (including each end-user identified
                     under section 607(e)(1) [§ 1681e]) that procured a consumer report
                           (i)    for employment purposes, during the 2-year period
                                  preceding the date on which the request is made; or
                           (ii) for any other purpose, during the 1-year period preceding
                                the date on which the request is made.
                   (B)     An identification of a person under subparagraph (A) shall
                           include
                           (i)    the name of the person or, if applicable, the trade name
                                  (written in full) under which such person conducts
                                  business; and
                           (ii) upon request of the consumer, the address and telephone
                                number of the person.
                   (C)     Subparagraph (A) does not apply if –


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                       (i)   the end user is an agency or department of the United
                             States Government that procures the report from the
                             person for purposes of determining the eligibility of the
                             consumer to whom the report relates to receive access or
                             continued access to classified information (as defined in
                             section 604(b)(4)(E)(i)); and
                       (ii) the head of the agency or department makes a written
                            finding as prescribed under section 604(b)(4)(A).
            (4) The dates, original payees, and amounts of any checks upon which is
                based any adverse characterization of the consumer, included in the
                file at the time of the disclosure.
            (5) A record of all inquiries received by the agency during the 1-year
                period preceding the request that identified the consumer in
                connection with a credit or insurance transaction that was not initiated
                by the consumer.
            (6) If the consumer requests the credit file and not the credit score, a
                statement that the consumer may request and obtain a credit score.
      (b)   Exempt information. The requirements of subsection (a) of this section
            respecting the disclosure of sources of information and the recipients
            of consumer reports do not apply to information received or consumer
            reports furnished prior to the effective date of this title except to the extent
            that the matter involved is contained in the files of the consumer reporting
            agency on that date.
      (c)   Summary of Rights to Obtain and Dispute Information in Consumer
            Reports and to Obtain Credit Scores
                                                         See also 12 CFR Part 1022, App K
            (1) Bureau Summary of Rights Required
                 (A) In general. The Bureau shall prepare a model summary of the
                     rights of consumers under this title.
                 (B)   Content of summary. The summary of rights prepared under
                       subparagraph (A) shall include a description of –
                       (i)   the right of a consumer to obtain a copy of a consumer
                             report under subsection (a) from each consumer reporting
                             agency;
                       (ii) the frequency and circumstances under which a consumer
                            is entitled to receive a consumer report without charge
                            under section 612;


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                           (iii) the right of a consumer to dispute information in the file
                                 of the consumer under section 611;
                           (iv) the right of a consumer to obtain a credit score from a
                                consumer reporting agency, and a description of how to
                                obtain a credit score;
                           (v)    the method by which a consumer can contact, and obtain a
                                  consumer report from, a consumer reporting agency
                                  without charge, as provided in the regulations of the
                                  Bureau prescribed under section 211(c) of the Fair and
                                  Accurate Credit Transactions Act of 2003; and
                           (vi) the method by which a consumer can contact, and obtain
                                a consumer report from, a consumer reporting agency
                                described in section 603(w), as provided in the regulations
                                of the Bureau prescribed under section 612(a)(1)(C).
                   (C)     Availability of summary of rights. The Bureau shall –
                           (i)    actively publicize the availability of the summary of rights
                                  prepared under this paragraph;
                           (ii) conspicuously post on its Internet website the availability
                                of such summary of rights; and
                           (iii) promptly make such summary of rights available to
                                 consumers, on request.
             (2) Summary of rights required to be included with agency disclosures.
                 A consumer reporting agency shall provide to a consumer, with each
                 written disclosure by the agency to the consumer under this section –
                   (A) the summary of rights prepared by the Bureau under paragraph (1);
                   (B)     in the case of a consumer reporting agency described in section
                           603(p), a toll-free telephone number established by the agency,
                           at which personnel are accessible to consumers during normal
                           business hours;
                   (C)     a list of all Federal agencies responsible for enforcing any
                           provision of this title, and the address and any appropriate
                           phone number of each such agency, in a form that will assist
                           the consumer in selecting the appropriate agency;
                   (D) a statement that the consumer may have additional rights under
                       State law, and that the consumer may wish to contact a State or
                       local consumer protection agency or a State attorney general
                       (or the equivalent thereof) to learn of those rights; and

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                 (E)   a statement that a consumer reporting agency is not required
                       to remove accurate derogatory information from the file of a
                       consumer, unless the information is outdated under section 605
                       or cannot be verified.
      (d)   Summary of Rights of Identity Theft Victims
                                                        See also 12 CFR Part 1022, App I
            (1) In general. The Bureau, in consultation with the Federal banking
                agencies and the National Credit Union Administration, shall prepare
                a model summary of the rights of consumers under this title with
                respect to the procedures for remedying the effects of fraud or identity
                theft involving credit, an electronic fund transfer, or an account or
                transaction at or with a financial institution or other creditor.
            (2) Summary of rights and contact information. Beginning 60 days after the
                date on which the model summary of rights is prescribed in final form
                by the Bureau pursuant to paragraph (1), if any consumer contacts a
                consumer reporting agency and expresses a belief that the consumer is
                a victim of fraud or identity theft involving credit, an electronic fund
                transfer, or an account or transaction at or with a financial institution
                or other creditor, the consumer reporting agency shall, in addition to
                any other action that the agency may take, provide the consumer with
                a summary of rights that contains all of the information required by
                the Bureau under paragraph (1), and information on how to contact the
                Bureau to obtain more detailed information.
      (e)   Information Available to Victims
            (1) In general. For the purpose of documenting fraudulent transactions
                resulting from identity theft, not later than 30 days after the date of
                receipt of a request from a victim in accordance with paragraph (3),
                and subject to verification of the identity of the victim and the claim
                of identity theft in accordance with paragraph (2), a business entity
                that has provided credit to, provided for consideration products,
                goods, or services to, accepted payment from, or otherwise entered
                into a commercial transaction for consideration with, a person who
                has allegedly made unauthorized use of the means of identification of
                the victim, shall provide a copy of application and business transaction
                records in the control of the business entity, whether maintained by
                the business entity or by another person on behalf of the business
                entity, evidencing any transaction alleged to be a result of identity
                theft to –
                 (A) the victim;
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                   (B)     any Federal, State, or local government law enforcement
                           agency or officer specified by the victim in such a request; or
                   (C)     Any law enforcement agency investigating the identity theft
                           and authorized by the victim to take receipt of records provided
                           under this subsection.
             (2) Verification of identity and claim. Before a business entity provides
                 any information under paragraph (1), unless the business entity, at its
                 discretion, otherwise has a high degree of confidence that it knows
                 the identity of the victim making a request under paragraph (1), the
                 victim shall provide to the business entity –
                   (A) as proof of positive identification of the victim, at the election
                       of the business entity –
                           (i)    the presentation of a government-issued identification card;
                           (ii) personally identifying information of the same type as was
                                provided to the business entity by the unauthorized
                                person; or
                           (iii) personally identifying information that the business entity
                                 typically requests from new applicants or for new
                                 transactions, at the time of the victim’s request for
                                 information, including any documentation described in
                                 clauses (i) and (ii); and
                   (B)     as proof of a claim of identity theft, at the election of the
                           business entity –
                           (i)    a copy of a police report evidencing the claim of the
                                  victim of identity theft; and
                           (ii) a properly completed –
                                  (I) copy of a standardized affidavit of identity theft
                                      developed and made available by the Bureau; or
                                  (II) an affidavit of fact that is acceptable to the business
                                       entity for that purpose.
             (3) Procedures. The request of a victim under paragraph (1) shall –
                   (A) be in writing;
                   (B)     be mailed to an address specified by the business entity, if any; and
                   (C)     if asked by the business entity, include relevant information
                           about any transaction alleged to be a result of identity theft to
                           facilitate compliance with this section including –

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                    (i)   if known by the victim (or if readily obtainable by the
                          victim), the date of the application or transaction; and
                    (ii) if known by the victim (or if readily obtainable by the
                         victim), any other identifying information such as an
                         account or transaction number.
         (4) No charge to victim. Information required to be provided under para-
             graph (1) shall be so provided without charge.
         (5) Authority to decline to provide information. A business entity may
             decline to provide information under paragraph (1) if, in the exercise
             of good faith, the business entity determines that –
              (A) this subsection does not require disclosure of the information;
              (B)   after reviewing the information provided pursuant to paragraph
                    (2), the business entity does not have a high degree of
                    confidence in knowing the true identity of the individual
                    requesting the information;
              (C)   the request for the information is based on a misrepresentation
                    of fact by the individual requesting the information relevant to
                    the request for information; or
              (D    the information requested is Internet navigational data or similar
                    information about a person’s visit to a website or online service.
         (6) Limitation on liability. Except as provided in section 621, sections
             616 and 617 do not apply to any violation of this subsection.
         (7) Limitation on civil liability. No business entity may be held civilly
             liable under any provision of Federal, State, or other law for
             disclosure, made in good faith pursuant to this subsection.
         (8) No new recordkeeping obligation. Nothing in this subsection creates
             an obligation on the part of a business entity to obtain, retain, or
             maintain information or records that are not otherwise required to be
             obtained, retained, or maintained in the ordinary course of its
             business or under other applicable law.
         (9) Rule of Construction
              (A) In general. No provision of subtitle A of title V of Public Law
                  106-102, prohibiting the disclosure of financial information by
                  a business entity to third parties shall be used to deny disclosure
                  of information to the victim under this subsection.
              (B)   Limitation. Except as provided in subparagraph (A), nothing
                    in this subsection permits a business entity to disclose
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                           information, including information to law enforcement under
                           subparagraphs (B) and (C) of paragraph (1), that the business
                           entity is otherwise prohibited from disclosing under any other
                           applicable provision of Federal or State law.
             (10) Affirmative defense. In any civil action brought to enforce this
                  subsection, it is an affirmative defense (which the defendant must
                  establish by a preponderance of the evidence) for a business entity to
                  file an affidavit or answer stating that –
                   (A) the business entity has made a reasonably diligent search of its
                       available business records; and
                   (B)     the records requested under this subsection do not exist or are
                           not reasonably available.
             (11) Definition of victim. For purposes of this subsection, the term
                  “victim” means a consumer whose means of identification or
                  financial information has been used or transferred (or has been
                  alleged to have been used or transferred) without the authority of that
                  consumer, with the intent to commit, or to aid or abet, an identity
                  theft or a similar crime.
             (12) Effective date. This subsection shall become effective 180 days after
                  the date of enactment of this subsection.
             (13) Effectiveness study. Not later than 18 months after the date of
                  enactment of this subsection, the Comptroller General of the United
                  States shall submit a report to Congress assessing the effectiveness of
                  this provision.
      (f)    Disclosure of Credit Scores
             (1) In general. Upon the request of a consumer for a credit score, a
                 consumer reporting agency shall supply to the consumer a statement
                 indicating that the information and credit scoring model may be
                 different than the credit score that may be used by the lender, and a
                 notice which shall include –
                   (A) the current credit score of the consumer or the most recent
                       credit score of the consumer that was previously calculated by
                       the credit reporting agency for a purpose related to the
                       extension of credit;
                   (B)     the range of possible credit scores under the model used;
                   (C)     all of the key factors that adversely affected the credit score
                           of the consumer in the model used, the total number of which
                           shall not exceed 4, subject to paragraph (9);
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             (D) the date on which the credit score was created; and
             (E)   the name of the person or entity that provided the credit score
                   or credit file upon which the credit score was created.
         (2) Definitions. For purposes of this subsection, the following
             definitions shall apply:
             (A) The term “credit score” –
                   (i)   means a numerical value or a categorization derived from
                         a statistical tool or modeling system used by a person who
                         makes or arranges a loan to predict the likelihood of certain
                         credit behaviors, including default (and the numerical
                         value or the categorization derived from such analysis
                         may also be referred to as a “risk predictor” or “risk
                         score”); and
                   (ii) does not include –
                         (I) any mortgage score or rating of an automated
                             underwriting system that considers one or more
                             factors in addition to credit information, including the
                             loan to value ratio, the amount of down payment, or
                             the financial assets of a consumer; or
                         (II) any other elements of the underwriting process or
                              underwriting decision.
             (B)   The term “key factors” means all relevant elements or reasons
                   adversely affecting the credit score for the particular individual,
                   listed in the order of their importance based on their effect on
                   the credit score.
         (3) Timeframe and manner of disclosure. The information required by
             this subsection shall be provided in the same timeframe and manner
             as the information described in subsection (a).
         (4) Applicability to certain uses. This subsection shall not be construed
             so as to compel a consumer reporting agency to develop or disclose a
             score if the agency does not –
             (A) distribute scores that are used in connection with residential real
                 property loans; or
             (B)   develop scores that assist credit providers in understanding the
                   general credit behavior of a consumer and predicting the future
                   credit behavior of the consumer.
         (5) Applicability to credit scores developed by another person.
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                   (A) In general. This subsection shall not be construed to require a
                       consumer reporting agency that distributes credit scores
                       developed by another person or entity to provide a further
                       explanation of them, or to process a dispute arising pursuant
                       to section 611, except that the consumer reporting agency shall
                       provide the consumer with the name and address and website
                       for contacting the person or entity who developed the score or
                       developed the methodology of the score.
                   (B)     Exception. This paragraph shall not apply to a consumer
                           reporting agency that develops or modifies scores that are
                           developed by another person or entity.
             (6) Maintenance of credit scores not required. This subsection shall not
                 be construed to require a consumer reporting agency to maintain
                 credit scores in its files.
             (7) Compliance in certain cases. In complying with this subsection, a
                 consumer reporting agency shall –
                   (A) supply the consumer with a credit score that is derived from a
                       credit scoring model that is widely distributed to users by that
                       consumer reporting agency in connection with residential real
                       property loans or with a credit score that assists the consumer
                       in understanding the credit scoring assessment of the credit
                       behavior of the consumer and predictions about the future credit
                       behavior of the consumer; and
                   (B)     a statement indicating that the information and credit scoring
                           model may be different than that used by the lender.
             (8) Fair and reasonable fee. A consumer reporting agency may charge a
                 fair and reasonable fee, as determined by the Bureau, for providing
                 the information required under this subsection.
                                                       See also 69 Fed. Reg. 64698 (11/08/04)
             (9) Use of enquiries as a key factor. If a key factor that adversely affects
                 the credit score of a consumer consists of the number of enquiries
                 made with respect to a consumer report, that factor shall be included
                 in the disclosure pursuant to paragraph (1)(C) without regard to the
                 numerical limitation in such paragraph.
      (g)    Disclosure of Credit Scores by Certain Mortgage Lenders
             (1) In general. Any person who makes or arranges loans and who uses
                 a consumer credit score, as defined in subsection (f), in connection
                 with an application initiated or sought by a consumer for a closed end

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             loan or the establishment of an open end loan for a consumer purpose
             that is secured by 1 to 4 units of residential real property (hereafter in
             this subsection referred to as the “lender”) shall provide the following
             to the consumer as soon as reasonably practicable:
             (A) Information Required under Subsection (f)
                   (i)   In general. A copy of the information identified in
                         subsection (f) that was obtained from a consumer
                         reporting agency or was developed and used by the user
                         of the information.
                   (ii) Notice under subparagraph (D). In addition to the
                        information provided to it by a third party that provided
                        the credit score or scores, a lender is only required to
                        provide the notice contained in subparagraph (D).
             (B)   Disclosures in Case of Automated Underwriting System
                   (i)   In general. If a person that is subject to this subsection
                         uses an automated underwriting system to underwrite a
                         loan, that person may satisfy the obligation to provide a
                         credit score by disclosing a credit score and associated key
                         factors supplied by a consumer reporting agency.
                   (ii) Numerical credit score. However, if a numerical credit
                        score is generated by an automated underwriting system
                        used by an enterprise, and that score is disclosed to the
                        person, the score shall be disclosed to the consumer
                        consistent with subparagraph (c).
                   (iii) Enterprise defined. For purposes of this subparagraph, the
                         term “enterprise” has the same meaning as in
                         paragraph (6) of section 1303 of the Federal Housing
                         Enterprises Financial Safety and Soundness Act of 1992.
             (C)   Disclosures of credit scores not obtained from a consumer
                   reporting agency. A person that is subject to the provisions of
                   this subsection and that uses a credit score, other than a credit
                   score provided by a consumer reporting agency, may satisfy the
                   obligation to provide a credit score by disclosing a credit score and
                   associated key factors supplied by a consumer reporting agency.
             (D) Notice to home loan applicants. A copy of the following notice,
                 which shall include the name, address, and telephone number
                 of each consumer reporting agency providing a credit score that
                 was used:

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                                  “Notice To The Home Loan Applicant
      “In connection with your application for a home loan, the lender must disclose
      to you the score that a consumer reporting agency distributed to users and the
      lender used in connection with your home loan, and the key factors affecting
      your credit scores.
      “The credit score is a computer generated summary calculated at the time of the
      request and based on information that a consumer reporting agency or lender
      has on file. The scores are based on data about your credit history and payment
      patterns. Credit scores are important because they are used to assist the lender
      in determining whether you will obtain a loan. They may also be used to
      determine what interest rate you may be offered on the mortgage. Credit scores
      can change over time, depending on your conduct, how your credit history and
      payment patterns change, and how credit scoring technologies change.
      “Because the score is based on information in your credit history, it is very
      important that you review the credit-related information that is being furnished to
      make sure it is accurate. Credit records may vary from one company to another.
      “If you have questions about your credit score or the credit information that
      is furnished to you, contact the consumer reporting agency at the address and
      telephone number provided with this notice, or contact the lender, if the lender
      developed or generated the credit score. The consumer reporting agency plays
      no part in the decision to take any action on the loan application and is unable
      to provide you with specific reasons for the decision on a loan application.
      “If you have questions concerning the terms of the loan, contact the lender.”
                   (E)     Actions not required under this subsection. This subsection
                           shall not require any person to –
                           (i)    explain the information provided pursuant to subsection (f);
                           (ii    disclose any information other than a credit score or key
                                  factors, as defined in subsection (f);
                           (iii) disclose any credit score or related information obtained
                                 by the user after a loan has closed;
                           (iv) provide more than 1 disclosure per loan transaction; or
                           (v)    provide the disclosure required by this subsection when
                                  another person has made the disclosure to the consumer
                                  for that loan transaction.
                   (F)     No Obligation for Content
                           (i)    In general. The obligation of any person pursuant to this
                                  subsection shall be limited solely to providing a copy

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                               of the information that was received from the consumer
                               reporting agency.
                         (ii) Limit on liability. No person has liability under this
                              subsection for the content of that information or for the
                              omission of any information within the report provided by
                              the consumer reporting agency.
                (G) Person defined as excluding enterprise. As used in this
                    subsection, the term “person” does not include an enterprise (as
                    defined in paragraph (6) of section 1303 of the Federal Housing
                    Enterprises Financial Safety and Soundness Act of 1992).
            (2) Prohibition on Disclosure Clauses Null and Void
                (A) In general. Any provision in a contract that prohibits the disclo-
                    sure of a credit score by a person who makes or arranges loans
                    or a consumer reporting agency is void.
                (B)      No liability for disclosure under this subsection. A lender shall
                         not have liability under any contractual provision for disclosure
                         of a credit score pursuant to this subsection.
      § 610. Conditions and form of disclosure to consumers
             [15 U.S.C. § 1681h]
      (a)   In General
            (1) Proper identification. A consumer reporting agency shall require,
                as a condition of making the disclosures required under section 609
                [§ 1681g], that the consumer furnish proper identification.
            (2) Disclosure in writing. Except as provided in subsection (b), the
                disclosures required to be made under section 609 [§ 1681g] shall be
                provided under that section in writing.
      (b)   Other Forms of Disclosure
            (1) In general. If authorized by a consumer, a consumer reporting
                agency may make the disclosures required under 609 [§ 1681g]
                (A) other than in writing; and
                (B)      in such form as may be
                         (i)   specified by the consumer in accordance with paragraph
                               (2); and
                         (ii) available from the agency.
            (2) Form. A consumer may specify pursuant to paragraph (1) that
                disclosures under section 609 [§ 1681g] shall be made

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                    (A) in person, upon the appearance of the consumer at the place of
                        business of the consumer reporting agency where disclosures
                        are regularly provided, during normal business hours, and on
                        reasonable notice;
                    (B)     by telephone, if the consumer has made a written request for
                            disclosure by telephone;
                    (C)     by electronic means, if available from the agency; or
                    (D) by any other reasonable means that is available from the agency.
      (c)    Trained personnel. Any consumer reporting agency shall provide trained
             personnel to explain to the consumer any information furnished to him
             pursuant to section 609 [§ 1681g] of this title.
      (d)    Persons accompanying consumer. The consumer shall be permitted to be
             accompanied by one other person of his choosing, who shall furnish rea-
             sonable identification. A consumer reporting agency may require the con-
             sumer to furnish a written statement granting permission to the consumer
             reporting agency to discuss the consumer’s file in such person’s presence.
      (e)    Limitation of liability. Except as provided in sections 616 and 617 [§§
             1681n and 1681o] of this title, no consumer may bring any action or
             proceeding in the nature of defamation, invasion of privacy, or negligence
             with respect to the reporting of information against any consumer reporting
             agency, any user of information, or any person who furnishes information
             to a consumer reporting agency, based on information disclosed pursuant
             to section 609, 610, or 615 [§§ 1681g, 1681h, or 1681m] of this title or
             based on information disclosed by a user of a consumer report to or for a
             consumer against whom the user has taken adverse action, based in whole
             or in part on the report, except as to false information furnished with
             malice or willful intent to injure such consumer.

      § 611.       Procedure in case of disputed accuracy [15 U.S.C. § 1681i]
      (a)    Reinvestigations of Disputed Information
             (1) Reinvestigation Required
                    (A) In general. Subject to subsection (f), and except as provided
                        in subsection (g) if the completeness or accuracy of any item
                        of information contained in a consumer’s file at a consumer
                        reporting agency is disputed by the consumer and the consumer
                        notifies the agency directly, or indirectly through a reseller,
                        of such dispute, the agency shall, free of charge, conduct a
                        reasonable reinvestigation to determine whether the disputed
                        information is inaccurate and record the current status of the
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                    disputed information, or delete the item from the file in
                    accordance with paragraph (5), before the end of the 30-day
                    period beginning on the date on which the agency receives the
                    notice of the dispute from the consumer or reseller.
              (B)   Extension of period to reinvestigate. Except as provided in
                    subparagraph (c), the 30-day period described in subparagraph
                    (A) may be extended for not more than 15 additional days if
                    the consumer reporting agency receives information from the
                    consumer during that 30-day period that is relevant to the
                    reinvestigation.
              (C)   Limitations on extension of period to reinvestigate.
                    Subparagraph (B) shall not apply to any reinvestigation in
                    which, during the 30-day period described in subparagraph
                    (A), the information that is the subject of the reinvestigation is
                    found to be inaccurate or incomplete or the consumer reporting
                    agency determines that the information cannot be verified.
          (2) Prompt Notice of Dispute to Furnisher of Information
              (A) In general. Before the expiration of the 5-business-day period
                  beginning on the date on which a consumer reporting agency
                  receives notice of a dispute from any consumer or a reseller in
                  accordance with paragraph (1), the agency shall provide
                  notification of the dispute to any person who provided any item
                  of information in dispute, at the address and in the manner
                  established with the person. The notice shall include all relevant
                  information regarding the dispute that the agency has received
                  from the consumer or reseller.
              (B)   Provision of other information. The consumer reporting agency
                    shall promptly provide to the person who provided the
                    information in dispute all relevant information regarding the
                    dispute that is received by the agency from the consumer or
                    the reseller after the period referred to in subparagraph (A) and
                    before the end of the period referred to in paragraph (1)(A).
          (3) Determination That Dispute Is Frivolous or Irrelevant
              (A) In general. Notwithstanding paragraph (1), a consumer reporting
                  agency may terminate a reinvestigation of information disputed by
                  a consumer under that paragraph if the agency reasonably deter-
                  mines that the dispute by the consumer is frivolous or irrelevant,
                  including by reason of a failure by a consumer to provide
                  sufficient information to investigate the disputed information.
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                    (B)     Notice of determination. Upon making any determination in
                            accordance with subparagraph (A) that a dispute is frivolous or
                            irrelevant, a consumer reporting agency shall notify the
                            consumer of such determination not later than 5 business days
                            after making such determination, by mail or, if authorized by
                            the consumer for that purpose, by any other means available to
                            the agency.
                    (C)     Contents of notice. A notice under subparagraph (B) shall include
                            (i)   the reasons for the determination under subparagraph (A);
                                  and
                            (ii) identification of any information required to investigate
                                 the disputed information, which may consist of a standard-
                                 ized form describing the general nature of such informa-
                                 tion.
             (4) Consideration of consumer information. In conducting any
                 reinvestigation under paragraph (1) with respect to disputed
                 information in the file of any consumer, the consumer reporting
                 agency shall review and consider all relevant information submitted
                 by the consumer in the period described in paragraph (1)(A) with
                 respect to such disputed information.
             (5) Treatment of Inaccurate or Unverifiable Information
                    (A) In general. If, after any reinvestigation under paragraph (1) of
                        any information disputed by a consumer, an item of the
                        information is found to be inaccurate or incomplete or cannot
                        be verified, the consumer reporting agency shall –
                            (i)   promptly delete that item of information from the file of
                                  the consumer, or modify that item of information, as
                                  appropriate, based on the results of the reinvestigation; and
                            (ii) promptly notify the furnisher of that information that the
                                 information has been modified or deleted from the file of
                                 the consumer.
                    (B)     Requirements Relating to Reinsertion of Previously Deleted
                            Material
                            (i)   Certification of accuracy of information. If any
                                  information is deleted from a consumer’s file pursuant to
                                  subparagraph (A), the information may not be reinserted
                                  in the file by the consumer reporting agency unless the


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                         person who furnishes the information certifies that the
                         information is complete and accurate.
                    (ii) Notice to consumer. If any information that has been de-
                         leted from a consumer’s file pursuant to subparagraph (A)
                         is reinserted in the file, the consumer reporting agency
                         shall notify the consumer of the reinsertion in writing
                         not later than 5 business days after the reinsertion or, if
                         authorized by the consumer for that purpose, by any other
                         means available to the agency.
                    (iii) Additional information. As part of, or in addition to, the
                          notice under clause (ii), a consumer reporting agency shall
                          provide to a consumer in writing not later than 5 business
                          days after the date of the reinsertion
                         (I) a statement that the disputed information has been
                             reinserted;
                         (II) the business name and address of any furnisher of
                              information contacted and the telephone number of
                              such furnisher, if reasonably available, or of any
                              furnisher of information that contacted the consumer
                              reporting agency, in connection with the reinsertion
                              of such information; and
                         (III) a notice that the consumer has the right to add a
                               statement to the consumer’s file disputing the accuracy
                               or completeness of the disputed information.
              (C)   Procedures to prevent reappearance. A consumer reporting
                    agency shall maintain reasonable procedures designed to
                    prevent the reappearance in a consumer’s file, and in consumer
                    reports on the consumer, of information that is deleted pursuant
                    to this paragraph (other than information that is reinserted in
                    accordance with subparagraph (B)(i)).
              (D) Automated reinvestigation system. Any consumer reporting
                  agency that compiles and maintains files on consumers on a
                  nationwide basis shall implement an automated system through
                  which furnishers of information to that consumer reporting
                  agency may report the results of a reinvestigation that finds
                  incomplete or inaccurate information in a consumer’s file to
                  other such consumer reporting agencies.
          (6) Notice of Results of Reinvestigation


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                    (A) In general. A consumer reporting agency shall provide written
                        notice to a consumer of the results of a reinvestigation under
                        this subsection not later than 5 business days after the comple-
                        tion of the reinvestigation, by mail or, if authorized by the con-
                        sumer for that purpose, by other means available to the agency.
                    (B)     Contents. As part of, or in addition to, the notice under
                            subparagraph (A), a consumer reporting agency shall provide to
                            a consumer in writing before the expiration of the 5-day period
                            referred to in subparagraph (A)
                            (i)   a statement that the reinvestigation is completed;
                            (ii) a consumer report that is based upon the consumer’s file
                                 as that file is revised as a result of the reinvestigation;
                            (iii) a notice that, if requested by the consumer, a description
                                  of the procedure used to determine the accuracy and
                                  completeness of the information shall be provided to the
                                  consumer by the agency, including the business name and
                                  address of any furnisher of information contacted in
                                  connection with such information and the telephone
                                  number of such furnisher, if reasonably available;
                            (iv) a notice that the consumer has the right to add a statement
                                 to the consumer’s file disputing the accuracy or complete-
                                 ness of the information; and
                            (v)   a notice that the consumer has the right to request under
                                  subsection (d) that the consumer reporting agency furnish
                                  notifications under that subsection.
             (7) Description of reinvestigation procedure. A consumer reporting
                 agency shall provide to a consumer a description referred to in
                 paragraph (6)(B)(iii) by not later than 15 days after receiving a
                 request from the consumer for that description.
             (8) Expedited dispute resolution. If a dispute regarding an item of
                 information in a consumer’s file at a consumer reporting agency is
                 resolved in accordance with paragraph (5)(A) by the deletion of the
                 disputed information by not later than 3 business days after the date
                 on which the agency receives notice of the dispute from the consumer
                 in accordance with paragraph (1)(A), then the agency shall not be
                 required to comply with paragraphs (2), (6), and (7) with respect to
                 that dispute if the agency
                    (A) provides prompt notice of the deletion to the consumer by
                        telephone;

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                 (B)   includes in that notice, or in a written notice that accompanies a
                       confirmation and consumer report provided in accordance with
                       subparagraph (C), a statement of the consumer’s right to
                       request under subsection (d) that the agency furnish
                       notifications under that subsection; and
                 (C)   provides written confirmation of the deletion and a copy of a
                       consumer report on the consumer that is based on the
                       consumer’s file after the deletion, not later than 5 business days
                       after making the deletion.
      (b)   Statement of dispute. If the reinvestigation does not resolve the dispute,
            the consumer may file a brief statement setting forth the nature of the
            dispute. The consumer reporting agency may limit such statements to not
            more than one hundred words if it provides the consumer with assistance
            in writing a clear summary of the dispute.
      (c)   Notification of consumer dispute in subsequent consumer reports. When-
            ever a statement of a dispute is filed, unless there is reasonable grounds
            to believe that it is frivolous or irrelevant, the consumer reporting agency
            shall, in any subsequent report containing the information in question,
            clearly note that it is disputed by the consumer and provide either the con-
            sumer’s statement or a clear and accurate codification or summary thereof.
      (d)   Notification of deletion of disputed information. Following any deletion of
            information which is found to be inaccurate or whose accuracy can no
            longer be verified or any notation as to disputed information, the
            consumer reporting agency shall, at the request of the consumer, furnish
            notification that the item has been deleted or the statement, codification
            or summary pursuant to subsection (b) or (c) of this section to any person
            specifically designated by the consumer who has within two years prior
            thereto received a consumer report for employment purposes, or within
            six months prior thereto received a consumer report for any other
            purpose, which contained the deleted or disputed information.
      (e)   Treatment of Complaints and Report to Congress
            (1) In general. The Bureau shall –
                 (A) compile all complaints that it receives that a file of a consumer
                     that is maintained by a consumer reporting agency described in
                     section 603(p) contains incomplete or inaccurate information,
                     with respect to which, the consumer appears to have disputed the
                     completeness or accuracy with the consumer reporting agency or
                     otherwise utilized the procedures provided by subsection (a); and


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                    (B)     transmit each such complaint to each consumer reporting
                            agency involved.
             (2) Exclusion. Complaints received or obtained by the Bureau pursuant
                 to its investigative authority under the Consumer Financial Protection
                 Act of 2010 shall not be subject to paragraph (1).
             (3) Agency responsibilities. Each consumer reporting agency described
                 in section 603(p) that receives a complaint transmitted by the Bureau
                 pursuant to paragraph (1) shall –
                    (A) review each such complaint to determine whether all legal
                        obligations imposed on the consumer reporting agency under
                        this title (including any obligation imposed by an applicable
                        court or administrative order) have been met with respect to the
                        subject matter of the complaint;
                    (B)     provide reports on a regular basis to the Bureau regarding the
                            determinations of and actions taken by the consumer reporting
                            agency, if any, in connection with its review of such
                            complaints; and
                    (C)     maintain, for a reasonable time period, records regarding the
                            disposition of each such complaint that is sufficient to
                            demonstrate compliance with this subsection.
             (4) Rulemaking authority. The Bureau may prescribe regulations, as
                 appropriate to implement this subsection.
             (5) Annual report. The Bureau shall submit to the Committee on Banking,
                 Housing, and Urban Affairs of the Senate and the Committee on
                 Financial Services of the House of Representatives an annual report
                 regarding information gathered by the Bureau under this subsection.
      (f)    Reinvestigation Requirement Applicable to Resellers
             (1) Exemption from general reinvestigation requirement. Except as
                 provided in paragraph (2), a reseller shall be exempt from the
                 requirements of this section.
             (2) Action required upon receiving notice of a dispute. If a reseller
                 receives a notice from a consumer of a dispute concerning the
                 completeness or accuracy of any item of information contained in
                 a consumer report on such consumer produced by the reseller, the
                 reseller shall, within 5 business days of receiving the notice, and free
                 of charge –
                    (A) determine whether the item of information is incomplete or
                        inaccurate as a result of an act or omission of the reseller; and


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                 (B)   (i)   if the reseller determines that the item of information is
                             incomplete or inaccurate as a result of an act or omission
                             of the reseller, not later than 20 days after receiving the
                             notice, correct the information in the consumer report or
                             delete it; or
                       (ii) if the reseller determines that the item of information
                            is not incomplete or inaccurate as a result of an act or
                            omission of the reseller, convey the notice of the dispute,
                            together with all relevant information provided by the
                            consumer, to each consumer reporting agency that
                            provided the reseller with the information that is the
                            subject of the dispute, using an address or a notification
                            mechanism specified by the consumer reporting agency
                            for such notices.
            (3) Responsibility of consumer reporting agency to notify consumer
                through reseller. Upon the completion of a reinvestigation under this
                section of a dispute concerning the completeness or accuracy of any
                information in the file of a consumer by a consumer reporting agency
                that received notice of the dispute from a reseller under paragraph (2) –
                 (A) the notice by the consumer reporting agency under paragraph
                     (6), (7), or (8) of subsection (a) shall be provided to the reseller
                     in lieu of the consumer; and
                 (B)   the reseller shall immediately reconvey such notice to the
                       consumer, including any notice of a deletion by telephone in the
                       manner required under paragraph (8)(A).
            (4) Reseller reinvestigations. No provision of this subsection shall be
                construed as prohibiting a reseller from conducting a reinvestigation
                of a consumer dispute directly.
      (g)   Dispute Process for Veteran’s Medical Debt
            (1) In general. With respect to a veteran’s medical debt, the veteran may
                submit a notice described in paragraph (2), proof of liability of the
                Department of Veterans Affairs for payment of that debt, or
                documentation that the Department of Veterans Affairs is in the
                process of making payment for authorized hospital care, medical
                services, or extended care services rendered to a consumer reporting
                agency or a reseller to dispute the inclusion of that debt on a
                consumer report of the veteran.
            (2) Notification to veteran. The Department of Veterans Affairs shall
                submit to a veteran a notice that the Department of Veterans Affairs
                has assumed liability for part or all of a veteran’s medical debt.

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             (3) Deletion of information from file. If a consumer reporting agency
                 receives notice, proof of liability, or documentation under paragraph
                 (1), the consumer reporting agency shall delete all information
                 relating to the veteran’s medical debt from the file of the veteran and
                 notify the furnisher and the veteran of that deletion.
      § 612. Charges for certain disclosures [15 U.S.C. § 1681j]
                                                           See also 12 CFR Part 1022, Subpart N
      (a)    Free Annual Disclosure
             (1) Nationwide Consumer Reporting Agencies
                  (A) In general. All consumer reporting agencies described in
                      subsections (p) and (w) of section 603 shall make all disclosures
                      pursuant to section 609 once during any 12-month period upon
                      request of the consumer and without charge to the consumer.
                  (B) Centralized source. Subparagraph (A) shall apply with respect
                      to a consumer reporting agency described in section 603(p)
                      only if the request from the consumer is made using the
                      centralized source established for such purpose in accordance
                      with section 211(c) of the Fair and Accurate Credit
                      Transactions Act of 2003.
                  (C) Nationwide Specialty Consumer Reporting Agency
                      (i) In general. The Bureau shall prescribe regulations
                            applicable to each consumer reporting agency described
                            in section 603(w) to require the establishment of a
                            streamlined process for consumers to request consumer
                            reports under subparagraph (A), which shall include, at a
                            minimum, the establishment by each such agency of a toll-
                            free telephone number for such requests.
                            (ii) Considerations. In prescribing regulations under clause
                                 (i), the Bureau shall consider –
                                  (I) the significant demands that may be placed on
                                      consumer reporting agencies in providing such
                                      consumer reports;
                                  (II) appropriate means to ensure that consumer reporting
                                       agencies can satisfactorily meet those demands,
                                       including the efficacy of a system of staggering the
                                       availability to consumers of such consumer reports; and
                                  (III) the ease by which consumers should be able to
                                        contact consumer reporting agencies with respect to
                                        access to such consumer reports.
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                            (iii)7 Date of issuance. The Bureau shall issue the regulations
                                   required by this subparagraph in final form not later than 6
                                   months after the date of enactment of the Fair and Accurate
                                   Credit Transactions Act of 2003.
                            (iv)7 Consideration of ability to comply. The regulations of the
                                  Bureau under this subparagraph shall establish an effective
                                  date by which each nationwide specialty consumer report-
                                  ing agency (as defined in section 603(w)) shall be required
                                  to comply with subsection (a), which effective date –
                                   (I) shall be established after consideration of the ability
                                       of each nationwide specialty consumer reporting
                                       agency to comply with subsection (a); and
                                   (II) shall be not later than 6 months after the date on
                                        which such regulations are issued in final form (or
                                        such additional period not to exceed 3 months, as the
                                        Bureau determines appropriate).
             (2) Timing. A consumer reporting agency shall provide a consumer
                 report under paragraph (1) not later than 15 days after the date on
                 which the request is received under paragraph (1).
             (3) Reinvestigations. Notwithstanding the time periods specified in
                 section 611(a)(1), a reinvestigation under that section by a consumer
                 reporting agency upon a request of a consumer that is made after
                 receiving a consumer report under this subsection shall be completed
                 not later than 45 days after the date on which the request is received.
             (4) Exception for first 12 months of operation. This subsection shall
                 not apply to a consumer reporting agency that has not been
                 furnishing consumer reports to third parties on a continuing basis
                 during the 12-month period preceding a request under paragraph (1),
                 with respect to consumers residing nationwide.
      (b)    Free disclosure after adverse notice to consumer. Each consumer
             reporting agency that maintains a file on a consumer shall make all
             disclosures pursuant to section 609 [§ 1681g] without charge to the
             consumer if, not later than 60 days after receipt by such consumer of a
             notification pursuant to section 615 [§ 1681m], or of a notification from a
             debt collection agency affiliated with that consumer reporting agency
      7 Subsections 612(a)(1)(C)(iii) and (iv) are obsolete. They relate to the to the issuance and effective dates of
        the “free report” rules that the 2003 FACT Act required the Commission to publish. The rules were pub-
        lished on time in June 2004 and updated in March 2010. The subsections appear as written, including 2010
        amendments to the FCRA that changed “Commission” to “Bureau” (effective July 21, 2011) in several
        places in the FCRA.

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             stating that the consumer’s credit rating may be or has been adversely
             affected, the consumer makes a request under section 609 [§ 1681g].
      (c)    Free disclosure under certain other circumstances. Upon the request of
             the consumer, a consumer reporting agency shall make all disclosures
             pursuant to section 609 [§ 1681g] once during any 12-month period
             without charge to that consumer if the consumer certifies in writing that
             the consumer
             (1) is unemployed and intends to apply for employment in the 60-day
                   period beginning on the date on which the certification is made;
             (2) is a recipient of public welfare assistance; or
             (3) has reason to believe that the file on the consumer at the agency
                   contains inaccurate information due to fraud.
      (d)    Free disclosures in connection with fraud alerts. Upon the request of a
             consumer, a consumer reporting agency described in section 603(p) shall
             make all disclosures pursuant to section 609 without charge to the
             consumer, as provided in subsections (a)(2) and (b)(2) of section 605A,
             as applicable.
      (e)    Other charges prohibited. A consumer reporting agency shall not impose
             any charge on a consumer for providing any notification required by this
             title or making any disclosure required by this title, except as authorized
             by subsection (f).
      (f)    Reasonable Charges Allowed for Certain Disclosures
             (1) In general. In the case of a request from a consumer other than
                   a request that is covered by any of subsections (a) through (d),
                   a consumer reporting agency may impose a reasonable charge on
                   a consumer
                   (A) for making a disclosure to the consumer pursuant to section 609
                         [§ 1681g], which charge
                         (i) shall not exceed $8;8 and
                         (ii) shall be indicated to the consumer before making the
                               disclosure; and
                   (B) for furnishing, pursuant to 611(d) [§ 1681i], following a
                         reinvestigation under section 611(a) [§ 1681i], a statement,
                         codification, or summary to a person designated by the
                         consumer under that section after the 30-day period beginning
                         on the date of notification of the consumer under paragraph (6)
      8 Pursuant to Section 612(f)(2), the Federal Trade Commission set the maximum charge at $11.00, effective
        January 1, 2011. See 75 Fed. Reg. 80817 (Dec. 23, 2010). The Bureau will set the charge for 2012 and
        later years.

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                      or (8) of section 611(a) [§ 1681i] with respect to the
                      reinvestigation, which charge
                      (i)   shall not exceed the charge that the agency would impose
                            on each designated recipient for a consumer report; and
                      (ii) shall be indicated to the consumer before furnishing such
                           information.
            (2) Modification of amount. The Bureau shall increase the amount
                referred to in paragraph (1)(A)(i) on January 1 of each year, based
                proportionally on changes in the Consumer Price Index, with
                fractional changes rounded to the nearest fifty cents.8
      (g)   Prevention of Deceptive Marketing of Credit Reports
            (1) In general. Subject to rulemaking pursuant to section 205(b) of
                the Credit CARD Act of 2009, any advertisement for a free credit
                report in any medium shall prominently disclose in such advertise-
                ment that free credit reports are available under Federal law at
                AnnualCreditReport.com (or such other source as may be authorized
                under Federal law).
            (2) Television and radio advertisement. In the case of an advertisement
                broadcast by television, the disclosures required under paragraph
                (1) shall be included in the audio and visual part of such
                advertisement. In the case of an advertisement broadcast by
                television or radio, the disclosure required under paragraph (1)
                shall consist only of the following: “This is not the free credit
                report provided for by Federal law.”
      § 613. Public record information for employment purposes
             [15 U.S.C. § 1681k]
      (a)   In general. A consumer reporting agency which furnishes a consumer
            report for employment purposes and which for that purpose compiles and
            reports items of information on consumers which are matters of public
            record and are likely to have an adverse effect upon a consumer’s ability
            to obtain employment shall
            (1) at the time such public record information is reported to the user of
                such consumer report, notify the consumer of the fact that public
                record information is being reported by the consumer reporting
                agency, together with the name and address of the person to whom
                such information is being reported; or
            (2) maintain strict procedures designed to insure that whenever public
                record information which is likely to have an adverse effect on a

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                   consumer’s ability to obtain employment is reported it is complete
                   and up to date. For purposes of this paragraph, items of public record
                   relating to arrests, indictments, convictions, suits, tax liens, and
                   outstanding judgments shall be considered up to date if the current
                   public record status of the item at the time of the report is reported.
      (b)    Exemption for national security investigations. Subsection (a) does not
             apply in the case of an agency or department of the United States
             Government that seeks to obtain and use a consumer report for
             employment purposes, if the head of the agency or department makes
             a written finding as prescribed under section 604(b)(4)(A).
      § 614. Restrictions on investigative consumer reports
             [15 U.S.C. § 1681l]
      Whenever a consumer reporting agency prepares an investigative consumer
      report, no adverse information in the consumer report (other than information
      which is a matter of public record) may be included in a subsequent consumer
      report unless such adverse information has been verified in the process of making
      such subsequent consumer report, or the adverse information was received within
      the three-month period preceding the date the subsequent report is furnished.
      § 615. Requirements on users of consumer reports
             [15 U.S.C. § 1681m]
      (a)    Duties of users taking adverse actions on the basis of information
             contained in consumer reports. If any person takes any adverse action
             with respect to any consumer that is based in whole or in part on any
             information contained in a consumer report, the person shall
             (1) provide oral, written, or electronic notice of the adverse action to the
                 consumer;
             (2) provide to the consumer written or electronic disclosure
                   (A) of a numerical credit score as defined in section 609(f)(2)
                       (A) used by such person in taking any adverse action based in
                       whole or in part on any information in a consumer report; and
                   (B)     of the information set forth in subparagraphs (B) through (E) of
                           section 609(f)(1);
             (3) provide to the consumer orally, in writing, or electronically
                   (A) the name, address, and telephone number of the consumer
                       reporting agency (including a toll-free telephone number
                       established by the agency if the agency compiles and maintains


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                      files on consumers on a nationwide basis) that furnished the
                      report to the person; and
                (B)   a statement that the consumer reporting agency did not make
                      the decision to take the adverse action and is unable to provide
                      the consumer the specific reasons why the adverse action was
                      taken; and
            (4) provide to the consumer an oral, written, or electronic notice of the
                consumer’s right
                (A) to obtain, under section 612 [§ 1681j], a free copy of a
                    consumer report on the consumer from the consumer reporting
                    agency referred to in paragraph (3), which notice shall include
                    an indication of the 60-day period under that section for
                    obtaining such a copy; and
                (B)   to dispute, under section 611 [§ 1681i], with a consumer
                      reporting agency the accuracy or completeness of any
                      information in a consumer report furnished by the agency.
      (b)   Adverse Action Based on Information Obtained from Third Parties Other
            than Consumer Reporting Agencies
            (1) In general. Whenever credit for personal, family, or household
                purposes involving a consumer is denied or the charge for such credit
                is increased either wholly or partly because of information obtained
                from a person other than a consumer reporting agency bearing upon
                the consumer’s credit worthiness, credit standing, credit capacity,
                character, general reputation, personal characteristics, or mode of
                living, the user of such information shall, within a reasonable period
                of time, upon the consumer’s written request for the reasons for such
                adverse action received within sixty days after learning of such
                adverse action, disclose the nature of the information to the consumer.
                The user of such information shall clearly and accurately disclose to
                the consumer his right to make such written request at the time such
                adverse action is communicated to the consumer.
            (2) Duties of Person Taking Certain Actions Based on Information
                Provided by Affiliate
                (A) Duties, generally. If a person takes an action described in
                    subparagraph (B) with respect to a consumer, based in whole
                    or in part on information described in subparagraph (c), the
                    person shall


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                           (i)    notify the consumer of the action, including a statement
                                  that the consumer may obtain the information in
                                  accordance with clause (ii); and
                           (ii) upon a written request from the consumer received within
                                60 days after transmittal of the notice required by clause
                                (i), disclose to the consumer the nature of the information
                                upon which the action is based by not later than 30 days
                                after receipt of the request.
                   (B)     Action described. An action referred to in subparagraph (A) is
                           an adverse action described in section 603(k)(1)(A) [§ 1681a],
                           taken in connection with a transaction initiated by the
                           consumer, or any adverse action described in clause (i) or (ii)
                           of section 603(k)(1)(B) [§ 1681a].
                   (C)     Information described. Information referred to in
                           subparagraph (A)
                           (i)    except as provided in clause (ii), is information that
                                  (I) is furnished to the person taking the action by a
                                      person related by common ownership or affiliated by
                                      common corporate control to the person taking the
                                      action; and
                                  (II) bears on the credit worthiness, credit standing, credit
                                       capacity, character, general reputation, personal
                                       characteristics, or mode of living of the consumer; and
                           (ii) does not include
                                  (I) information solely as to transactions or experiences
                                      between the consumer and the person furnishing the
                                      information; or
                                  (II) information in a consumer report.
      (c)    Reasonable procedures to assure compliance. No person shall be held
             liable for any violation of this section if he shows by a preponderance of
             the evidence that at the time of the alleged violation he maintained reason-
             able procedures to assure compliance with the provisions of this section.
      (d)    Duties of Users Making Written Credit or Insurance Solicitations on the
             Basis of Information Contained in Consumer Files
             (1) In general. Any person who uses a consumer report on any
                 consumer in connection with any credit or insurance transaction that
                 is not initiated by the consumer, that is provided to that person under

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               section 604(c)(1)(B) [§ 1681b], shall provide with each written
               solicitation made to the consumer regarding the transaction a clear
               and conspicuous statement that
               (A) information contained in the consumer’s consumer report was
                   used in connection with the transaction;
               (B)   the consumer received the offer of credit or insurance because
                     the consumer satisfied the criteria for credit worthiness or
                     insurability under which the consumer was selected for the offer;
               (C)   if applicable, the credit or insurance may not be extended if,
                     after the consumer responds to the offer, the consumer does not
                     meet the criteria used to select the consumer for the offer or
                     any applicable criteria bearing on credit worthiness or
                     insurability or does not furnish any required collateral;
               (D) the consumer has a right to prohibit information contained in
                   the consumer’s file with any consumer reporting agency from
                   being used in connection with any credit or insurance
                   transaction that is not initiated by the consumer; and
               (E)   the consumer may exercise the right referred to in subparagraph
                     (D) by notifying a notification system established under section
                     604(e) [§ 1681b].
          (2) Disclosure of address and telephone number; format. A statement
              under paragraph (1) shall –
               (A) include the address and toll-free telephone number of the
                   appropriate notification system established under section
                   604(e); and
               (B)   be presented in such format and in such type size and manner
                     as to be simple and easy to understand, as established by the
                     Bureau, by rule, in consultation with the Federal Trade
                     Commission, Federal banking agencies and the National Credit
                     Union Administration.
             See also 12 CFR Part 1022.54, 12 CFR Part 1022, App D, 16 CFR Part 642,
                                16 CFR Part 698, App C, 70 Fed. Reg. 5022 (01/31/05),
                                                    86 Fed. Reg. 50848-54 (09/13/21)
          (3) Maintaining criteria on file. A person who makes an offer of credit
              or insurance to a consumer under a credit or insurance transaction
              described in paragraph (1) shall maintain on file the criteria used to
              select the consumer to receive the offer, all criteria bearing on credit
              worthiness or insurability, as applicable, that are the basis for

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                   determining whether or not to extend credit or insurance pursuant to
                   the offer, and any requirement for the furnishing of collateral as a
                   condition of the extension of credit or insurance, until the expiration
                   of the 3-year period beginning on the date on which the offer is made
                   to the consumer.
             (4) Authority of federal agencies regarding unfair or deceptive acts or
                 practices not affected. This section is not intended to affect the
                 authority of any Federal or State agency to enforce a prohibition
                 against unfair or deceptive acts or practices, including the making
                 of false or misleading statements in connection with a credit or
                 insurance transaction that is not initiated by the consumer.
                                 See also 16 CFR Part 681, 72 Fed. Reg. 63772-74 (11/09/07),
                          74 Fed. Reg. 22640-41 (05/14/09), 77 Fed. Reg. 72712-15 (12/06/12)
      (e)    Red Flag Guidelines and Regulations Required (1)Guidelines. The Federal
             banking agencies, the National Credit Union Administration, the Federal
             Trade Commission, the Commodity Futures Trading Commission, and
             the Securities and Exchange Commission shall jointly, with respect to the
             entities that are subject to their respective enforcement authority under
             section 621 –
                   (A) establish and maintain guidelines for use by each financial
                       institution and each creditor regarding identity theft with
                       respect to account holders at, or customers of, such entities,
                       and update such guidelines as often as necessary;
                   (B)     prescribe regulations requiring each financial institution and
                           each creditor to establish reasonable policies and procedures for
                           implementing the guidelines established pursuant to
                           subparagraph (A), to identify possible risks to account holders
                           or customers or to the safety and soundness of the institution or
                           customers; and
                   (C)     prescribe regulations applicable to card issuers to ensure that, if
                           a card issuer receives notification of a change of address for an
                           existing account, and within a short period of time (during
                           at least the first 30 days after such notification is received)
                           receives a request for an additional or replacement card for the
                           same account, the card issuer may not issue the additional or
                           replacement card, unless the card issuer, in accordance with
                           reasonable policies and procedures –



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                    (i)   notifies the cardholder of the request at the former address
                          of the cardholder and provides to the cardholder a means
                          of promptly reporting incorrect address changes;
                    (ii) notifies the cardholder of the request by such other means
                         of communication as the cardholder and the card issuer
                         previously agreed to; or
                    (iii) uses other means of assessing the validity of the change
                          of address, in accordance with reasonable policies and
                          procedures established by the card issuer in accordance
                          with the regulations prescribed under subparagraph (B).
          (2) Criteria
              (A) In general. In developing the guidelines required by paragraph
                  (1)(A), the agencies described in paragraph (1) shall identify
                  patterns, practices, and specific forms of activity that indicate
                  the possible existence of identity theft.
              (B)   Inactive accounts. In developing the guidelines required by
                    paragraph (1)(A), the agencies described in paragraph (1) shall
                    consider including reasonable guidelines providing that when
                    a transaction occurs with respect to a credit or deposit account
                    that has been inactive for more than 2 years, the creditor or
                    financial institution shall follow reasonable policies and
                    procedures that provide for notice to be given to a consumer
                    in a manner reasonably designed to reduce the likelihood of
                    identity theft with respect to such account.
          (3) Consistency with verification requirements. Guidelines established
              pursuant to paragraph (1) shall not be inconsistent with the policies
              and procedures required under section 5318(l) of title 31, United
              States Code.
          (4) Definitions. As used in this subsection, the term “creditor” –
              (A) means a creditor, as defined in section 702 of the Equal Credit
                  Opportunity Act (15 U.S.C. 1691a), that regularly and in the
                  ordinary course of business
                    (i)   obtains or uses consumer reports, directly or indirectly, in
                          connection with a credit transaction;
                    (ii) furnishes information to consumer reporting agencies, as
                         described in section 623, in connection with a credit
                         transaction; or


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                           (iii) advances funds to or on behalf of a person, based on an
                                 obligation of the person to repay the funds or repayable from
                                 specific property pledged by or on behalf of the person;
                   (B)     does not include a creditor described in subparagraph (A)(iii)
                           that advances funds on behalf of a person for expenses incidental
                           to a service provided by the creditor to that person; and
                   (C)     includes any other type of creditor, as defined in that section
                           702, as the agency described in paragraph (1) having authority
                           over that creditor may determine appropriate by rule
                           promulgated by that agency, based on a determination that
                           such creditor offers or maintains accounts that are subject to a
                           reasonably foreseeable risk of identity theft.
      (f)    Prohibition on Sale or Transfer of Debt Caused by Identity Theft
             (1) In general. No person shall sell, transfer for consideration, or place
                 for collection a debt that such person has been notified under section
                 605B has resulted from identity theft.
             (2) Applicability. The prohibitions of this subsection shall apply to all
                 persons collecting a debt described in paragraph (1) after the date of
                 a notification under paragraph (1).
             (3) Rule of construction. Nothing in this subsection shall be construed
                 to prohibit –
                   (A) the repurchase of a debt in any case in which the assignee of
                       the debt requires such repurchase because the debt has resulted
                       from identity theft;
                   (B)     the securitization of a debt or the pledging of a portfolio of debt
                           as collateral in connection with a borrowing; or
                   (C)     the transfer of debt as a result of a merger, acquisition,
                           purchase and assumption transaction, or transfer of substantially
                           all of the assets of an entity.
      (g)    Debt collector communications concerning identity theft. If a person acting
             as a debt collector (as that term is defined in title VIII) on behalf of a third
             party that is a creditor or other user of a consumer report is notified that
             any information relating to a debt that the person is attempting to collect
             may be fraudulent or may be the result of identity theft, that person shall –
             (1) notify the third party that the information may be fraudulent or may
                 be the result of identity theft; and
             (2) upon request of the consumer to whom the debt purportedly relates,
                 provide to the consumer all information to which the consumer would
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                otherwise be entitled if the consumer were not a victim of identity
                theft, but wished to dispute the debt under provisions of law
                applicable to that person.
      (h)   Duties of Users in Certain Credit Transactions
            (1) In general. Subject to rules prescribed as provided in paragraph (6),
                if any person uses a consumer report in connection with an
                application for, or a grant, extension, or other provision of, credit
                on material terms that are materially less favorable than the most
                favorable terms available to a substantial proportion of consumers
                from or through that person, based in whole or in part on a consumer
                report, the person shall provide an oral, written, or electronic notice
                to the consumer in the form and manner required by regulations
                prescribed in accordance with this subsection.
            (2) Timing. The notice required under paragraph (1) may be provided
                at the time of an application for, or a grant, extension, or other
                provision of, credit or the time of communication of an approval of
                an application for, or grant, extension, or other provision of, credit,
                except as provided in the regulations prescribed under paragraph (6).
            (3) Exceptions. No notice shall be required from a person under this
                subsection if –
                (A) the consumer applied for specific material terms and was
                    granted those terms, unless those terms were initially specified
                    by the person after the transaction was initiated by the
                    consumer and after the person obtained a consumer report; or
                (B)   the person has provided or will provide a notice to the consumer
                      under subsection (a) in connection with the transaction.
            (4) Other notice not sufficient. A person that is required to provide a
                notice under subsection (a) cannot meet that requirement by
                providing a notice under this subsection.
            (5) Content and delivery of notice. A notice under this subsection shall,
                at a minimum –
                (A) include a statement informing the consumer that the terms
                    offered to the consumer are set based on information from a
                    consumer report;
                (B)   identify the consumer reporting agency furnishing the report;
                (C)   include a statement informing the consumer that the consumer
                      may obtain a copy of a consumer report from that consumer
                      reporting agency without charge;

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                   (D) include the contact information specified by that consumer
                       reporting agency for obtaining such consumer reports
                       (including a toll-free telephone number established by the
                       agency in the case of a consumer reporting agency described in
                       section 603(p)); and
                   (E)     include a statement informing the consumer of –
                           (i)    a numerical credit score as defined in section 609(f)(2)
                                  (A), used by such person in making the credit decision
                                  described in paragraph (1) based in whole or in part on
                                  any information in a consumer report; and
                           (ii) the information set forth in subparagraphs (B) through (E)
                                of section 609(f)(1).
                                    See also 12 CFR Part 1022, Subpart H, 16 CFR Part 640,
                           75 Fed. Reg. 2724 (01/15/10), 86 Fed. Reg. 51795-51817 (09/17/21)
             (6) Rulemaking
                   (A) Rules required. The Bureau shall prescribe rules to carry out
                       this subsection.
                   (B)     Content. Rules required by subparagraph (A) shall address, but
                           are not limited to –
                           (i)    the form, content, time, and manner of delivery of any
                                  notice under this subsection;
                           (ii) clarification of the meaning of terms used in this
                                subsection, including what credit terms are material, and
                                when credit terms are materially less favorable;
                           (iii) exceptions to the notice requirement under this subsection
                                 for classes of persons or transactions regarding which
                                 the agencies determine that notice would not significantly
                                 benefit consumers;
                           (iv) a model notice that may be used to comply with this
                                subsection; and
                           (v)    the timing of the notice required under paragraph (1),
                                  including the circumstances under which the notice must
                                  be provided after the terms offered to the consumer were
                                  set based on information from a consumer report.
             (7) Compliance. A person shall not be liable for failure to perform the duties
                 required by this section if, at the time of the failure, the person maintained
                 reasonable policies and procedures to comply with this section.
             (8) Enforcement
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                 (A) No civil actions. Sections 616 and 617 shall not apply to any
                     failure by any person to comply with this section.
                 (B)   Administrative enforcement. This section shall be enforced
                       exclusively under section 621 by the Federal agencies and
                       officials identified in that section.
      § 616. Civil liability for willful noncompliance [15 U.S.C. § 1681n]
      (a)   In general. Any person who willfully fails to comply with any requirement
            imposed under this title with respect to any consumer is liable to that
            consumer in an amount equal to the sum of
            (1) (A) any actual damages sustained by the consumer as a result of
                    the failure or damages of not less than $100 and not more than
                    $1,000; or
                 (B)   in the case of liability of a natural person for obtaining a
                       consumer report under false pretenses or knowingly without a
                       permissible purpose, actual damages sustained by the consumer
                       as a result of the failure or $1,000, whichever is greater;
            (2) such amount of punitive damages as the court may allow; and
            (3) in the case of any successful action to enforce any liability under this
                section, the costs of the action together with reasonable attorney’s
                fees as determined by the court.
      (b)   Civil liability for knowing noncompliance. Any person who obtains a
            consumer report from a consumer reporting agency under false pretenses
            or knowingly without a permissible purpose shall be liable to the consumer
            reporting agency for actual damages sustained by the consumer reporting
            agency or $1,000, whichever is greater.
      (c)   Attorney’s fees. Upon a finding by the court that an unsuccessful pleading,
            motion, or other paper filed in connection with an action under this
            section was filed in bad faith or for purposes of harassment, the court
            shall award to the prevailing party attorney’s fees reasonable in relation to
            the work expended in responding to the pleading, motion, or other paper.
      (d)   Clarification of willful noncompliance. For the purposes of this section,
            any person who printed an expiration date on any receipt provided to a
            consumer cardholder at a point of sale or transaction between December
            4, 2004, and the date of the enactment of this subsection but otherwise
            complied with the requirements of section 605(g) for such receipt shall not

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      § 620 - 15 U.S.C. § 1681r

             be in willful noncompliance with section 605(g) by reason of printing such
             expiration date on the receipt.
      § 617.      Civil liability for negligent noncompliance [15 U.S.C. § 1681o]
      (a)    In general. Any person who is negligent in failing to comply with any
             requirement imposed under this title with respect to any consumer is liable
             to that consumer in an amount equal to the sum of
             (1) any actual damages sustained by the consumer as a result of the
                 failure; and
             (2) in the case of any successful action to enforce any liability under this
                 section, the costs of the action together with reasonable attorney’s
                 fees as determined by the court.
      (b)    Attorney’s fees. On a finding by the court that an unsuccessful pleading,
             motion, or other paper filed in connection with an action under this
             section was filed in bad faith or for purposes of harassment, the court
             shall award to the prevailing party attorney’s fees reasonable in relation to
             the work expended in responding to the pleading, motion, or other paper.
      § 618.      Jurisdiction of courts; limitation of actions [15 U.S.C. § 1681p]
      An action to enforce any liability created under this title may be brought in
      any appropriate United States district court, without regard to the amount in
      controversy, or in any other court of competent jurisdiction, not later than the
      earlier of (1) 2 years after the date of discovery by the plaintiff of the violation
      that is the basis for such liability; or (2) 5 years after the date on which the
      violation that is the basis for such liability occurs.
      § 619. Obtaining information under false pretenses
             [15 U.S.C. § 1681q]
      Any person who knowingly and willfully obtains information on a consumer
      from a consumer reporting agency under false pretenses shall be fined under
      title 18, United States Code, imprisoned for not more than 2 years, or both.

      § 620. Unauthorized disclosures by officers or employees
             [15 U.S.C. § 1681r]
      Any officer or employee of a consumer reporting agency who knowingly and
      willfully provides information concerning an individual from the agency’s files
      to a person not authorized to receive that information shall be fined under title
      18, United States Code, imprisoned for not more than 2 years, or both.


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      § 621. Administrative enforcement [15 U.S.C. § 1681s]
      (a)   Enforcement by Federal Trade Commission.
            (1) In General. The Federal Trade Commission shall be authorized to
                enforce compliance with the requirements imposed by this title under
                the Federal Trade Commission Act (15 U.S.C. 41 et seq.), with
                respect to consumer reporting agencies and all other persons subject
                thereto, except to the extent that enforcement of the requirements
                imposed under this title is specifically committed to some other
                Government agency under any of subparagraphs (A) through (G)
                of subsection (b)(1), and subject to subtitle B of the Consumer
                Financial Protection Act of 2010, subsection (b). For the purpose of
                the exercise by the Federal Trade Commission of its functions and
                powers under the Federal Trade Commission Act, a violation of any
                requirement or prohibition imposed under this title shall constitute
                an unfair or deceptive act or practice in commerce, in violation of
                section 5(a) of the Federal Trade Commission Act (15 U.S.C. 45(a)),
                and shall be subject to enforcement by the Federal Trade Commission
                under section 5(b) of that Act with respect to any consumer reporting
                agency or person that is subject to enforcement by the Federal Trade
                Commission pursuant to this subsection, irrespective of whether that
                person is engaged in commerce or meets any other jurisdictional
                tests under the Federal Trade Commission Act. The Federal
                Trade Commission shall have such procedural, investigative, and
                enforcement powers, including the power to issue procedural rules in
                enforcing compliance with the requirements imposed under this title
                and to require the filing of reports, the production of documents, and
                the appearance of witnesses, as though the applicable terms and
                conditions of the Federal Trade Commission Act were part of this
                title. Any person violating any of the provisions of this title shall be
                subject to the penalties and entitled to the privileges and immunities
                provided in the Federal Trade Commission Act as though the
                applicable terms and provisions of such Act are part of this title.
            (2) Penalties
                (A) Knowing Violations. Except as otherwise provided by subtitle B
                    of the Consumer Financial Protection Act of 2010, in the event
                    of a knowing violation, which constitutes a pattern or practice
                    of violations of this title, the Federal Trade Commission may
                    commence a civil action to recover a civil penalty in a district
                    court of the United States against any person that violates this

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                           title. In such action, such person shall be liable for a civil pen-
                           alty of not more than $2,500 per violation.9
                   (B)     Determining Penalty Amount. In determining the amount of a
                           civil penalty under subparagraph (A), the court shall take into
                           account the degree of culpability, any history of such prior
                           conduct, ability to pay, effect on ability to continue to do
                           business, and such other matters as justice may require.
                   (C)     Limitation. Notwithstanding paragraph (2), a court may not
                           impose any civil penalty on a person for a violation of section
                           623(a)(1), unless the person has been enjoined from committing
                           the violation, or ordered not to commit the violation, in an action
                           or proceeding brought by or on behalf of the Federal Trade
                           Commission, and has violated the injunction or order, and the
                           court may not impose any civil penalty for any violation occurring
                           before the date of the violation of the injunction or order.
      (b)    Enforcement by Other Agencies.
             (1) In General. Subject to subtitle B of the Consumer Financial
                 Protection Act of 2010, compliance with the requirements imposed
                 under this title with respect to consumer reporting agencies, persons
                 who use consumer reports from such agencies, persons who furnish
                 information to such agencies, and users of information that are
                 subject to section 615(d) shall be enforced under –
                   (A) section 8 of the Federal Deposit Insurance Act (12 U.S.C.
                       1818), by the appropriate Federal banking agency, as defined
                       in section 3(q) of the Federal Deposit Insurance Act (12 U.S.C.
                       1813(q)), with respect to –
                           (i)    any national bank or State savings association, and any
                                  Federal branch or Federal agency of a foreign bank;
                           (ii) any member bank of the Federal Reserve System (other
                                than a national bank), a branch or agency of a foreign
                                bank (other than a Federal branch, Federal agency, or
                                insured State branch of a foreign bank), a commercial
                                lending company owned or controlled by a foreign bank,
                                and any organization operating under section 25 or 25A of
                                the Federal Reserve Act; and


      9 Pursuant to the Federal Civil Penalties Inflation Adjustment Act Improvements Act of 2015, the Federal
        Trade Commission increased the maximum civil penalty to $4,367 per violation. See 87 Fed. Reg. 1070
        (Jan 10, 2022).
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                       (iii) any bank or Federal savings association insured by the
                             Federal Deposit Insurance Corporation (other than a
                             member of the Federal Reserve System) and any insured
                             State branch of a foreign bank;
                 (B)   the Federal Credit Union Act (12 U.S.C. 1751 et seq.), by the
                       Administrator of the National Credit Union Administration with
                       respect to any Federal credit union;
                 (C)   subtitle IV of title 49, United States Code, by the Secretary of
                       Transportation, with respect to all carriers subject to the
                       jurisdiction of the Surface Transportation Board;
                 (D) the Federal Aviation Act of 1958 (49 U.S.C. App. 1301 et
                     seq.), by the Secretary of Transportation, with respect to any
                     air carrier or foreign air carrier subject to that Act;
                 (E)   the Packers and Stockyards Act, 1921 (7 U.S.C. 181 et seq.)
                       (except as provided in section 406 of that Act), by the Secretary
                       of Agriculture, with respect to any activities subject to that Act;
                 (F)   the Commodity Exchange Act, with respect to a person subject to
                       the jurisdiction of the Commodity Futures Trading Commission;
                 (G) the Federal securities laws, and any other laws that are subject
                     to the jurisdiction of the Securities and Exchange Commission,
                     with respect to a person that is subject to the jurisdiction of the
                     Securities and Exchange Commission; and
                 (H) subtitle E of the Consumer Financial Protection Act of 2010,
                     by the Bureau, with respect to any person subject to this title.
            (2) Incorporated Definitions. The terms used in paragraph (1) that are
                not defined in this title or otherwise defined in section 3(s) of the
                Federal Deposit Insurance Act (12 U.S.C. 1813(s)) have the same
                meanings as in section 1(b) of the International Banking Act of 1978
                (12 U.S.C. 3101).
      (c)   State Action for Violations
            (1) Authority of states. In addition to such other remedies as are
                provided under State law, if the chief law enforcement officer of a
                State, or an official or agency designated by a State, has reason to
                believe that any person has violated or is violating this title, the State –
                 (A)   may bring an action to enjoin such violation in any appropriate
                       United States district court or in any other court of competent
                       jurisdiction;

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                   (B)     subject to paragraph (5), may bring an action on behalf of the
                           residents of the State to recover
                           (i)    damages for which the person is liable to such residents un-
                                  der sections 616 and 617 [§§ 1681n and 1681o] as a result
                                  of the violation;
                           (ii) in the case of a violation described in any of paragraphs
                                (1) through (3) of section 623(c) [§ 1681s-2], damages for
                                which the person would, but for section 623(c), be liable to
                                such residents as a result of the violation; or
                           (iii) damages of not more than $1,000 for each willful or
                                 negligent violation; and
                   (C)     in the case of any successful action under subparagraph (A) or
                           (B), shall be awarded the costs of the action and reasonable
                           attorney fees as determined by the court.
             (2) Rights of federal regulators. The State shall serve prior written notice
                 of any action under paragraph (1) upon the Bureau and the Federal
                 Trade Commission or the appropriate Federal regulator determined
                 under subsection (b) and provide the Bureau and the Federal Trade
                 Commission or appropriate Federal regulator with a copy of its
                 complaint, except in any case in which such prior notice is not
                 feasible, in which case the State shall serve such notice immediately
                 upon instituting such action. The Bureau and the Federal Trade
                 Commission or appropriate Federal regulator shall have the right –
                   (A) to intervene in the action;
                   (B)     upon so intervening, to be heard on all matters arising therein;
                   (C)     to remove the action to the appropriate United States district
                           court; and
                   (D) to file petitions for appeal.
             (3) Investigatory powers. For purposes of bringing any action under
                 this subsection, nothing in this subsection shall prevent the chief law
                 enforcement officer, or an official or agency designated by a State, from
                 exercising the powers conferred on the chief law enforcement officer
                 or such official by the laws of such State to conduct investigations or to
                 administer oaths or affirmations or to compel the attendance of witnesses
                 or the production of documentary and other evidence.
             (4) Limitation on state action while federal action pending. If the Bureau,
                 the Federal Trade Commission, or the appropriate Federal regulator
                 has instituted a civil action or an administrative action
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                 under section 8 of the Federal Deposit Insurance Act for a violation
                 of this title, no State may, during the pendency of such action, bring
                 an action under this section against any defendant named in the
                 complaint of the Bureau, the Federal Trade Commission, or the
                 appropriate Federal regulator for any violation of this title that is
                 alleged in that complaint.
            (5) Limitations on State Actions for Certain Violations
                 (A) Violation of injunction required. A State may not bring an
                     action against a person under paragraph (1)(B) for a violation
                     described in any of paragraphs (1) through (3) of section
                     623(c), unless
                       (i)   the person has been enjoined from committing the
                             violation, in an action brought by the State under paragraph
                             (1)(A); and
                       (ii) the person has violated the injunction.
                 (B)   Limitation on damages recoverable. In an action against a
                       person under paragraph (1)(B) for a violation described in any
                       of paragraphs (1) through (3) of section 623(c), a State may not
                       recover any damages incurred before the date of the violation
                       of an injunction on which the action is based.
      (d)   Enforcement under other authority. For the purpose of the exercise by
            any agency referred to in subsection (b) of this section of its powers under
            any Act referred to in that subsection, a violation of any requirement
            imposed under this title shall be deemed to be a violation of a requirement
            imposed under that Act. In addition to its powers under any provision of
            law specifically referred to in subsection (b) of this section, each of the
            agencies referred to in that subsection may exercise, for the purpose of
            enforcing compliance with any requirement imposed under this title any
            other authority conferred on it by law.
      (e)   Regulatory Authority
            (1) In General. The Bureau shall prescribe such regulations as are
                necessary to carry out the purposes of this title, except with respect
                to sections 615(e) and 628. The Bureau may prescribe regulations
                as may be necessary or appropriate to administer and carry out
                the purposes and objectives of this title, and to prevent evasions
                thereof or to facilitate compliance therewith. Except as provided
                in section 1029(a) of the Consumer Financial Protection Act of
                2010, the regulations prescribed by the Bureau under this title shall

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                   apply to any person that is subject to this title, notwithstanding the
                   enforcement authorities granted to other agencies under this section.
             (2) Deference. Notwithstanding any power granted to any Federal agency
                 under this title, the deference that a court affords to a Federal agency
                 with respect to a determination made by such agency relating to the
                 meaning or interpretation of any provision of this title that is subject
                 to the jurisdiction of such agency shall be applied as if that agency
                 were the only agency authorized to apply, enforce, interpret, or
                 administer the provisions of this title The regulations prescribed by
                 the Bureau under this title shall apply to any person that is subject to
                 this title, notwithstanding the enforcement authorities granted to other
                 agencies under this section.
      (f)    Coordination of Consumer Complaint Investigations
             (1) In general. Each consumer reporting agency described in section
                 603(p) shall develop and maintain procedures for the referral to each
                 other such agency of any consumer complaint received by the agency
                 alleging identity theft, or requesting a fraud alert under section 605A
                 or a block under section 605B.
             (2) Model form and procedure for reporting identity theft. The Bureau,
                 in consultation with the Federal Trade Commission, the Federal
                 banking agencies, and the National Credit Union Administration,
                 shall develop a model form and model procedures to be used by
                 consumers who are victims of identity theft for contacting and
                 informing creditors and consumer reporting agencies of the fraud.
                                                     See also 70 Fed. Reg. 21792 (04/27/05)
             (3) Annual summary reports. Each consumer reporting agency described
                 in section 603(p) shall submit an annual summary report to the
                 Bureau on consumer complaints received by the agency on identity
                 theft or fraud alerts.
      (g)    Bureau regulation of coding of trade names. If the Bureau determines
             that a person described in paragraph (9) of section 623(a) has not met the
             requirements of such paragraph, the Bureau shall take action to ensure the
             person’s compliance with such paragraph, which may include issuing
             model guidance or prescribing reasonable policies and procedures, as
             necessary to ensure that such person complies with such paragraph.




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      § 622. Information on overdue child support obligations
             [15 U.S.C. § 1681s-1]
      Notwithstanding any other provision of this title, a consumer reporting agency
      shall include in any consumer report furnished by the agency in accordance
      with section 604 [§ 1681b] of this title, any information on the failure of the
      consumer to pay overdue support which
            (1) is provided
                (A) to the consumer reporting agency by a State or local child
                    support enforcement agency; or
                (B)   to the consumer reporting agency and verified by any local,
                      State, or Federal government agency; and
            (2) antedates the report by 7 years or less.
      § 623. Responsibilities of furnishers of information to consumer
             reporting agencies [15 U.S.C. § 1681s-2]
      (a)   Duty of Furnishers of Information to Provide Accurate Information
            (1) Prohibition
                (A) Reporting information with actual knowledge of errors. A
                    person shall not furnish any information relating to a consumer
                    to any consumer reporting agency if the person knows or has
                    reasonable cause to believe that the information is inaccurate.
                (B)   Reporting information after notice and confirmation of errors.
                      A person shall not furnish information relating to a consumer to
                      any consumer reporting agency if
                      (i)     the person has been notified by the consumer, at the
                              address specified by the person for such notices, that
                              specific information is inaccurate; and
                      (ii) the information is, in fact, inaccurate.
                (C)   No address requirement. A person who clearly and conspicu-
                      ously specifies to the consumer an address for notices referred
                      to in subparagraph (B) shall not be subject to subparagraph (A);
                      however, nothing in subparagraph (B) shall require a person to
                      specify such an address.
                (D) Definition. For purposes of subparagraph (A), the term
                    “reasonable cause to believe that the information is inaccurate”


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                           means having specific knowledge, other than solely allegations
                           by the consumer, that would cause a reasonable person to have
                           substantial doubts about the accuracy of the information.
                   (E)     Rehabilitation of private education loans.
                           (i)      In general. Notwithstanding any other provision of this
                                    section, a consumer may request a financial institution to
                                    remove from a consumer report a reported default
                                    regarding a private education loan, and such information
                                    shall not be considered inaccurate, if
                                    (I) the financial institution chooses to offer a loan
                                        rehabilitation program which includes, without
                                        limitation, a requirement of the consumer to make
                                        consecutive on-time monthly payments in a number
                                        that demonstrates, in the assessment of the financial
                                        institution offering the loan rehabilitation program, a
                                        renewed ability and willingness to repay the loan; and
                                    (II) the requirements of the loan rehabilitation program
                                         described in subclause (I) are successfully met.
                           (ii) Banking agencies.
                                    (I) In general. If a financial institution is supervised by a
                                        Federal banking agency, the financial institution
                                        shall seek written approval concerning the terms
                                        and conditions of the loan rehabilitation program
                                        described in clause (i) from the appropriate Federal
                                        banking agency.
                                    (II) Feedback. An appropriate Federal banking agency
                                         shall provide feedback to a financial institution within
                                         120 days of a request for approval under subclause (I).
                           (iii) Limitation.
                                    (I) In general. A consumer may obtain the benefits
                                        available under this subsection with respect to
                                        rehabilitating a loan only 1 time per loan.
                                    (II) Rule of construction. Nothing in this subparagraph
                                         may be construed to require a financial institution to
                                         offer a loan rehabilitation program or to remove any
                                         reported default from a consumer report as a
                                         consideration of a loan rehabilitation program,
                                         except as described in clause (i).
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                  (iv) Definitions. For purposes of this subparagraph
                       (I) the term ‘appropriate Federal banking agency’ has the
                           meaning given the term in section 3 of the Federal
                           Deposit Insurance Act (12 U.S.C. 1813); and
                       (II) the term ‘private education loan’ has the meaning
                            given the term in section 140(a) of the Truth in
                            Lending Act (15 U.S.C. 1650(a)).
             (F) Reporting information during COVID–19 pandemic.—
                  (i) Definitions.—In this subsection:
                       (I) Accommodation.—The term ‘accommodation’ includes
                            an agreement to defer 1 or more payments, make a
                            partial payment, forbear any delinquent amounts,
                            modify a loan or contract, or any other assistance or
                            relief granted to a consumer who is affected by the
                            coronavirus disease 2019 (COVID–19) pandemic
                            during the covered period.
                       (II) Covered period.—The term ‘covered period’ means
                            the period beginning on January 31, 2020 and ending
                            on the later of—
                            (aa) 120 days after the date of enactment of this
                                 subparagraph; or
                            (bb) 120 days after the date on which the national
                                 emergency concerning the novel coronavirus
                                 disease (COVID–19) outbreak declared by
                                 the President on March 13, 2020 under the
                                 National Emergencies Act (50 U.S.C. 1601
                                 et seq.) terminates.
                  (ii) Reporting.—Except as provided in clause if a furnisher
                       makes an accommodation with respect to 1 or more
                       payments on a credit obligation or account of a
                       consumer, and the consumer makes the payments or is
                       not required to make 1 or more payments pursuant to the
                       accommodation, the furnisher shall—
                       (I) report the credit obligation or account as current; or
                       (II) if the credit obligation or account was delinquent
                            before the accommodation—


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                                     (aa) maintain the delinquent status during the period
                                          in which the accommodation is in effect; and
                                     (bb) if the consumer brings the credit obligation or
                                          account current during the period described in item
                                     (aa), report the credit obligation or account as current.
                           (iii) Exception.—Clause (ii) shall not apply with respect to a
                                 credit obligation or account of a consumer that has been
                                 charged-off.
             (2) Duty to correct and update information. A person who
                   (A) regularly and in the ordinary course of business furnishes
                       information to one or more consumer reporting agencies about
                       the person’s transactions or experiences with any consumer; and
                   (B)     has furnished to a consumer reporting agency information
                           that the person determines is not complete or accurate, shall
                           promptly notify the consumer reporting agency of that determi-
                           nation and provide to the agency any corrections to that infor-
                           mation, or any additional information, that is necessary to make
                           the information provided by the person to the agency complete
                           and accurate, and shall not thereafter furnish to the agency any
                           of the information that remains not complete or accurate.
             (3) Duty to provide notice of dispute. If the completeness or accuracy of
                 any information furnished by any person to any consumer reporting
                 agency is disputed to such person by a consumer, the person may not
                 furnish the information to any consumer reporting agency without
                 notice that such information is disputed by the consumer.
             (4) Duty to provide notice of closed accounts. A person who regularly
                 and in the ordinary course of business furnishes information to a
                 consumer reporting agency regarding a consumer who has a credit
                 account with that person shall notify the agency of the voluntary
                 closure of the account by the consumer, in information regularly
                 furnished for the period in which the account is closed.
             (5) Duty to Provide Notice of Delinquency of Accounts
                   (A) In general. A person who furnishes information to a consumer
                       reporting agency regarding a delinquent account being placed
                       for collection, charged to profit or loss, or subjected to any
                       similar action shall, not later than 90 days after furnishing the
                       information, notify the agency of the date of delinquency on
                       the account, which shall be the month and year of the
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                    commencement of the delinquency on the account that
                    immediately preceded the action.
              (B)   Rule of construction. For purposes of this paragraph only, and
                    provided that the consumer does not dispute the information, a
                    person that furnishes information on a delinquent account that is
                    placed for collection, charged for profit or loss, or subjected to
                    any similar action, complies with this paragraph, if –
                    (i)   the person reports the same date of delinquency as that
                          provided by the creditor to which the account was owed at
                          the time at which the commencement of the delinquency
                          occurred, if the creditor previously reported that date of
                          delinquency to a consumer reporting agency;
                    (ii) the creditor did not previously report the date of
                         delinquency to a consumer reporting agency, and the
                         person establishes and follows reasonable procedures to
                         obtain the date of delinquency from the creditor or another
                         reliable source and reports that date to a consumer
                         reporting agency as the date of delinquency; or
                    (iii) the creditor did not previously report the date of
                          delinquency to a consumer reporting agency and the date
                          of delinquency cannot be reasonably obtained as provided
                          in clause (ii), the person establishes and follows reasonable
                          procedures to ensure the date reported as the date of
                          delinquency precedes the date on which the account is
                          placed for collection, charged to profit or loss, or
                          subjected to any similar action, and reports such date to
                          the credit reporting agency.
          (6) Duties of Furnishers Upon Notice of Identity Theft-Related Information
              (A) Reasonable procedures. A person that furnishes information to
                  any consumer reporting agency shall have in place reasonable
                  procedures to respond to any notification that it receives from
                  a consumer reporting agency under section 605B relating to
                  information resulting from identity theft, to prevent that person
                  from refurnishing such blocked information.
              (B)   Information alleged to result from identity theft. If a consumer
                    submits an identity theft report to a person who furnishes
                    information to a consumer reporting agency at the address
                    specified by that person for receiving such reports stating that
                    information maintained by such person that purports to relate to
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                           the consumer resulted from identity theft, the person may not
                           furnish such information that purports to relate to the consumer
                           to any consumer reporting agency, unless the person
                           subsequently knows or is informed by the consumer that the
                           information is correct.
             (7) Negative Information
                   (A) Notice to Consumer Required
                           (i)      In general. If any financial institution that extends credit
                                    and regularly and in the ordinary course of business
                                    furnishes information to a consumer reporting agency
                                    described in section 603(p) furnishes negative information
                                    to such an agency regarding credit extended to a
                                    customer, the financial institution shall provide a notice of
                                    such furnishing of negative information, in writing, to the
                                    customer.
                           (ii) Notice effective for subsequent submissions. After
                                providing such notice, the financial institution may submit
                                additional negative information to a consumer reporting
                                agency described in section 603(p) with respect to the
                                same transaction, extension of credit, account, or customer
                                without providing additional notice to the customer.
                   (B)     Time of Notice
                           (i)      In general. The notice required under subparagraph (A)
                                    shall be provided to the customer prior to, or no later than
                                    30 days after, furnishing the negative information to a
                                    consumer reporting agency described in section 603(p).
                           (ii) Coordination with new account disclosures. If the notice is
                                provided to the customer prior to furnishing the negative
                                information to a consumer reporting agency, the notice
                                may not be included in the initial disclosures provided
                                under section 127(a) of the Truth in Lending Act.
                   (C)     Coordination with other disclosures. The notice required under
                           subparagraph (A) –
                           (i)      may be included on or with any notice of default, any
                                    billing statement, or any other materials provided to the
                                    customer; and
                           (ii) must be clear and conspicuous.
                                                               See also 12 CFR Part 1022, App B
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              (D) Model Disclosure
                    (i)   Duty of Bureau. The Bureau shall prescribe a brief model
                          disclosure that a financial institution may use to comply
                          with subparagraph (A), which shall not exceed 30 words.
                    (ii) Use of model not required. No provision of this paragraph
                         may be construed to require a financial institution to use
                         any such model form prescribed by the Bureau.
                    (iii) Compliance using model. A financial institution shall be
                          deemed to be in compliance with subparagraph (A) if the
                          financial institution uses any model form prescribed by the
                          Bureau under this subparagraph, or the financial institution
                          uses any such model form and rearranges its format.
              (E)   Use of notice without submitting negative information. No
                    provision of this paragraph shall be construed as requiring a
                    financial institution that has provided a customer with a notice
                    described in subparagraph (A) to furnish negative information
                    about the customer to a consumer reporting agency.
              (F)   Safe harbor. A financial institution shall not be liable for
                    failure to perform the duties required by this paragraph if, at the
                    time of the failure, the financial institution maintained
                    reasonable policies and procedures to comply with this paragraph
                    or the financial institution reasonably believed that the institution
                    is prohibited, by law, from contacting the consumer.
              (G) Definitions. For purposes of this paragraph, the following
                  definitions shall apply:
                    (i)   The term “negative information” means information
                          concerning a customer’s delinquencies, late payments,
                          insolvency, or any form of default.
                    (ii) The terms “customer” and “financial institution” have the
                         same meanings as in section 509 Public Law 106-102.
          (8) Ability of Consumer to Dispute Information Directly with Furnisher
                                     See also 12 CFR Part 1022.43, 16 CFR Part 660.4,
                                                        74 Fed. Reg. 31484 (07/01/09)
              (A) In general. The Bureau, in consultation with the Federal Trade
                  Commission, the Federal banking agencies, and the National
                  Credit Union Administration, shall prescribe regulations that
                  shall identify the circumstances under which a furnisher shall
                  be required to reinvestigate a dispute concerning the accuracy
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                           of information contained in a consumer report on the consumer,
                           based on a direct request of a consumer.
                   (B)     Considerations. In prescribing regulations under subparagraph
                           (A), the agencies shall weigh –
                           (i)      the benefits to consumers with the costs on furnishers and
                                    the credit reporting system;
                           (ii) the impact on the overall accuracy and integrity of
                                consumer reports of any such requirements;
                           (iii) whether direct contact by the consumer with the furnisher
                                 would likely result in the most expeditious resolution of
                                 any such dispute; and
                           (iv) the potential impact on the credit reporting process if
                                credit repair organizations, as defined in section 403(3)
                                [15 U.S.C. §1679a(3)], including entities that would be a
                                credit repair organization, but for section 403(3)(B)(i), are
                                able to circumvent the prohibition in subparagraph (G).
                   (C)     Applicability. Subparagraphs (D) through (G) shall apply in
                           any circumstance identified under the regulations promulgated
                           under subparagraph (A).
                   (D) Submitting a notice of dispute. A consumer who seeks to
                       dispute the accuracy of information shall provide a dispute
                       notice directly to such person at the address specified by the
                       person for such notices that –
                           (i)      identifies the specific information that is being disputed;
                           (ii) explains the basis for the dispute; and
                           (iii) includes all supporting documentation required by the
                                 furnisher to substantiate the basis of the dispute.
                   (E)     Duty of person after receiving notice of dispute. After receiving
                           a notice of dispute from a consumer pursuant to subparagraph
                           (D), the person that provided the information in dispute to a
                           consumer reporting agency shall –
                           (i)      conduct an investigation with respect to the disputed
                                    information;
                           (ii) review all relevant information provided by the consumer
                                with the notice;



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                   (iii) complete such person’s investigation of the dispute and
                         report the results of the investigation to the consumer
                         before the expiration of the period under section 611(a)
                         (1) within which a consumer reporting agency would be
                         required to complete its action if the consumer had elected
                         to dispute the information under that section; and
                   (iv) if the investigation finds that the information reported was
                        inaccurate, promptly notify each consumer reporting
                        agency to which the person furnished the inaccurate
                        information of that determination and provide to the
                        agency any correction to that information that is necessary
                        to make the information provided by the person accurate.
             (F)   Frivolous or Irrelevant Dispute
                   (i)   In general. This paragraph shall not apply if the person
                         receiving a notice of a dispute from a consumer
                         reasonably determines that the dispute is frivolous or
                         irrelevant, including –
                         (I) by reason of the failure of a consumer to provide
                             sufficient information to investigate the disputed
                             information; or
                         (II) the submission by a consumer of a dispute that is
                              substantially the same as a dispute previously
                              submitted by or for the consumer, either directly to
                              the person or through a consumer reporting agency
                              under subsection (b), with respect to which the person
                              has already performed the person’s duties under this
                              paragraph or subsection (b), as applicable.
                   (ii) Notice of determination. Upon making any determination
                        under clause (i) that a dispute is frivolous or irrelevant,
                        the person shall notify the consumer of such determination
                        not later than 5 business days after making such determination,
                        by mail or, if authorized by the consumer for that purpose,
                        by any other means available to the person.
                   (iii) Contents of notice. A notice under clause (ii) shall include –
                         (I) the reasons for the determination under clause (i); and
                         (II) identification of any information required to investigate
                              the disputed information, which may consist of a
                              standardized form describing the general nature of
                              such information.
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                   (G) Exclusion of credit repair organizations. This paragraph shall
                       not apply if the notice of the dispute is submitted by, is
                       prepared on behalf of the consumer by, or is submitted on a
                       form supplied to the consumer by, a credit repair organization,
                       as defined in section 403(3), or an entity that would be a credit
                       repair organization, but for section 403(3)(B)(i).
             (9) Duty to provide notice of status as medical information furnisher.
                 A person whose primary business is providing medical services,
                 products, or devices, or the person’s agent or assignee, who furnishes
                 information to a consumer reporting agency on a consumer shall be
                 considered a medical information furnisher for purposes of this title,
                 and shall notify the agency of such status.
      (b)    Duties of Furnishers of Information upon Notice of Dispute
             (1) In general. After receiving notice pursuant to section 611(a)(2)
                 [§ 1681i] of a dispute with regard to the completeness or accuracy
                 of any information provided by a person to a consumer reporting
                 agency, the person shall
                   (A) conduct an investigation with respect to the disputed information;
                   (B)     review all relevant information provided by the consumer
                           reporting agency pursuant to section 611(a)(2) [§ 1681i];
                   (C)     report the results of the investigation to the consumer
                           reporting agency;
                   (D) if the investigation finds that the information is incomplete or inac-
                       curate, report those results to all other consumer reporting agen-
                       cies to which the person furnished the information and that compile
                       and maintain files on consumers on a nationwide basis; and
                   (E) if an item of information disputed by a consumer is found to
                       be inaccurate or incomplete or cannot be verified after any
                       reinvestigation under paragraph (1), for purposes of reporting
                       to a consumer reporting agency only, as appropriate, based on
                       the results of the reinvestigation promptly –
                       (i) modify that item of information;
                       (ii) delete that item of information; or
                       (iii) permanently block the reporting of that item of information.
             (2) Deadline. A person shall complete all investigations, reviews, and
                 reports required under paragraph (1) regarding information provided
                 by the person to a consumer reporting agency, before the expiration
                 of the period under section 611(a)(1) [§ 1681i] within which the
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                 consumer reporting agency is required to complete actions required
                 by that section regarding that information.
      (c)   Limitation on liability. Except as provided in section 621(c)(1)(B),
            sections 616 and 617 do not apply to any violation of –
            (1) subsection (a) of this section, including any regulations issued
                  thereunder;
            (2) subsection (e) of this section, except that nothing in this paragraph
                  shall limit, expand, or otherwise affect liability under section 616 or
                  617, as applicable, for violations of subsection (b) of this section; or
            (3) subsection (e) of section 615.
      (d)   Limitation on enforcement. The provisions of law described in paragraphs
            (1) through (3) of subsection (c) (other than with respect to the exception
            described in paragraph (2) of subsection (c)) shall be enforced exclusively
            as provided under section 621 by the Federal agencies and officials and
            the State officials identified in section 621.
      (e)   Accuracy Guidelines and Regulations Required
                                  See also 12 CFR Part 1022, Subpart E, 16 CFR Part 660,
                          74 Fed. Reg. 31484 (07/01/09), 86 Fed. Reg. 51819-21 (09/17/21)
            (1) Guidelines. The Bureau shall, with respect to persons or entities that are
                subject to the enforcement authority of the Bureau under section 621 –
                 (A) establish and maintain guidelines for use by each person that
                     furnishes information to a consumer reporting agency regarding
                     the accuracy and integrity of the information relating to
                     consumers that such entities furnish to consumer reporting
                     agencies, and update such guidelines as often as necessary; and
                 (B)   prescribe regulations requiring each person that furnishes
                       information to a consumer reporting agency to establish
                       reasonable policies and procedures for implementing the
                       guidelines established pursuant to subparagraph (A).
            (2) Criteria. In developing the guidelines required by paragraph (1)(A),
                the Bureau shall –
                 (A) identify patterns, practices, and specific forms of activity that
                     can compromise the accuracy and integrity of information
                     furnished to consumer reporting agencies;




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                   (B)     review the methods (including technological means) used to
                           furnish information relating to consumers to consumer
                           reporting agencies;
                   (C)     determine whether persons that furnish information to consumer
                           reporting agencies maintain and enforce policies to ensure the
                           accuracy and integrity of information furnished to consumer
                           reporting agencies; and
                   (D) examine the policies and processes that persons that furnish
                       information to consumer reporting agencies employ to conduct
                       re investigations and correct inaccurate information relating to
                       consumers that has been furnished to consumer reporting agencies.
      § 624. Affiliate sharing [15 U.S.C. § 1681s-3]
                                                 See also 12 CFR Part 1022, Subpart C, App C,
                                16 CFR Parts 680, 698 App B, 74 Fed. Reg. 22639-40 (05/14/09),
                                72 Fed. Reg. 61455-64 (10/30/07), 86 Fed. Reg. 51609-11 (09/16/21)
      (a)    Special Rule for Solicitation for Purposes of Marketing
             (1) Notice. Any person that receives from another person related to it by
                 common ownership or affiliated by corporate control a communication
                 of information that would be a consumer report, but for clauses (i),
                 (ii), and (iii) of section 603(d)(2)(A), may not use the information to
                 make a solicitation for marketing purposes to a consumer about its
                 products or services, unless –
                   (A) it is clearly and conspicuously disclosed to the consumer that
                       the information may be communicated among such persons for
                       purposes of making such solicitations to the consumer; and
                   (B)     the consumer is provided an opportunity and a simple method
                           to prohibit the making of such solicitations to the consumer by
                           such person.
             (2) Consumer Choice
                   (A) In general. The notice required under paragraph (1) shall
                       allow the consumer the opportunity to prohibit all solicitations
                       referred to in such paragraph, and may allow the consumer
                       to choose from different options when electing to prohibit the
                       sending of such solicitations, including options regarding the
                       types of entities and information covered, and which methods
                       of delivering solicitations the consumer elects to prohibit.


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              (B)   Format. Notwithstanding subparagraph (A), the notice
                    required under paragraph (1) shall be clear, conspicuous, and
                    concise, and any method provided under paragraph (1)(B) shall
                    be simple. The regulations prescribed to implement this section
                    shall provide specific guidance regarding how to comply with
                    such standards.
          (3) Duration
              (A) In general. The election of a consumer pursuant to paragraph
                  (1)(B) to prohibit the making of solicitations shall be effective
                  for at least 5 years, beginning on the date on which the person
                  receives the election of the consumer, unless the consumer
                  requests that such election be revoked.
              (B)   Notice upon expiration of effective period. At such time as the
                    election of a consumer pursuant to paragraph (1)(B) is no longer
                    effective, a person may not use information that the person
                    receives in the manner described in para-graph (1) to make any
                    solicitation for marketing purposes to the consumer, unless the
                    consumer receives a notice and an opportunity, using a simple
                    method, to extend the opt-out for another period of at least 5
                    years, pursuant to the procedures described in paragraph (1).
          (4) Scope. This section shall not apply to a person –
              (A) using information to make a solicitation for marketing
                  purposes to a consumer with whom the person has a pre-
                  existing business relationship;
              (B)   using information to facilitate communications to an individual
                    for whose benefit the person provides employee benefit or other
                    services pursuant to a contract with an employer related to and
                    arising out of the current employment relationship or status of
                    the individual as a participant or beneficiary of an employee
                    benefit plan;
              (C)   using information to perform services on behalf of another
                    person related by common ownership or affiliated by corporate
                    control, except that this subparagraph shall not be construed as
                    permitting a person to send solicitations on behalf of another
                    person, if such other person would not be permitted to send the
                    solicitation on its own behalf as a result of the election of the
                    consumer to prohibit solicitations under paragraph (1)(B);
              (D) using information in response to a communication initiated by
                  the consumer;

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                   (E)     using information in response to solicitations authorized or
                           requested by the consumer; or
                   (F)     if compliance with this section by that person would prevent
                           compliance by that person with any provision of State insurance
                           laws pertaining to unfair discrimination in any State in which
                           the person is lawfully doing business.
             (5) No retroactivity. This subsection shall not prohibit the use of
                 information to send a solicitation to a consumer if such information
                 was received prior to the date on which persons are required to
                 comply with regulations implementing this subsection.
      (b)    Notice for other purposes permissible. A notice or other disclosure
             under this section may be coordinated and consolidated with any other
             notice required to be issued under any other provision of law by a
             person that is subject to this section, and a notice or other disclosure
             that is equivalent to the notice required by subsection (a), and that is
             provided by a person described in subsection (a) to a consumer together
             with disclosures required by any other provision of law, shall satisfy the
             requirements of subsection (a).
      (c)    User requirements. Requirements with respect to the use by a person
             of information received from another person related to it by common
             ownership or affiliated by corporate control, such as the requirements
             of this section, constitute requirements with respect to the exchange of
             information among persons affiliated by common ownership or common
             corporate control, within the meaning of section 625(b)(2).
      (d)    Definitions. For purposes of this section, the following definitions shall apply:
             (1) The term “pre-existing business relationship” means a relationship
                 between a person, or a person’s licensed agent, and a consumer,
                 based on –
                   (A) a financial contract between a person and a consumer which is
                       in force;
                   (B)     the purchase, rental, or lease by the consumer of that person’s
                           goods or services, or a financial transaction (including holding
                           an active account or a policy in force or having another
                           continuing relationship) between the consumer and that person
                           during the 18-month period immediately preceding the date on
                           which the consumer is sent a solicitation covered by this section;
                   (C)     an inquiry or application by the consumer regarding a product
                           or service offered by that person, during the 3-month period
                           immediately preceding the date on which the consumer is sent a
                           solicitation covered by this section; or
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                 (D) any other pre-existing customer relationship defined in the
                     regulations implementing this section.
            (2) The term “solicitation” means the marketing of a product or service
                initiated by a person to a particular consumer that is based on an
                exchange of information described in subsection (a), and is intended
                to encourage the consumer to purchase such product or service, but
                does not include communications that are directed at the general
                public or determined not to be a solicitation by the regulations
                prescribed under this section.

      § 625. Relation to State laws [15 U.S.C. § 1681t]
      (a)   In general. Except as provided in subsections (b) and (c), this title does
            not annul, alter, affect, or exempt any person subject to the provisions of
            this title from complying with the laws of any State with respect to the
            collection, distribution, or use of any information on consumers, or for
            the prevention or mitigation of identity theft, except to the extent that
            those laws are inconsistent with any provision of this title, and then only
            to the extent of the inconsistency.
      (b)   General exceptions. No requirement or prohibition may be imposed under
            the laws of any State
            (1) with respect to any subject matter regulated under
                 (A) subsection (c) or (e) of section 604 [§ 1681b], relating to the
                     prescreening of consumer reports;
                 (B)   section 611 [§ 1681i], relating to the time by which a consumer
                       reporting agency must take any action, including the provision
                       of notification to a consumer or other person, in any procedure
                       related to the disputed accuracy of information in a consumer’s
                       file, except that this subparagraph shall not apply to any State
                       law in effect on the date of enactment of the Consumer Credit
                       Reporting Reform Act of 1996;
                 (C)   subsections (a) and (b) of section 615 [§ 1681m], relating to the
                       duties of a person who takes any adverse action with respect to
                       a consumer;
                 (D) section 615(d) [§ 1681m], relating to the duties of persons who
                     use a consumer report of a consumer in connection with any
                     credit or insurance transaction that is not initiated by the con-
                     sumer and that consists of a firm offer of credit or insurance;
                 (E)   section 605 [§ 1681c], relating to information contained in
                       consumer reports, except that this subparagraph shall not apply

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                           to any State law in effect on the date of enactment of the
                           Consumer Credit Reporting Reform Act of 1996;
                   (F)     section 623 [§ 1681s-2], relating to the responsibilities of
                           persons who furnish information to consumer reporting
                           agencies, except that this paragraph shall not apply
                           (i)    with respect to section 54A(a) of chapter 93 of the
                                  Massachusetts Annotated Laws (as in effect on the date of
                                  enactment of the Consumer Credit Reporting Reform Act
                                  of 1996); or
                           (ii) with respect to section 1785.25(a) of the California Civil
                                Code (as in effect on the date of enactment of the
                                Consumer Credit Reporting Reform Act of 1996);
                   (G) section 609(e), relating to information available to victims
                       under section 609(e);
                   (H) section 624, relating to the exchange and use of information to
                       make a solicitation for marketing purposes;
                   (I)     section 615(h), relating to the duties of users of consumer
                           reports to provide notice with respect to terms in certain credit
                           transactions;
                   (J)     subsections (i) and (j) of section 605A relating to security
                           freezes; or
                   (K) subsection (k) of section 605A, relating to credit monitoring for
                       active duty military consumers, as defined in that subsection;
             (2) with respect to the exchange of information among persons affiliated
                 by common ownership or common corporate control, except that this
                 paragraph shall not apply with respect to subsection (a) or (c)(1) of
                 section 2480e of title 9, Vermont Statutes Annotated (as in effect on
                 the date of enactment of the Consumer Credit Reporting Reform Act
                 of 1996);
             (3) with respect to the disclosures required to be made under subsection
                 (c), (d), (e), or (g) of section 609, or subsection (f) of section 609
                 relating to the disclosure of credit scores for credit granting purposes,
                 except that this paragraph –
                   (A) shall not apply with respect to sections 1785.10, 1785.16, and
                       1785.20.2 of the California Civil Code (as in effect on the date
                       of enactment of the Fair and Accurate Credit Transactions Act
                       of 2003) and section 1785.15 through section 1785.15.2 of such
                       Code (as in effect on such date);

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              (B)   shall not apply with respect to sections 5-3-106(2) and 212-
                    14.3-104.3 of the Colorado Revised Statutes (as in effect on the
                    date of enactment of the Fair and Accurate Credit Transactions
                    Act of 2003); and
              (C)   shall not be construed as limiting, annulling, affecting, or
                    superseding any provision of the laws of any State regulating
                    the use in an insurance activity, or regulating disclosures
                    concerning such use, of a credit-based insurance score of a
                    consumer by any person engaged in the business of insurance;
          (4) with respect to the frequency of any disclosure under section 612(a),
              except that this paragraph shall not apply –
              (A) with respect to section 12-14.3-105(1)(d) of the Colorado
                  Revised Statutes (as in effect on the date of enactment of the
                  Fair and Accurate Credit Transactions Act of 2003);
              (B)   with respect to section 10-1-393(29)(C) of the Georgia Code
                    (as in effect on the date of enactment of the Fair and Accurate
                    Credit Transactions Act of 2003);
              (C) with respect to section 1316.2 of title 10 of the Maine Revised
                    Statutes (as in effect on the date of enactment of the Fair and
                    Accurate Credit Transactions Act of 2003);
              (D) with respect to sections 14-1209(a)(1) and 14-1209(b)(1)(i) of
                    the Commercial Law Article of the Code of Maryland (as in
                    effect on the date of enactment of the Fair and Accurate Credit
                    Transactions Act of 2003);
              (E) with respect to section 59(d) and section 59(e) of chapter 93
                    of the General Laws of Massachusetts (as in effect on the date
                    of enactment of the Fair and Accurate Credit Transactions Act
                    of 2003);
              (F) with respect to section 56:11-37.10(a)(1) of the New Jersey
                    Revised Statutes (as in effect on the date of enactment of the
                    Fair and Accurate Credit Transactions Act of 2003); or
              (G) with respect to section 2480c(a)(1) of title 9 of the Vermont
                    Statutes Annotated (as in effect on the date of enactment of the
                    Fair and Accurate Credit Transactions Act of 2003); or
          (5) with respect to the conduct required by the specific provisions of –
              (A) section 605(g);
              (B) section 605A;
              (C) section 605B;
              (D) section 609(a)(1)(A);

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                 (E) section 612(a);
                 (F) subsections (e), (f), and (g) of section 615;
                 (G) section 621(f);
                 (H) section 623(a)(6); or
                 (I) section 628.
       (c) Definition of firm offer of credit or insurance. Notwithstanding any
           definition of the term “firm offer of credit or insurance” (or any equiva-
           lent term) under the laws of any State, the definition of that term contained
           in section 603(l) [§ 1681a] shall be construed to apply in the enforcement
           and interpretation of the laws of any State governing consumer reports.
      (d) Limitations. Subsections (b) and (c) do not affect any settlement,
           agreement, or consent judgment between any State Attorney General and
           any consumer reporting agency in effect on the date of enactment of the
           Consumer Credit Reporting Reform Act of 1996.

      § 626. Disclosures to FBI for counterintelligence purposes
             [15 U.S.C. § 1681u]
      (a)    Identity of financial institutions. Notwithstanding section 604 [§ 1681b] or
             any other provision of this title, a consumer reporting agency shall furnish
             to the Federal Bureau of Investigation the names and addresses of all
             financial institutions (as that term is defined in section 1101 of the Right
             to Financial Privacy Act of 1978 [12 U.S.C. § 3401]) at which a
             consumer maintains or has maintained an account, to the extent that
             information is in the files of the agency, when presented with a written
             request for that information that includes a term that specifically identifies
             a consumer or account to be used as the basis for the production of that
             information, signed by the Director of the Federal Bureau of Investigation,
             or the Director’s designee in a position not lower than Deputy Assistant
             Director at Bureau headquarters or a Special Agent in Charge of a Bureau
             field office designated by the Director, which certifies compliance with
             this section. The Director or the Director’s designee may make such a
             certification only if the Director or the Director’s designee has determined
             in writing, that such information is sought for the conduct of an authorized
             investigation to protect against international terrorism or clandestine
             intelligence activities, provided that such an investigation of a United
             States person is not conducted solely upon the basis of activities protected
             by the first amendment to the Constitution of the United States.
      (b)    Identifying information. Notwithstanding the provisions of section 604
             [§ 1681b] of this title or any other provision of this subchapter, a
             consumer reporting agency shall furnish identifying information respecting
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            a consumer, limited to name, address, former addresses, places of
            employment, or former places of employment, to the Federal Bureau of
            Investigation when presented with a written request that includes a term
            that specifically identifies a consumer or account to be used as the basis
            for the production of that information, signed by the Director or the
            Director’s designee in a position not lower than Deputy Assistant Director
            at Bureau headquarters or a Special Agent in Charge of a Bureau field
            office designated by the Director, which certifies compliance with this
            subsection. The Director or the Director’s designee may make such a
            certification only if the Director or the Director’s designee has determined
            in writing that such information is sought for the conduct of an authorized
            investigation to protect against international terrorism or clandestine
            intelligence activities, provided that such an investigation of a United
            States person is not conducted solely upon the basis of activities protected
            by the first amendment to the Constitution of the United States.
      (c)   Court order for disclosure of consumer reports. Notwithstanding section
            604 [§ 1681b] of this title or any other provision of this subchapter,
            if requested in writing by the Director of the Federal Bureau of
            Investigation, or a designee of the Director in a position not lower than
            Deputy Assistant Director at Bureau headquarters or a Special Agent
            in Charge of a Bureau field office designated by the Director, a court
            may issue an order ex parte, which shall include a term that specifically
            identifies a consumer or account to be used as the basis for the production
            of the information, directing a consumer reporting agency to furnish a
            consumer report to the Federal Bureau of Investigation, upon a showing in
            camera that the consumer report is sought for the conduct of an authorized
            investigation to protect against international terrorism or clandestine
            intelligence activities, provided that such an investigation of a United
            States person is not conducted solely upon the basis of activities protected
            by the first amendment to the Constitution of the United States. The terms
            of an order issued under this subsection shall not disclose that the order is
            issued for purposes of a counterintelligence investigation.
      (d)   Prohibition of certain disclosure.
            (1) Prohibition
                 (A) In general
                     If a certification is issued under subparagraph (B) and notice
                     of the right to judicial review under subsection (e) is provided,
                     no consumer reporting agency that receives a request under
                     subsection (a) or (b) or an order under subsection (c), or of-
                     ficer, employee, or agent thereof, shall disclose or specify in
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                      any consumer report, that the Federal Bureau of Investigation
                      has sought or obtained access to information or records under
                      subsection (a), (b), or (c).
                 (B) Certification
                      The requirement of subparagraph (A) shall apply if the Direc-
                      tor of the Federal Bureau of Investigation, or a designee of the
                      Director whose rank shall be no lower than Deputy Assistant
                      Director at Bureau headquarters or a Special Agent in Charge
                      of a Bureau field office, certifies that the absence of a prohibi-
                      tion of disclosure under this subsection may result in –
                      (i) a danger to the national security of the United States;
                      (ii) interference with a criminal, counterterrorism or counter-
                            intelligence investigation;
                      (iii) interference with diplomatic relations; or
                      (iv) danger to the life or physical safety of any person.
             (2) Exception
                 (A) In general
                      A consumer reporting agency that receives a request under
                      subsection (a) or (b) or an order under subsection (c), or officer,
                      employee, or agent thereof, may disclose information otherwise
                      subject to any applicable nondisclosure requirement to –
                      (i) those persons to whom disclosure is necessary in order to 		
                            comply with the request;
                      (ii) an attorney in order to obtain legal advice or assistance 		
                            regarding the request; or
                      (iii) other persons as permitted by the Director of the Federal 		
                            Bureau of Investigation or the designee of the Director.
                 (B) Application
                      A person to whom disclosure is made under subparagraph (A)
                      shall be subject to the nondisclosure requirements applicable to
                      a person to whom a request under subsection (a) or (b) or an
                      order under subsection (c) is issued in the same manner as the
                      person to whom the request is issued.
                   (C)     Notice
                           Any recipient that discloses to a person described in
                           subparagraph (A) information otherwise subject to a
                           nondisclosure requirement shall inform the person of the
                           applicable nondisclosure requirement.


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                 (D) Identification of disclosure recipients
                        At the request of the Director of the Federal Bureau of
                        Investigation or the designee of the Director, any person
                        making or intending to make a disclosure under clause (i) or
                        (iii) of subparagraph (A) shall identify to the Director or such
                        designee the person to whom such disclosure will be made or to
                        whom such disclosure was made prior to the request.
      (e)   Judicial review.
            (1) In general
                 A request under subsection (a) or (b) or an order under subsection
                 (c) or a non-disclosure requirement imposed in connection with such
                 request under subsection (d) shall be subject to judicial review under
                 section 3511 of title 18.
            (2) Notice
                 A request under subsection (a) or (b) or an order under subsection (c)
                 shall include notice of the availability of judicial review described in
                 paragraph (1).
      (f)   Payment of fees. The Federal Bureau of Investigation shall, subject to
            the availability of appropriations, pay to the consumer reporting agency
            assembling or providing report or information in accordance with
            procedures established under this section a fee for reimbursement for such
            costs as are reasonably necessary and which have been directly incurred in
            searching, reproducing, or transporting books, papers, records, or other
            data required or requested to be produced under this section.
      (g)   Limit on dissemination. The Federal Bureau of Investigation may not
            disseminate information obtained pursuant to this section outside of the
            Federal Bureau of Investigation, except to other Federal agencies as may
            be necessary for the approval or conduct of a foreign counterintelligence
            investigation, or, where the information concerns a person subject to the
            Uniform Code of Military Justice, to appropriate investigative authorities
            within the military department concerned as may be necessary for the
            conduct of a joint foreign counterintelligence investigation.
      (h)   Rules of construction. Nothing in this section shall be construed to
            prohibit information from being furnished by the Federal Bureau of
            Investigation pursuant to a subpoena or court order, in connection with a
            judicial or administrative proceeding to enforce the provisions of this Act.
            Nothing in this section shall be construed to authorize or permit the
            withholding of information from the Congress.
      (i)   Reports to Congress


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             (1) On a semiannual basis, the Attorney General shall fully inform the
                   Permanent Select Committee on Intelligence and the Committee on
                   Banking, Finance and Urban Affairs of the House of Representatives,
                   and the Select Committee on Intelligence and the Committee on
                   Banking, Housing, and Urban Affairs of the Senate concerning all
                   requests made pursuant to subsections (a), (b), and (c) of this section.
             (2) In the case of the semiannual reports required to be submitted under
                   paragraph (1) to the Permanent Select Committee on Intelligence
                   of the House of Representatives and the Select Committee on
                   Intelligence of the Senate, the submittal dates for such reports shall
                   be as provided in section 415b of Title 50.
      (j)    Damages. Any agency or department of the United States obtaining
             or disclosing any consumer reports, records, or information contained
             therein in violation of this section is liable to the consumer to whom such
             consumer reports, records, or information relate in an amount equal to
             the sum of
             (1) $100, without regard to the volume of consumer reports, records,
                   or information involved;
             (2) any actual damages sustained by the consumer as a result of
                   the disclosure;
             (3) if the violation is found to have been willful or intentional, such
                   punitive damages as a court may allow; and
             (4) in the case of any successful action to enforce liability under this
                   subsection, the costs of the action, together with reasonable attorney
                   fees, as determined by the court.
      (k)    Disciplinary actions for violations. If a court determines that any agency
             or department of the United States has violated any provision of this
             section and the court finds that the circumstances surrounding the violation
             raise questions of whether or not an officer or employee of the agency or
             department acted willfully or intentionally with respect to the violation,
             the agency or department shall promptly initiate a proceeding to determine
             whether or not disciplinary action is warranted against the officer or
             employee who was responsible for the violation.
      (l)    Good-faith exception. Notwithstanding any other provision of this
             subchapter, any consumer reporting agency or agent or employee thereof
             making disclosure of consumer reports or identifying information pursuant
             to this subsection in good-faith reliance upon a certification of the Federal
             Bureau of Investigation pursuant to provisions of this section shall not be
             liable to any person for such disclosure under this title, the constitution


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            of any State, or any law or regulation of any State or any political
            subdivision of any State.
      (m) Limitation of remedies. Notwithstanding any other provision of this
          subchapter, the remedies and sanctions set forth in this section shall be the
          only judicial remedies and sanctions for violation of this section.
      (n)   Injunctive relief. In addition to any other remedy contained in this
            section, injunctive relief shall be available to require compliance with the
            procedures of this section. In the event of any successful action under this
            subsection, costs together with reasonable attorney fees, as determined by
            the court, may be recovered.

      § 627. Disclosures to governmental agencies for
             counterterrorism purposes [15 U.S.C. § 1681v]
      (a)   Disclosure. Notwithstanding section 604 or any other provision of this title,
            a consumer reporting agency shall furnish a consumer report of a consumer
            and all other information in a consumer’s file to a government agency
            authorized to conduct investigations of, or intelligence or counterintelligence
            activities or analysis related to, international terrorism when presented with
            a written certification by such government agency that such information is
            necessary for the agency’s conduct or such investigation, activity or analysis
            and that includes a term that specifically identifies a consumer or account to
            be used as the basis for the production of such information.
      (b)   Form of certification. The certification described in subsection (a) shall
            be signed by a supervisory official designated by the head of a Federal
            agency or an officer of a Federal agency whose appointment to office is
            required to be made by the President, by and with the advice and consent
            of the Senate.
      (c)   Prohibition of certain disclosure.
            (1) Prohibition
                 (A) In general
                     If a certification is issued under subparagraph (B) and notice
                     of the right to judicial review under subsection (d) is provided,
                     no consumer reporting agency that receives a request under
                     subsection (a), or officer, employee, or agent thereof, shall
                     disclose or specify in any consumer report, that a government
                     agency described in subsection (a) has sought or obtained
                     access to information or records under subsection (a).
                 (B) Certification
                     The requirements of subparagraph (A) shall apply if the head

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                           of the government agency described in subsection (a), or a
                           designee, certifies that the absence of a prohibition of disclosure
                           under this subsection may result in–
                           (i)   a danger to the national security of the United States;
                           (ii) interference with a criminal, counterterrorism, or
                                counterintelligence investigation;
                           (iii) interference with diplomatic relations; or
                           (iv) danger to the life or physical safety of any person.
             (2) Exception
                   (A) In general
                       A consumer reporting agency that receives a request under
                       subsection (a), or officer, employee, or agent thereof, may
                       disclose information otherwise subject to any applicable
                       nondisclosure requirement to–
                           (i)   those persons to whom disclosure is necessary in order to 		
                                 comply with the request;
                           (ii) an attorney in order to obtain legal advice or assistance 		
                                regarding the request; or
                           (iii) other persons as permitted by the head of the government
                                 agency described in subsection (a) or a designee.
                   (B)     Application
                           A person to whom disclosure is made under subparagraph (A)
                           shall be subject to the nondisclosure requirements applicable to
                           a person to whom a request under subsection (a) is issued in the
                           same manner as the person to whom the request is issued.
                   (C)     Notice
                           Any recipient that discloses to a person described in
                           subparagraph (A) information otherwise subject to a
                           nondisclosure requirement shall inform the person of the
                           applicable nondisclosure requirement.
                   (D) Identification of disclosure recipients
                       At the request of the head of the government agency described
                       in subsection (a) or a designee, any person making or intending
                       to make a disclosure under clause (i) or (iii) of subparagraph
                       (A) shall identify to the head or such designee the person to
                       whom such disclosure will be made or to whom such disclosure
                       was made prior to the request.

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      (d)   Judicial review
            (1) In general
                A request under subsection (a) or a non-disclosure requirement 		
                imposed in connection with such request under subsection (c) shall 		
                be subject to judicial review under section 3511 of title 18.
            (2) Notice
                A request under subsection (a) shall include notice of the availability 		
                of judicial review described in paragraph (1).
      (e)   Rule of construction. Nothing in section 626 shall be construed to limit the
            authority of the Director of the Federal Bureau of Investigation under this section.
      (f)   Safe harbor. Notwithstanding any other provision of this subchapter, any
            consumer reporting agency or agent or employee thereof making disclosure
            of consumer reports or other information pursuant to this section in good-
            faith reliance upon a certification of a government agency pursuant to
            the provisions of this section shall not be liable to any person for such
            disclosure under this subchapter, the constitution of any State, or any law or
            regulation of any State or any political subdivision of any State.
      (g) Reports to Congress
           (1) On a semi-annual basis, the Attorney General shall fully inform the
                Committee on the Judiciary, the Committee on Financial Services,
                and the Permanent Select Committee on Intelligence of the House of
                Representatives and the Committee on the Judiciary, the Committee
                on Banking, Housing, and Urban Affairs, and the Select Committee
                on Intelligence of the Senate concerning all requests made pursuant
                to subsection (a).
           (2) In the case of the semiannual reports required to be submitted under
                paragraph (1) to the Permanent Select Committee on Intelligence
                of the House of Representatives and the Select Committee on
                Intelligence of the Senate, the submittal dates for such reports shall
                be as provided in section 3106 of title 50.
      § 628. Disposal of records [15 U.S.C. § 1681w]
                                   See also 16 CFR Part 682, 69 Fed. Reg. 68690 (11/24/04)
      (a)   Regulations
            (1) In general. The Federal Trade Commission, the Securities and
                Exchange Commission, the Commodity Futures Trading
                Commission, the Federal banking agencies, and the National
                Credit Union Administration, with respect to the entities that are
                subject to their respective enforcement authority under section
                621, and in coordination as described in paragraph (2), shall issue
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                   final regulations requiring any person that maintains or otherwise
                   possesses consumer information, or any compilation of consumer
                   information, derived from consumer reports for a business purpose
                   to properly dispose of any such information or compilation.
            (2) Coordination. Each agency required to prescribe regulations under
                paragraph (1) shall –
                   (A) consult and coordinate with each other such agency so that,
                       to the extent possible, the regulations prescribed by each such
                       agency are consistent and comparable with the regulations by
                       each such other agency; and
                   (B)    ensure that such regulations are consistent with the
                          requirements and regulations issued pursuant to Public Law
                          106-102 and other provisions of Federal law.
            (3) Exemption authority. In issuing regulations under this section, the
                agencies identified in paragraph (1) may exempt any person or class
                of persons from application of those regulations, as such agency
                deems appropriate to carry out the purpose of this section.
      (b)   Rule of construction. Nothing in this section shall be construed –
            (1) to require a person to maintain or destroy any record pertaining to a
                consumer that is not imposed under other law; or
            (2) to alter or affect any requirement imposed under any other provision
                of law to maintain or destroy such a record.
      § 629. Corporate and technological circumvention prohibited
             [15 U.S.C. § 1681x]
      The Bureau shall prescribe regulations, to become effective not later than 90
      days after the date of enactment of this section, to prevent a consumer reporting
      agency from circumventing or evading treatment as a consumer reporting
      agency described in section 603(p) for purposes of this title, including –
            (1) by means of a corporate reorganization or restructuring, including a
                merger, acquisition, dissolution, divestiture, or asset sale of a
                consumer reporting agency; or
            (2) by maintaining or merging public record and credit account
                information in a manner that is substantially equivalent to that
                described in paragraphs (1) and (2) of section 603(p), in the manner
                described in section 603(p).
                                                             See also 12 CFR Part 1022.140


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                                                                   Legislative History


      Legislative History
      House Report: No. 91-975 (Comm. on Banking and Currency)
      Senate Report: No. 91-1139 (Comm. on Banking and Currency)
      Conference Report: No. 91-1587
      Enactment: Public Law No. 91-508 (October 26, 1970)
      Amendments: Public Law Nos. 95-473 (October 17, 1978)
                                  95-598 (November 6, 1978)
                                  98-443 (October 4, 1984)
                                  101-73 (August 9, 1989)
                                  102-242 (December 19, 1991)
                                  102-537 (October 27, 1992)
                                  102-550 (October 28, 1992)
                                  103-325 (September 23, 1994)
                                  104-88 (December 29, 1995)
                                  104-93 (January 6, 1996)
                                  104-193 (August 22, 1996)
                                  104-208 (September 30, 1996)
                                  105-107 (November 20, 1997)
                                  105-347 (November 2, 1998)
                                  106-102 (November 12, 1999)
                                  107-56 (October 26, 2001)
                                  108-159 (December 4, 2003)
                                  109-351 (October 13, 2006)
                                  110-161 (December 27, 2007)
                                  110-241 (June 3, 2008)
                                  111-24 (May 22, 2009)
                                  107-306 (November 27, 2002)
                                  108-177 (December 13, 2003)
                                  108-458 (December 17, 2004)
                                  109-177 (March 9, 2006)
                                  109-178 (March 9, 2006)
                                  111-319 (January 5, 2010)
                                  111-203 (July 21, 2010)
                                  114-94 (December 4, 2015)
                                  114-23 (June 2, 2015)
                                  115-174 (May 24, 2018)
                                  116-136 (March 27, 2020).
                                  116-283 (January 1, 2021)
                                  117-81 (December 27, 2021).

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